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                                                                          Page 1                                                                    Page 3
                        IN THE UNITED STATES DISTRICT COURT                         1            EXHIBITS
                          MIDDLE DISTRICT OF FLORIDA                                2   FOR IDENTIFICATION                     PAGE NO.
                             TAMPA DIVISION                                         3   Exhibit No. 1                     12
                                                                                        (Complaint)
                                                                                    4
                  ROBERT L. VAZZO, LFMT,                                                Exhibit No. 2                    96
                  individually and on behalf                                        5   (Article Titled - Countering a
                  of his patients, DAVID H.                                             One-Sided Representation of Science:
                  PICKUP, LMFT, individually                                        6   NARTH Provides the 'Rest of the story'
                  and on behalf of his                                                  for Legal Efforts to Challenge
                  patients, and SOLI DEO                                            7   Antisexual Orientation Change Efforts
                  GLORIA INTERNATIONAL, INC., CASE NO:                                  (SOCE) legislation.)
                  d/b/a NEW HEARTS OUTREACH 8:17-cv-02896-WFJ-                      8
                  TAMPA BAY, individually and AAS                                       Exhibit No. 3                    119
                  on behalf of its members,                                         9   (Declaration of Christopher Rosik,
                                                                                        Ph.D., dated May 6th, 2019.)
                  constituents and clients,                                        10
                                                                                        Exhibit No. 4                    120
                           Plaintiff,                                              11   (Rebuttal Declaration by Dr. Rosik)
                  vs.                                                              12   Exhibit No. 5                    133
                                                                                        (Ordinance No. 2017-47)
                  CITY OF TAMPA, FLORIDA,                                          13
                                                                                        Exhibit No. 6                  134
                           Defendant.                                              14   (Report by the American Psychological
                                                                                        Association - Task Force on
                  *******************************************************          15   Appropriate Therapeutic Responses to
                                                                                        Sexual Orientation)
                                                                                   16
                  DEPOSITION OF:            CHRISTOPHER ROSIK, PH.D.                    Exhibit No. 7                     168
                                                                                   17   (American Academy of Pediatrics
                  TAKEN:         PURSUANT TO NOTICE                                     publication entitled "Homosexuality and
                            COUNSEL FOR DEFENDANT                                  18   Adolescence)
                  DATE:        July 29, 2019                                       19   Exhibit No. 8                     174
                  TIME:        9:00 a.m. - 3:45 p.m.                                    (Article - APA Official Actions)
                  LOCATION:        Burr & Forman, LLP                              20
                            201 N. Franklin Street                                      Exhibit No. 9                  178
                            Tampa, Florida                                         21   (Document - Ending Conversion Therapy:
                                                                                        Supporting and Affirming LGBTQ Youth)
                  REPORTED BY:       ELSA M. HERNANDEZ, FPR                        22
                            Notary Public                                          23
                                                                                   24
                                                                                   25


                                                                          Page 2                                                                    Page 4
            1    APPEARANCES:                                                       1           THE COURT REPORTER: Would you raise your
            2         ROGER K. GANNAM, ESQUIRE
                      HORATIO G. MIHET, ESQUIRE                                     2       right hand, please. Do you swear or affirm the
            3         Liberty Counsel                                               3       testimony that you are about to give will be the
                      P.O. Box 540774
            4         Orlando, Florida 32854                                        4       truth, the whole truth and nothing but the truth?
                      rgannam@lc.org                                                5           THE WITNESS: Yes.
            5         hmihet@lc.org
            6            Appearing on behalf of the Plaintiffs                      6               CHRISTOPHER ROSIK, Ph.D.,
            7                                                                       7    the deponent herein, being duly sworn under oath, was
                         ROBERT V. WILLIAMS, ESQUIRE
            8            DANA L. ROBBINS, ESQUIRE                                   8    examined and testified as follows:
                         Burr & Forman, LLP                                         9                  DIRECT EXAMINATION
            9            Post Office Box 380
                         Tampa, Florida 33601                                      10    BY MR. WILLIAMS:
           10            rwilliams@burr.com                                        11       Q. Good morning, Dr. Rosik. Would you please
                         drobbins@burr.com
           11                                                                      12    state your full name for the record, sir.
                            Appearing on behalf of the Defendant                   13       A. Christopher Hastings Rosik.
           12
           13
                                                                                   14       Q. Your age, sir?
           14                                                                      15       A. 61.
           15
           16
                                                                                   16       Q. Where do you reside?
                               INDEX                                               17       A. Fresno, California.
           17
                                        PAGE
                                                                                   18       Q. How long have you resided in Fresno?
           18                                                                      19       A. Since 1986. I will let you do the math.
                   DIRECT EXAMINATION BY MR. WILLIAMS              4
           19      STIPULATION             210
                                                                                   20    1986.
                   CERTIFICATE OF OATH           211                               21       Q. Long time. How does that sound?
           20      CERTIFICATE OF REPORTER          212                            22           What is your profession, sir?
                   ERRATA SHEET              213
           21                                                                      23       A. I am a licensed clinical psychologist.
           22                                                                      24       Q. And where do you work? Do you still work as a
           23
           24                                                                      25    clinical --
           25



                                                                                                                                  1 (Pages 1 to 4)
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                                                                  Page 5                                                        Page 7
             1           A. Oh, yes. Oh, yes.                                  1   familiar with your background, your publications, and
             2           Q. Where do you work, sir?                            2   obviously the general gist of the testimony that you
             3           A. I work at a counseling center, nonprofit,          3   are probably going to give today.
             4       called the Link Care Center, L-I-N-K, C-A-R-E Center,     4         But for the record, would you describe your
             5       three words. That's in Fresno, California.                5   educational background?
             6           Q. And when you say it's a nonprofit --               6      A. Just higher education, I assume. I have a
             7           A. It's a -- is it a 503(c)?                          7   bachelor's degree in psychology, honors college --
             8           Q. 501(c)(3)?                                         8      Q. From where?
             9           A. Yes. Religiously based.                            9      A. University of Oregon in 1980.
            10           Q. Okay. And what is the religious base, then?       10      Q. University of Oregon in 1980?
            11           A. Broadly Protestant, but -- I mean, yeah, I say    11      A. Right. I did spend a semester at the
            12       Christian, tends to be more involved with the            12   University of Copenhagen during that time in Denmark.
            13       Protestant community.                                    13      Q. Let me make sure I get this correct. You got
            14           Q. Is there a specific religion that supports it?    14   your bachelor's degree in psychology from the
            15           A. No. It pays for itself through counseling         15   University of Oregon --
            16       fees and through -- it actually had senior housing, so   16      A. University of Oregon.
            17       it's a diversified income stream.                        17      Q. -- in Eugene?
            18           Q. Okay. So it's a counseling center in Fresno       18      A. Correct.
            19       where the professionals charge for their services, I     19      Q. I was born in Portland, so I'm very familiar.
            20       take it?                                                 20      A. Oh, yeah. Okay. I have family up there.
            21           A. Oh, sure, yes.                                    21      Q. Good. All right. After your bachelor's
            22           Q. And otherwise generates revenue to pay the        22   degree, then where did you matriculate?
            23       expenses?                                                23      A. I went to Fuller Theological Seminary. They
            24           A. Yes, that would be correct.                       24   have a graduate school of psychology called Fuller
            25           Q. But there are no profits that go to any
                                                                              25   Graduate School of Psychology. It's a program, a first

                                                                  Page 6                                                        Page 8
             1       shareholders. The profits are plowed back into the        1   of it's kind in the country -- it started in the
             2       center itself?                                            2   '60s -- where a student is able to study -- it's a
             3          A. That would be my understanding.                     3   six-year program, and you study theology alongside
             4          Q. And it's a Christian/Protestant-based center        4   psychology. So it's integrative. And you take some
             5       with no specific religion?                                5   courses in integration, which is ideally to pull the
             6          A. No specific denominational affiliation.             6   best of those two fields together.
             7          Q. Yes. I grew up in an Episcopal church, so I         7       Q. What is a course in integration? Give me a
             8       guess that includes --                                    8   description.
             9          A. Yeah. I did clergy evaluations for the              9       A. Well, it might talk about, like, theological
            10       Episcopal Diocese.                                       10   anthropology.
            11          Q. All right. And you get paid a salary there?        11       Q. Okay.
            12          A. I get paid a salary, and then there's -- it's      12       A. And how that relates to psychological
            13       kind of a two-prong system, where there's a salary and   13   understandings of human nature and Christian
            14       then you do get some -- after a certain base, you        14   understandings and how those may or may not sort of
            15       generate --                                              15   interface. That would be one example.
            16          Q. Yeah.                                              16       Q. Okay. And Fuller, is that a
            17          A. -- a bonus based on what you generate for          17   denominational-oriented institution?
            18       them.                                                    18       A. It tends to be Protestant, I would say, but
            19          Q. Sure. How long have you worked for Link Care?      19   it -- I don't think they hold themselves out -- it
            20          A. Since 1986.                                        20   started back with Charles Fuller in the 1940s.
            21          Q. Since '86. So you've been there the whole          21       Q. I don't know who --
            22       time you've lived in Fresno?                             22       A. He was an evangelist at the time, and so it
            23          A. I have, indeed.                                    23   comes out of that tradition, but the school of
            24          Q. I have your declaration, Doctor, and I've read     24   psychology started in the '60s. And I think -- if I
            25       it very carefully, many times, actually. So I'm very     25   were to characterize it, I would say it's a lot of


                                                                                                            2 (Pages 5 to 8)
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                                                                  Page 9                                                         Page 11
             1       Presbyterian, Presbyterians go there, but I know there     1   school, the seminary was founded back in the '40s, late
             2       are Episcopalians, there are Baptists. So it's fairly      2   '40s, the school of psychology wasn't really founded
             3       broad-based Protestant, although there was Catholics in    3   until the '60s.
             4       the graduate school I was at.                              4      Q. What year did you graduate from the Fuller --
             5               The graduate school of psychology, there's         5      A. 1986.
             6       three schools, theology, intercultural relations, and      6      Q. So you were there for six years?
             7       then psychology program, which I was in. And their         7      A. I was there for six years.
             8       program was, I think, the first of its kind that was       8      Q. After you graduated in '86, I take it you went
             9       approved by the APA, back in the late '60s, early '70s.    9   to Fresno?
            10           Q. The APA being?                                     10      A. I did, yes.
            11           A. American Psychological Association. Yes. So        11      Q. And --
            12       it's --                                                   12      A. The rest is history.
            13           Q. First of it's kind being the integrative?          13      Q. Well, let me ask the question.
            14           A. Exactly. Right. Religious-oriented school.         14      A. Sorry.
            15           Q. Okay. Is it Mr. Fuller or Dr. Fuller?              15      Q. And you were there since, and you've been
            16           A. Charles Fuller are you talking about? Yeah, I      16   involved with Link Care since?
            17       imagine it's a mister. I don't know think he was a        17      A. Correct.
            18       doctor. Unless it was an honorary.                        18      Q. All right. Thank you for that --
            19           Q. You said he was an Evangelical. What does          19      A. I could add that I -- since about 2001, I have
            20       that mean?                                                20   been -- so affiliated as a clinical faculty at Fresno
            21           A. He was an evangelist.                              21   Pacific University, so that is what I -- I do that
            22           Q. What does that mean?                               22   mostly to stay balanced.
            23           A. It's like Billy Graham.                            23      (A discussion was held off the record.)
            24           Q. Okay. Well, I know Billy Graham.                   24   BY MR. WILLIAMS:
            25           A. Right.                                             25      Q. Have you ever been involved in any litigation


                                                                 Page 10                                                         Page 12
             1        Q. I went to the same elementary school as Billy          1   of any kind prior to today?
             2      Graham.                                                     2      A. Yes.
             3        A. Did you really?                                        3      Q. And would you describe that for me, please.
             4        Q. Yes, I did.                                            4      A. I can think of two things. One, I was a
             5        A. Anyway, so that was his -- his ministry was            5   plaintiff in the Pickup versus Brown suit in
             6      evangelizing, so -- he wasn't as famous as Billy            6   California, and then I also submitted -- I was asked to
             7      Graham, but Billy Graham was in -- I think they were        7   submit a -- what do they call it, again? -- for a case
             8      compatriots in some things. They worked together            8   in New Jersey -- I wasn't an expert witness, but I
             9      sometimes. Same era.                                        9   submitted, I believe, in support of plaintiffs.
            10        Q. All right. You said evangelicals like Billy           10      Q. You were an expert witness where, sir?
            11      Graham. I certainly know who Billy Graham is. I grew       11      A. I wasn't an expert witness. I submitted --
            12      up in Charlotte, so that's where Billy Graham was.         12   I'm not quite sure what the legal term is for it when
            13            MR. MIHET: For the record, did you go the            13   you submit comments about it.
            14        same elementary school with him at the same time as      14      Q. Well, we'll get to that. Don't worry.
            15        him?                                                     15      A. Yeah. Yeah.
            16            MR. WILLIAMS: The answer to that is no. The          16      Q. Before we go any further, let me have this
            17        answer to that is no.                                    17   marked as Exhibit 1 do Dr. Rosik's deposition.
            18            MR. MIHET: Okay.                                     18      (Exhibit No. 1 was marked for identification.)
            19            MR. WILLIAMS: But my wife and I were married         19   BY MR. WILLIAMS:
            20        in Black Mountain, North Carolina, where he was          20      Q. Here is Exhibit 1, Dr. Rosik. I'll describe
            21        headquartered in his later years. But I did go to        21   it on the record in a minute, but I want to go through
            22        the same elementary school, and I'm very proud of        22   some preliminaries that I probably should've gone
            23        that because he's quite and individual, I think.         23   through before we got started.
            24        A. So it kind of came out of that tradition, the         24          This is not a game of the foxes, today's
            25      founding of the school. Even though the theology           25   deposition. There are no trick questions. I want you


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                                                                 Page 13                                                         Page 15
             1       to feel free to ask me any questions if you don't          1   BY MR. WILLIAMS:
             2       understand my questions, if you want me to repeat it,      2      Q. Anyway, whether it's 249 or 429, we're talking
             3       clarify. You are under oath, and so therefore I            3   about the same document in the same case, are we not,
             4       respect the fact that you have the right to make sure      4   sir?
             5       that you understand what we're talking about.              5      A. Yes.
             6             And if you give an answer and then later think       6      Q. All right. Do you know Mr. Pickup, David
             7       you need to augment it or change it, let me know.          7   Pickup?
             8       We're here to get -- this is not a gotcha process.         8      A. I do know David Pickup.
             9       This is to get your testimony as accurately as             9      Q. And who is Mr. Pickup?
            10       possible.                                                 10      A. He is a therapist. He, from what I
            11             Do you understand what I just said?                 11   understand, has a practice in Texas, and he had a
            12          A. Yes.                                                12   practice obviously in this municipality too.
            13          Q. If you need a break, just let me know. We're        13      Q. In where?
            14       going to take a break probably every hour. We're going    14      A. In this -- in Tampa.
            15       to take a lunch break around noon-ish. I cannot           15      Q. Tampa.
            16       provide that today, gentlemen. This is off the record.    16      A. I think he had a practice in California one
            17          (A discussion was held off the record.)                17   time. I'm not sure if he still does. So I know him in
            18       BY MR. WILLIAMS:                                          18   that way.
            19          Q. Further, Doctor, it is very important to me         19      Q. Have you met him?
            20       that we communicate very clearly. So if you want me to    20      A. I have met him.
            21       define something that you don't understand, just let me   21      Q. Where did you meet him?
            22       know and I'll do my best. And I will do the same. I       22      A. I met him at some conferences of The Alliance
            23       will do the same. Because words matter in these           23   for Therapeutic Choice and Scientific Integrity. It's
            24       situations. All right?                                    24   called the Alliance from here forward.
            25          A. Understood.                                         25      Q. What is that, the Alliance? What you just


                                                                 Page 14                                                         Page 16
             1          Q. All right. I'm returning to Exhibit 1 to your        1   said.
             2       deposition, which is a copy of a complaint -- a copy of    2      A. It's a professional organization of therapists
             3       a declaration, I should say, that you provided in          3   and others that -- the mission statement is basically
             4       Pickup versus Brown out in California.                     4   that we share desire to protect the rights of clients
             5             Do you see that?                                     5   to pursue therapy of their choice when it comes to this
             6          A. Yes.                                                 6   area of same-sex attractions and the rights of
             7          Q. And the style of that case -- by the style of        7   therapists who provide that therapy. That is -- that
             8       the case, that's what we lawyers call this first           8   is a goal, if you will.
             9       part -- is in the United States District Court Eastern     9      Q. And what is the therapy? Can you tell me the
            10       District of California, Sacramento Division. Pickup       10   name of the therapy you are referring to?
            11       versus Brown, Case No. 2:12-cv-04297-KJM-EFB.             11      A. There is no specific therapy. There is no --
            12             Did I say that correctly?                           12   there is no specific one type of therapy. Therapists
            13          A. It looks like it, yes.                              13   affiliated with the Alliance come from a number of
            14             MR. GANNAN: For the record, I think the             14   different traditions in terms of therapeutic
            15          number was 02497. I think you reversed it.             15   modalities, anywhere from psychodynamic, to narrative,
            16             MR. WILLIAMS: Not in what I have. I have            16   to interpersonal, cognitive. These are all standard,
            17          04297.                                                 17   mainstream therapeutic approaches.
            18             MR. GANNAN: Oh, you know what, the filing           18      Q. I'm familiar with the term "therapeutic
            19          header is 02497, but the style has what you said,      19   modality."
            20          so I guess --                                          20      A. Yeah.
            21             MR. WILLIAMS: That's what I'm going on.             21      Q. In fact, I've heard that quite a bit over the
            22             MR. GANNAN: Okay. I'm sure the heading is           22   course of my legal career and from my wife who does
            23          correct because that's the electronic filing stamp.    23   that kind of stuff, so...
            24             MR. WILLIAMS: Could be right. I don't who           24      A. That's cool.
            25          prepared this, but whoever did...                      25      Q. How would you define "therapeutic modality"?


                                                                                                         4 (Pages 13 to 16)
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                                                                 Page 17                                                      Page 19
             1          A. It's an approach, a theoretical approach that        1       Q. Sure. And does it have a headquarters?
             2       has practical, obviously, applications towards             2       A. Well, the headquarters is sort of -- the
             3       addressing client issues.                                  3    office is based in Utah, so I guess that would be --
             4             So a cognitive therapist would look at a             4       Q. What part? Salt Lake City?
             5       person's cognitions and intervene in terms of              5       A. Yeah, I believe so.
             6       addressing those.                                          6       Q. Okay.
             7             A psychodynamic therapist might look at the          7       A. One of the board members, our executive
             8       client's developmental history, attachment history,        8    director is there.
             9       psychodynamics of what may be involved in their            9       Q. Okay. So it has an -- it's an organization.
            10       behavior in the present.                                  10    It --
            11             A narrative therapist will look at the story        11       A. Yeah, it has a board. It has an executive
            12       of the client and see about how they construct their      12    director, yes.
            13       story and will make changes, perhaps, and how they        13       Q. And the executive director, who is the
            14       construct that story, so it's -- you know, the client     14    executive director?
            15       brings a certain issue, a certain problem to the          15       A. David Pruden.
            16       therapist. The therapist's modality is going to be the    16       Q. Spell the name.
            17       framework through which he or she will address that       17       A. David Pruden, P-R-U-D-E-N.
            18       issue.                                                    18       Q. And Mr. Pruden is the executive director of
            19          Q. So therapeutic modality or I guess the              19    the Alliance which is headquartered -- physically
            20       treatment process would be client specific, one size      20    headquarters in Salt Lake City, Utah?
            21       doesn't fit all. Is that a good way to put it?            21       A. It's his office, but, yes, documents and
            22          A. I would say so. I mean, therapists tend to          22    things like that are stored there.
            23       orient towards some modalities more than others, just     23       Q. Why is it in Salt Lake City?
            24       by virtue of personality and experience and things like   24       A. Because he is there.
            25       that.                                                     25       Q. Because that's where he lives?

                                                                 Page 18                                                      Page 20
             1           Q. So your colleagues there at Link Care might         1       A. That's where he is. That's right.
             2       approach something -- a particular client differently      2       (A discussion was held off the record.)
             3       than you might. Is that --                                 3   BY MR. WILLIAMS:
             4           A. Oh, yes.                                            4       Q. So the Alliance has headquarters in Salt Lake
             5           Q. Okay. So that's what you mean by therapeutic        5   City, has an executive director, and I assume the
             6       modality, a treatment process or a procedure that you      6   executive director kind of is the person who runs the
             7       choose versus what another psychologist might choose.      7   operations?
             8       Is that a good way to put it?                              8       A. Yeah, like the hub, yes.
             9           A. That would do, I think.                             9       Q. The hub?
            10           Q. All right. Now, we're going back to the            10       A. Yeah.
            11       Alliance. And I'm exploring this because I want to        11       Q. Does the Alliance have meetings?
            12       make sure that I understand your background.              12       A. We do.
            13           A. Right. Right. Right.                               13       Q. How often?
            14           Q. I think it's important for purposes of this        14       A. Well, the board meets monthly by conference
            15       litigation. So the Alliance, which you say you'll just    15   call, and then we have a conference once a year,
            16       refer to it as the Alliance, how large of an alliance     16   different cities, so that's -- for the most part,
            17       of human beings, psychologists, therapists, counselors    17   that's the meetings that we have.
            18       is it?                                                    18       Q. And the members of the Alliance attend those
            19           A. The last I heard I would say it's a couple of      19   meetings, if they can, those conferences?
            20       thousand.                                                 20       A. Sure. It's open to all members and
            21           Q. Nationwide?                                        21   nonmembers, for that matter.
            22           A. Yeah. International.                               22       Q. Really? Okay.
            23           Q. Worldwide?                                         23       A. Oh, yeah. You can come.
            24           A. Yeah. I mean, obviously, it's more in North        24       Q. Okay. Well, maybe when you have one in Tampa,
            25       America.                                                  25   I'll take you up on that.


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                                                                 Page 21                                                       Page 23
             1             Does the Alliance have a mission statement?          1   that I don't agree with.
             2          A. We do.                                               2      Q. And I'm sure that's the case. I'm sure I
             3          Q. What is the mission statement?                       3   don't agree with what is on the ABA's website.
             4          A. It's -- I have to -- I'd have to see it to           4      A. As well, yes.
             5       know exactly, but it -- certainly, it includes what I      5      Q. All right. I was trying to get an idea of how
             6       told you earlier, about defending the rights of clients    6   I can obtain information about the Alliance without
             7       to pursue their goals in therapy and the rights of         7   spending all morning on that topic.
             8       therapists to provide those goals.                         8      A. Sure.
             9          Q. Does the Alliance have a website?                    9      Q. Because you are not here on behalf of the
            10          A. We do.                                              10   Alliance. Am I correct?
            11          Q. And would the mission statement be on the           11      A. Correct.
            12       website?                                                  12      Q. Are you an officer of the Alliance?
            13          A. It would be, yes.                                   13      A. I am.
            14          Q. And if I wanted to know more about the              14      Q. What is your office?
            15       Alliance without spending a lot of time in today's        15      A. I'm on the board. I have served as the -- I'm
            16       deposition, I could look at that website?                 16   a former president of the organization.
            17          A. Yes.                                                17      Q. And you still remain on the board itself?
            18          Q. Access it, even though I'm not a member; is         18      A. I do remain on the board, yeah.
            19       that correct?                                             19      Q. All right. How long have you been on the
            20          A. Yes.                                                20   board?
            21          Q. And to your knowledge, is everything that I         21      A. Probably -- I would say at least 10 to 12
            22       would find on the website accurate?                       22   years.
            23             MR. GANNAN: Objection. Calls for                    23      Q. Were you one of the founders of the Alliance?
            24          speculation.                                           24      A. I was not.
            25          A. I haven't read everything on the website, so I      25      Q. Do you know who did found it?


                                                                 Page 22                                                       Page 24
             1       couldn't tell you with certainty. It's a big -- it has     1      A. Well, the Alliance in its first -- in its
             2       a lot of documents on it, some of which I don't have       2   infancy, it was called the National Association for
             3       anything to do with. So as far as things that I have       3   Research and Therapy of Homosexuality, or NARTH.
             4       been involved in, I would say, to the best of my           4      Q. Say that again, NARTH?
             5       knowledge, yes, to your question.                          5      A. N-A-R-T-H. And that was founded by, I
             6       BY MR. WILLIAMS:                                           6   believe, Dr. Bieber, Socarides -- Kaufman is the other
             7           Q. Do you feel comfortable in saying that the          7   one -- Socarides, Kaufman, and Nicolosi.
             8       Alliance, in maintaining their website, makes a            8      Q. How do you spell Socarides? She's gotta write
             9       legitimate effort to try to make sure that it's            9   this down.
            10       accurate?                                                 10      A. S-A-C-A-R-I-D-E-S [sic], something like that.
            11           A. I would think so. I hope so, yes.                  11      Q. Is Dr. Socarides still alive?
            12           Q. Yes. Okay.                                         12      A. No. He passed way sometime ago.
            13              MR. GANNAN: I just want to say for the record      13      Q. Are the founders, the three gentlemen that you
            14           that Dr. Rosik is not appearing today on behalf of    14   talked still alive?
            15           the Alliance.                                         15      A. Dr. Kaufman, to the best of my knowledge, is
            16              MR. WILLIAMS: I understand that. I'm only          16   still live, but he doesn't practice anymore. He's not
            17           going into it because he raised it.                   17   really involved in the organization. And Dr. Nicolosi
            18           A. But, again, we are -- I tempered it just by        18   passed away a couple of years ago.
            19       the fact that there's a lot of information over the       19      Q. Do you know why these three professionals
            20       years, a lot of that has been, you know, evolved some,    20   formed NARTH, I think you called it?
            21       and so there may be old documents that don't represent    21      A. Yeah. It was, I believe, a reaction to their
            22       our thinking at this point in time. But, again, I         22   disagreement with actions taken by the mental health
            23       don't know that. I don't manage the website. I            23   associations in the area, I guess, of, you know --
            24       simply -- I contribute some information to it. But        24   again, I wasn't there.
            25       it's entirely possible that there is some things on it    25      Q. I understand. I'm just asking your best


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             1       knowledge.                                                 1      A. All right.
             2          A. I'm speculating here.                                2      Q. So that's the reason I'm asking these
             3          Q. The record will reflect that you're not -- you       3   questions. And the American Psychological Association,
             4       don't know of actual knowledge.                            4   the American Psychiatric, they took positions that
             5          A. But I think they wanted to preserve the right        5   were, I guess, antithetical to what the three founders
             6       for clients -- clients who were dissatisfied with their    6   of NARTH, now the Alliance, believe were correct. Is
             7       same-sex attractions to be able to have therapy.           7   that a good way to put?
             8       Originally, it was a clinical organization when it         8      A. It was certainly an argument within the
             9       started.                                                   9   psychoanalytic circles.
            10          Q. What do you mean by "clinical organization"?        10      Q. Right. What were the positions that the
            11          A. Of therapists. It was almost exclusively            11   American Psychiatric Association and the American
            12       therapists when it began. We have therapists now, but     12   Psychological Association took that were -- can you
            13       we also have others who are not therapists who are        13   articulate those positions that led to the formation of
            14       members of the Alliance.                                  14   NARTH, now Alliance?
            15          Q. When you say "clinical organization," meaning       15         MR. GANNAN: Objection. Speculation.
            16       it provided clinical --                                   16      A. I wasn't privy to those conversations. My
            17          A. Professional -- professional therapist              17   guess --
            18       membership organization.                                  18   BY MR. WILLIAMS:
            19          Q. But they didn't provide clinical services as        19      Q. Guess, go ahead. The objection is on the
            20       NARTH?                                                    20   record. That's what we lawyers do.
            21          A. No. No. It's never been that.                       21      A. Yeah. I mean, I think it probably came in the
            22          Q. Okay. That was my question.                         22   context of differing, changing views of the status of
            23          A. Sorry.                                              23   same-sex attractions behavior, sexual orientations.
            24          Q. And you said that they -- it was formed, you        24      Q. For example?
            25       think, because of, I guess, dissatisfaction with          25      A. That at least in some instances it was a

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             1      positions taken by mental health organizations? I           1   condition that could be treated, could -- a person
             2      think you said mental health.                               2   could be helped in terms of adjusting, changing.
             3         A. Right.                                                3   Again, I think it all had to do with the treatment
             4         Q. What mental health organization?                      4   issue, being able to treat.
             5         A. American Psychiatric Organization and American        5      Q. So did the American Psychiatric Association
             6      Psychological Association.                                  6   and the American Psychological Association take the
             7         Q. And what positions by those two organizations         7   position that homosexuality was not something that was
             8      were the motivating factor for forming NARTH, which has     8   treatable? I want to make sure I understand what
             9      evolved into the Alliance, if you know?                     9   you're saying.
            10            MR. GANNAN: Objection. Speculation.                  10         MR. GANNAN: Objection. Compound and
            11         A. Again, I'm speculating, but I know at least          11      speculation.
            12      part of it was concern about the rights of clients to      12   BY MR. WILLIAMS:
            13      receive therapy, concerned about treatment options for     13      Q. Go ahead.
            14      individuals who were maybe dissatisfied with their         14      A. Repeat your question, please.
            15      same-sex attractions and behavior. And there may           15         MR. WILLIAMS: Would you read it back to him,
            16      have -- you know, again, I don't want to speculate too     16      please.
            17      much.                                                      17      (The question was read back as follow: "So did the
            18      BY MR. WILLIAMS:                                           18      American Psychiatric Association and the American
            19         Q. Well, the record reflects that you are               19      Psychological Association take the position that
            20      speculating, and this is a discovery deposition,           20      homosexuality was not something that was treatable?
            21      Doctor, and the reason it's okay to speculate is           21      I want to make sure I understand what you're
            22      because you may provide information that will --           22      saying.")
            23         A. Yes.                                                 23      A. It's not a simple question, because it was
            24         Q. -- help me do my own investigation separate          24   evolution of the associations over time. Right. The
            25      and apart from this deposition.                            25   DSM, it was declassified as a disorder. However, it


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             1       was left in as a -- at least in the later DSM-III, it     1   Dr. Kaufman and Dr. Socarides were psychiatrists,
             2       was still a condition that could be under sexual          2   that's one of the reasons that they got together
             3       disorders NOS, so it wasn't officially in. And then it    3   eventually.
             4       became egodystonic from a homosexuality. And --           4      Q. Sure. I'm just trying to get the chronology
             5          Q. Say that again.                                     5   so I can understand it.
             6          A. It was -- a later edition of the DSM, which is      6      A. Yeah.
             7       the Diagnostic and Statistical Manual.                    7      Q. I'm not a psychologist. I leave that to my
             8          Q. Yes.                                                8   wife. In the 1970s, homosexuality was declassified as
             9          A. A later edition it became -- said                   9   a mental illness by the American Psychiatric
            10       homosexuality -- egodystonic.                            10   Association, and that declassification was evidenced in
            11          Q. Egodystonic.                                       11   what? Is it a resolution by it, or how do they do
            12          A. Right. And that eventually --                      12   that?
            13          Q. Spell that for the court reporter.                 13      A. I don't know for sure. I imagine they may
            14          A. D-Y-S-T-O-N-I-C. Then it was removed               14   have made some resolutions to justify, you know. I
            15       altogether. Although -- yeah, so...                      15   mean, obviously, the DSM is something that -- it's a
            16          Q. What was removed altogether?                       16   book that is done by a number of committees, and so the
            17          A. Homosexuality as a condition.                      17   committees related to sexual disorders probably made
            18          Q. As a mental illness?                               18   that decision in the end.
            19          A. As a mental illness.                               19      Q. And then in DSM-III -- tell me, again, what
            20          Q. Now, DSM-III --                                    20   you said about DSM-III. And, again, I'm pretty sure
            21          A. As a disorder, okay, yes.                          21   I'm right that DSM-III came out in 1987. We're up to
            22          Q. -- DSM III, if I recall, was published in          22   DSM-5 now, I think.
            23       1987, if my memory is correct. Is that about right?      23      A. My recollection would be that DSM-III did not
            24          A. It could be. I don't know the exact date.          24   have homosexuality as a category, and it had sexual
            25          Q. Assume that it was published in 1987. Are you      25   disorders NOS, which is not otherwise specified, and it

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             1       telling me that prior to the DSM-III, assuming it's       1   included homosexuality that was egodystonic as a
             2       '87, homosexuality was declassified?                      2   possible, you know, example for that.
             3              MR. GANNAN: Objection. Speculation.                3      Q. Just for everybody's sake, what is
             4          A. It was declassified at least by the                 4   "egodystonic"?
             5       organizations in, I think -- as a stand-alone category    5      A. It means that it is not -- it is unwanted, I
             6       of homosexuality in 1973.                                 6   guess, you could say that. It caused the individual
             7       BY MR. WILLIAMS:                                          7   distress.
             8          Q. Okay.                                               8      Q. Homosexuality that was not wanted?
             9          A. But it was still -- you know, you could             9      A. Right. As opposed "syntonic," which means
            10       diagnose egodystonic homosexuality. Right.               10   that would be what they -- that the person was
            11          Q. Okay.                                              11   comfortable in their homosexuality.
            12          A. You can have ego-syntonic. People comfortable      12      Q. Sure.
            13       in it would not be considered that.                      13      A. It's not a problem.
            14          Q. What does declassified mean?                       14      Q. Sure. All right. And so in DSM-III, there
            15          A. Taken out of the DSM. It was removed from the      15   was that change. It had already been declassified, and
            16       DSM as a category.                                       16   now it's either syntonic -- egosyntonic or egodystonic.
            17          Q. Mental illness?                                    17      A. Uh-huh.
            18          A. Yes.                                               18      Q. And then when was homosexuality removed from
            19          Q. So sometime in the '70s --                         19   the DSM, Diagnostic and Statistical Manual completely?
            20          A. My understanding is that when it was taken out     20      A. My guess would be it was in the DSM-IV.
            21       it was voted on by the membership of the American        21      Q. In IV. Okay.
            22       Psychiatric Association. It was a very close vote. It    22         So there was an evolutionary chronology, a
            23       was a very close vote to declassify it of the            23   declassification DSM-III, which you just described.
            24       membership, and that's one of the reasons that it        24   And then by DSM-IV, which I think was in the '90s, it
            25       wasn't, you know -- I imagine that psychiatrists, like   25   was removed altogether from DSM-IV. Am I correct?


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             1         A. I don't know about the specific years, but in        1      Q. Okay. So it's down in Southern California?
             2      general, that was the evolution.                           2      A. Yes.
             3         Q. Right. And the organization which you                3      Q. Is that a particular kind of hospital, a
             4      described as NARTH, which evolved into the Alliance,       4   psychiatric --
             5      you believe was started by those three gentlemen, two      5      A. It was a psychiatric hospital, yes, at that
             6      psychiatrists and psychologist, as a reaction to the       6   time. Doesn't exist anymore.
             7      declassification and ultimately elimination?               7      Q. Was it a long-term or short-term psychiatric
             8         A. In part --                                           8   hospital?
             9            MR. GANNAN: Objection. Asked and answered.           9      A. I don't know. They had different wings,
            10         Speculation.                                           10   different -- they had sex offenders. They had
            11         Q. Go ahead.                                           11   mental -- developmentally disabled. They had all sorts
            12         A. I suppose in part it could, yes, but it was         12   of different people.
            13      interesting, it didn't -- I'll just say in part.          13      Q. Was that a state hospital?
            14      BY MR. WILLIAMS:                                          14      A. It was a state hospital, yes.
            15         Q. Okay. Doctor, to become a licensed clinical         15      Q. So funded by the state, I take it?
            16      psychologist in the state of California, does -- aside    16      A. Yes.
            17      from the educational qualifications and requirements,     17      Q. So you spent a year there getting clinical?
            18      does one have to have a residency or some clinical --     18      A. Nine, ten months, yes.
            19         A. You have to have --                                 19      Q. Okay. All right. Take me forward.
            20         Q. -- practicum --                                     20      A. And the other hours were through supervision
            21            MR. GANNAN: Let him finish his question             21   at Link Care.
            22         completely before you answer.                          22      Q. Through what?
            23      BY MR. WILLIAMS:
                                                                              23      A. Supervision, supervised hours at the Link Care
            24         Q. -- before one can practice that -- provide
                                                                              24   Center.
            25      clinical psychological treatments to clients in
                                                                              25      Q. I see.


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             1       California?                                               1      A. I had a supervisor there.
             2         A. In California, at least when I was graduating,       2      Q. While you were in school?
             3       you had to have 3,000 hours of supervised training,       3      A. No. After graduation, 1,500 hours are prior
             4       practical experience. 1,500 of those hours could be       4   to graduation.
             5       prior to graduation, 1,500 could be after. So that's      5      Q. Yes, sir.
             6       the answer to the question.                               6      A. 1,500 hours are after. So my 1,500 hours
             7         Q. How did you acquire those 3,000 hours in your        7   after were at Link Care under the supervision of a
             8       evolution from a student into a clinically -- clinical    8   psychologist there.
             9       practitioner?                                             9      Q. Were you qualified from a licensure point of
            10         A. My undergrad, my last year at Fuller was            10   view to provide clinical therapeutic procedures or
            11       mostly as an intern as a student trainee at Camarillo    11   modalities, however -- whatever words --
            12       State Hospital.                                          12      A. Until you can get your license, you qualify
            13         Q. Say that again.                                     13   under the license of your supervisor.
            14         A. I was a student in training at Camarillo State      14      Q. I see.
            15       Hospital. It was an internship. My internship was at     15      A. That's how it works.
            16       Camarillo State Hospital.                                16      Q. I got you. Then once you get the 3,000 hours?
            17         Q. Where is that hospital?                             17      A. Then you apply, take the exam, and if you
            18         A. In Camarillo, California.                           18   pass, then you are licensed, yes.
            19         Q. Spell it, please.                                   19      Q. Okay. Good enough. Is that standard
            20         A. C-A-M-A-R-I-L-L-O.                                  20   throughout the country that you have that kind of --
            21         Q. Camarillo.                                          21      A. I don't know about the hours piece of it, but,
            22         A. Camarillo, yes.                                     22   yes, most states have tests that you have to take to be
            23         Q. And where is that in California?                    23   licensed, requires certain amount of hours.
            24         A. It's kind of between Thousand Oaks and              24      Q. Why -- do you know why you became a plaintiff
            25       Ventura.                                                 25   in the Pickup case -- I will call it the Pickup v.


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             1       Brown case -- that I described on the record about         1   legislature -- legislature in California.
             2       30 minutes ago?                                            2         So I sensed that this could happen, and I
             3           A. Sure. Sure. It's a little bit of a story.           3   wanted to be a voice for these clients who don't have a
             4       But at the time --                                         4   voice. You know, they're not represented by, you know,
             5           Q. I'm all ears.                                       5   I would say most of the voices that are on the other
             6           A. -- at the time, I was the president of              6   side anyway.
             7       Alliance. And you may guess, I really don't have a         7      Q. What other side?
             8       great stomach for confrontational kinds of things. I       8      A. Well, I would say those who would support the
             9       don't enjoy them. However, I don't look for a fight,       9   bans on therapy.
            10       you know. But in a sense, here I am the president of      10      Q. Who are "they"? Can you characterize them for
            11       this organization and the state I'm practicing in is      11   me?
            12       threatening to take away the rights of clients and        12      A. What are you looking for?
            13       therapists.                                               13         MR. GANNAN: Objection. Vague. Go ahead
            14               I should say, this is -- it's important           14      answer.
            15       contextually to understand the Link Care Center, we       15      A. What are you looking for on that? I'm not
            16       work with a fairly conservative religious population,     16   quite sure.
            17       meaning we work with all people, of course, but a         17   BY MR. WILLIAMS:
            18       significant -- a significant percentage of that are       18      Q. Well, I'll have her read back the colloquy and
            19       Protestant, evangelical, conservative, traditional,       19   then probably help you out, I believe.
            20       theologically orthodox, whatever you want to call it,     20      (A discussion was held off the record.)
            21       but they come from those backgrounds.                     21      (The record was read back as follows: "And you
            22               We have a program that we work with a lot of      22      said this is why you got involved in the first
            23       clergy and missionaries. It's a cross-cultural,           23      place. It wasn't because of the change in the
            24       it's -- those working a full-time Christian vocation.     24      California law, but -- what you were talking about
            25       So I'm well acquainted with these individuals.            25      earlier, the Alliance --


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             1              Over the years in my working there, it was          1          "ANSWER: I was involved -- yes, although it
             2       unusual for -- it wasn't frequent, but not unusual for     2      took some time. As I was involved with the
             3       some of these individuals to come to Link Care and         3      Alliance -- again, if you read my writings, I talk
             4       among the issues were same-sex attraction issues. So       4      about this early on in my writings in this area,
             5       from an early on, I was concerned, just, you know,         5      long before the law was actually passed or
             6       sensing the wind, that the rights of these individuals     6      actually, you know, was working through the
             7       were going to be taken away, the sincerely held            7      legislature -- legislature in California.
             8       religious beliefs to pursue and explore their same-sex     8          "So I sensed that this could happen, and I
             9       attractions.                                               9      wanted to be a voice for these clients who don't
            10              And so that's really why I got involved in         10      have a voice. You know, they're not represented
            11       this whole field in the first place. I mean, the suit     11      by, you know, I would say most of the voices that
            12       itself was 15 years later, but I didn't feel like these   12      are on the other side anyway.
            13       individuals who I was seeing in my office had a voice,    13          "QUESTION: What other side?
            14       and I was afraid that their rights were going to be       14          "ANSWER: Well, I would say those who would
            15       taken away to pursue the goals that are based on their    15      support the bans on therapy.")
            16       religious beliefs.                                        16   BY MR. WILLIAMS:
            17          Q. And you said this is why you got involved in        17      Q. That's the context, Doctor, when you said "the
            18       the first place. It wasn't because of the change in       18   other side." And I would agree with Mr. Gannam that it
            19       the California law, but -- what you were talking about    19   is a vague reference, but that's why I'm asking the
            20       earlier, the Alliance --                                  20   question, because I don't know what you mean by "the
            21          A. I was involved -- yes, although it took some        21   other side."
            22       time. As I was involved with the Alliance -- again, if    22      A. Well, I guess in the broad sense it would be
            23       you read my writings, I talk about this early on in my    23   those who wish to support in whatever fashion laws to
            24       writings in this area, long before the law was actually   24   take away the speech rights and the freedom to choose
            25       passed or actually, you know, was working through the     25   goals in regards to their presenting issues of same-sex


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             1       attractions if that is something they're concerned         1      A. So all of this was thrown against the wall to
             2       about.                                                     2   see what would stick and --
             3          Q. All right. I think I understand what you just        3      Q. You mean metaphorically; correct?
             4       said when you used a phrase with the pronoun "they."       4      A. Well, okay. Yes. Yes. They were fishing to
             5       Are there any particular people or organizations that      5   see what would be considered. I mean, the long-term
             6       you can identify for me that would come within the         6   goal seemed from that to be banning this for everybody
             7       ambit of the word "they"?                                  7   in some form or making it very difficult. And after
             8             MR. GANNAN: Objection. Vague.                        8   negotiating with the professional organizations,
             9             You can answer.                                      9   everything apart from the minor's piece was taken out
            10          A. I do know like California Equality was the          10   and it was referred back to the Board of Psychology as
            11       group that sponsored the bill. We had politicians that    11   possible -- that's where the penalties would come from,
            12       supported the bill. There were therapists and             12   not from civil litigation up to $5,000. So that's what
            13       therapeutic organizations that supported the bill after   13   stuck in the end, and then that, of course, was taken
            14       some, obviously, negotiating of it.                       14   as a template across the country.
            15       BY MR. WILLIAMS:                                          15      Q. All right. So the original proposed
            16          Q. What do you mean by "obviously, some                16   California law -- which would be statewide, I take it.
            17       negotiating of it"?                                       17   Am I correct?
            18          A. The original bill in California -- it's very        18      A. Statewide, yes.
            19       interesting. The original bill, the way I look at it      19      Q. -- had started with one version, but when it
            20       was Equality California just was throwing all sorts of    20   was finally enacted, it was a --
            21       things against the wall and seeing what would stick,      21      A. A very narrow.
            22       because this was the first of its kind legislation in     22      Q. -- much more narrow version of it?
            23       the country.                                              23      A. Yes. Yes.
            24          Q. When was that? What year?                           24      Q. And you mentioned Equality California, what is
            25          A. 2012, right, and so the original bill talked        25   that group?


                                                                  Page 42                                                       Page 44
             1      about -- as it was originally crafted, it included          1       A. It's a civil rights organization that works
             2      adults, it included a statement of consent that was --      2   for -- they introduced lots of legislation primarily in
             3      that therapists would have to read before doing therapy     3   the area of sexual orientation-related matters, very
             4      that could be construed as SOCE.                            4   involved.
             5         Q. SOCE being what?                                      5       Q. Were state psychological/psychiatric
             6         A. Sexual Orientation Change Efforts, a term that        6   associations involved in the enactment or the promoting
             7      I would say I have problems with.                           7   the enactment of that law?
             8         Q. You have what? Problems with?                         8       A. I mean, they were negotiating with California
             9         A. Problems with the term. We can talk about it          9   Association of Marriage and Family Therapists, the
            10      later.                                                     10   California Psychological Association. They consulted
            11             But this original legislation, it obviously         11   with the APA, American Psychological Association.
            12      prevented therapists from working with minors. That        12       Q. Who is "they"?
            13      was part of it, but it was more expansive than that,       13       A. The legislators, to understand. But the APA
            14      like I say. And it allowed therapists to be sued if        14   representatives basically said that we don't do -- we
            15      they didn't -- for up to $5,000 in damages if they         15   don't recommend banning. Basically, we don't get
            16      either worked with a minor or did not present this         16   involved in these things, so they did not weigh in on
            17      consent form and also they had to -- therapists who        17   it.
            18      would engage in SOCE would have to, under this law, as     18       Q. How do you know that?
            19      it originally constituted, they would have to report to    19       A. It was a news report.
            20      the state. So it was very expansive.                       20       Q. From the news?
            21         Q. Report to the state what, sir?                       21       A. From the news.
            22         A. They had to report to the state that they were       22       Q. That's the source of your knowledge?
            23      doing it, how much they were charging, what dates it       23       A. It was a quote from the --
            24      occur, all these sorts of things.                          24       Q. I understand that. But that is the source of
            25         Q. Okay.                                                25   your knowledge, some newspaper article?


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                                                                  Page 45                                                      Page 47
             1          A. It's the words that she used.                        1   Dr. Vazzo or Mr. Vazzo?
             2          Q. I understand. The source --                          2      A. I know Mr. Vazzo, not as well as Mr. Pickup.
             3          A. Okay.                                                3   I don't know them really personally other than they're
             4          Q. -- of your knowledge is a newspaper article?         4   colleagues at the Alliance.
             5          A. She was interviewed, apparently.                     5      Q. And Dr. Nicolosi, who was a plaintiff in this
             6          Q. Who is "she"?                                        6   case?
             7          A. Rhea Faberman, I think her name was.                 7      A. I knew Dr. Nicolosi, yes.
             8          Q. And who is she?                                      8      Q. He has since passed away, has he not?
             9          A. I don't remember her exact title, but she was        9      A. He has. Yes, he has.
            10       a representative of the APA.                              10      Q. And then the next one is National Association
            11          Q. Okay. All right. And so you -- did you              11   for Research and Therapy of Homosexuality (NARTH).
            12       volunteer to become a plaintiff in that lawsuit or were   12      A. Right.
            13       you asked?                                                13      Q. And that's the organization that you referred
            14          A. I was asked.                                        14   to earlier?
            15          Q. By whom?                                            15      A. Right.
            16          A. By Liberty Counsel.                                 16      Q. Which is now called the Alliance, is it not?
            17          Q. Liberty Counsel, meaning these two gentlemen        17      A. Correct.
            18       to your right?                                            18      Q. When did that change, that name change take
            19          A. Not these two gentlemen specifically.               19   place? Do you know?
            20          Q. Other members of Liberty Counsel?                   20      A. Probably five or six years ago.
            21          A. I believe so, yes.                                  21      Q. And then you have the American Association of
            22          Q. Do you remember their names?                        22   Christian Counselors (AACC).
            23          A. I think one was Daniel Schmidt. That's the          23      A. Correct.
            24       one I remember. I think I interacted with him more.       24      Q. And what is that organization or association?
            25          Q. And is he located in California?                    25      A. I'm not a member of that organization, but I


                                                                  Page 46                                                      Page 48
             1          A. I don't know. I don't think so, but I don't          1   assume -- I mean, it represents Christian counselors,
             2       know.                                                      2   you know, and others, I suppose. I don't think it
             3          Q. So Mr. Schmidt contacted you and asked you if        3   discriminates that way, but mostly Christian
             4       you would be willing to be a plaintiff; is that            4   counselors, 50,000.
             5       correct?                                                   5      Q. Which gets us back to something you said
             6          A. It's been a while, but that's my --                  6   earlier that piqued my curiosity, I guess, as much as
             7              MR. GANNAN: Before you get further. I just          7   anything. You said that -- I think the words you used
             8          want to sort of preemptively address any privilege      8   were the population was "a fairly conservative
             9          issues, that you are not to answer the content of       9   religious population," quote-unquote. I wrote it
            10          any conversations you had with Mr. Schmidt other       10   down --
            11          than to perhaps describe the subject matter, if        11      A. Oh, at Link Care?
            12          that's responsive to the question.                     12      Q. Yes.
            13              MR. WILLIAMS: Nor will I get into that. I          13      A. Uh-huh.
            14          respect the attorney-client privilege very much.       14      Q. Yeah.
            15       BY MR. WILLIAMS:                                          15      A. Yeah, I mean, obviously we serve -- my license
            16          Q. My question was how did you get involved in         16   is with the state -- we serve people across the
            17       this lawsuit.                                             17   spectrum of belief, but we are known as a faith-based
            18          A. Right.                                              18   center by a lot of churches in the area, and so we get
            19          Q. So apparently Mr. Schmidt contacted you, and        19   referrals from them. So a high percentage of clients
            20       you agreed to be a plaintiff; is that correct?            20   tend to be people with sincere religious beliefs, and
            21          A. After much deliberation with myself, yes.           21   that's motivating their choice to seek counseling.
            22          Q. All right.                                          22   They hope to see someone who at least understands, if
            23          A. As I said, that was not something I wanted to       23   not, shares their world view in significant ways.
            24       do.                                                       24      Q. And when you say "fairly conservative
            25          Q. Okay. And Robert Vazzo, do you know Mr. --          25   religious population," tell me what you mean by


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                                                                  Page 49                                                       Page 51
             1       "conservative religious." What does that mean?             1   definition of what that means. You used the phrase, so
             2           A. I would say in terms of theological belief,         2   I'm just trying to understand what you meant by that.
             3       authority of the scripture, they would probably take       3      A. Fair enough. Fair enough. I would say it
             4       that seriously. That would be a primary authority for      4   would be a high view of scripture. They often are, you
             5       them in terms of life, in terms of -- even in terms of     5   know, trying to live by their beliefs. I think that's
             6       morality, and that would include sexual morality, if       6   the biggest thing. And there is subject to nuance and
             7       they understand it.                                        7   interpretation, but, yes, the scriptures are
             8           Q. What does sexual morality have to do with           8   authoritative, and they try to live by them.
             9       homosexuality?                                             9      Q. If somebody is living by the scriptures, does
            10           A. Well, my under- -- sexual morality, I think        10   that make them automatically a Protestant evangelical?
            11       it's what your beliefs about sexual activity, whether     11      A. Not necessarily.
            12       that's like sex, sexuality -- well, I mean, that's the    12      Q. What's the difference? That's my question.
            13       broad answer to the question. Right? I mean, sexual       13      A. You can say, for instance, if you want to put
            14       morality is an understanding of what's -- what's within   14   in a hierarchy. Let's look at it this way.
            15       a theological belief system, what is ideal and what is    15      Q. Okay.
            16       not ideal.                                                16      A. Authority of scripture; say authority of
            17           Q. What is moral and what is immoral?                 17   tradition; authority of, say, reason; and authority of
            18           A. That's possible, yes. That is one way of           18   experience. You probably find the evangelicals saying
            19       looking at it.                                            19   scripture, tradition, reason, maybe science, and then
            20           Q. Is that one way to characterize sexual             20   experience. And probably a non-evangelical might have
            21       morality from a conservative religious point of view?     21   something like experience first. Experience tells me
            22           A. I think that would be a fair characterization.     22   what's true.
            23           Q. All right.                                         23      Q. Okay.
            24           A. They're concerned with living up to their          24      A. All right. And then maybe science and then
            25       religious ideals --                                       25   maybe -- so if you want to put these in different kind

                                                                  Page 50                                                       Page 52
             1         Q. It's important that I understand.                     1   of hierarchies, the evangelical would probably have
             2         A. Yeah, sure.                                           2   scripture, by and large. I mean, there's always
             3            -- in terms of their sexual conduct, yes.             3   exceptions, but would have that scripture authority on
             4         Q. Okay. And you also -- and I'm using the terms         4   top.
             5      that you used. I'm not going to dwell on this. I just       5      Q. All right. The hierarchy --
             6      want to make sure I understand this so as we talk I get     6      A. And they understand the others through that --
             7      a better feel for your thinking, sir.                       7   you know, in part through that lens where it speaks to
             8         A. Sure.                                                 8   it. It doesn't always speak to it, but in part through
             9         Q. You also used the word "Protestant                    9   that lens.
            10      evangelical." What does that mean?                         10      Q. All right. I think I understand. Thank you.
            11         A. It's different definitions. Like evangelical         11   That's a good way to explain it.
            12      would be someone who had a high view of the scripture.     12          And the last phrase you used was -- again, I'm
            13         Q. What is "a high view of the scripture"?              13   just trying to make sure I understand this in case it
            14         A. That it is the utmost authority in their life.       14   becomes relevant, and it probably won't.
            15      That's how they would frame it, utmost authority.          15   "Theologically orthodox." What does that mean? Same
            16      Repeat the question, if --                                 16   hierarchy kind of thing?
            17         Q. I asked you -- you used the term "Protestant         17      A. Yeah. I mean, I guess they would -- if you
            18      evangelical."                                              18   want a simple answer, I would say that they would agree
            19         A. Yes.                                                 19   with the Apostles' Creed. That would be kind of a
            20         Q. Let me set the stage so the record is fair to        20   summary statement of their belief.
            21      you and clear to whoever reads it. I'm using the terms     21      Q. So somebody who is theologically orthodox
            22      that you used in answer to some broad question that I      22   believes in the Apostles' Creed?
            23      asked ten minutes ago, probably.                           23      A. I think so. I think that would be fair to
            24            And one of the phrases that you used was             24   say. There may be other things. So you can have
            25      "Protestant evangelical." I'm asking for your              25   orthodoxy apart from -- even though there is an


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             1       orthodox church, you know.                                1      A. Well, I knew the case, so...
             2          Q. Yes.                                                2      Q. How did you know the case?
             3          A. I'm not saying that only Protestant                 3      A. I mean, I was aware that it existed based on
             4       evangelicals have orthodox theology. I'm just saying,     4   my affiliation with the Alliance.
             5       this is how they see it. They wouldn't be exclusionary    5      Q. Well, tell me about that. How is the Alliance
             6       of others.                                                6   involved with this particular case? And by "this
             7          Q. Well, the Apostles' Creed, you would agree          7   particular case" --
             8       with me, is not unique to any particular denomination?    8      A. Alliance has nothing to do with this case.
             9          A. No. That's correct.                                 9   However, we have a great interest in these cases, so we
            10          Q. I mean, the Episcopals do it, Presbyterians        10   have people that do follow them and what's happening
            11       say it.                                                  11   with them.
            12          A. Absolutely.                                        12      Q. I see.
            13          Q. Methodists say it.                                 13      A. And they report on them.
            14          A. Absolutely.                                        14      Q. So as a member of the board of the Alliance,
            15          Q. I think the Latter-day Saints say it, do they      15   you are generally aware of these kind of cases
            16       not?                                                     16   throughout the country. Is that a good way to put it?
            17          A. They may. I'm not an official -- I'm not           17      A. More or less.
            18       totally knowledgeable about that.                        18      Q. Is it more more than or more less?
            19          Q. I have a friend who is. I'll ask him.              19      A. I'm just saying I'm not aware of -- some cases
            20              MR. WILLIAMS: All right. Let's do this.           20   I know more about, than I'm aware of others. I may not
            21          Let's take a short break.                             21   know of every case out there, because there's a lot, I
            22          (A brief recess was taken.)                           22   guess, but by and large, yes.
            23       BY MR. WILLIAMS:                                         23      Q. I'm not trying --
            24          Q. Dr. Rosik, I'm going to go through your            24      A. I don't take it that way.
            25       declaration, obviously, in detail. It's a lengthy        25      Q. Good. Words matter, phrases matter, and when


                                                                Page 54                                                        Page 56
             1       declaration, as you know, which I enjoyed reading. But    1   you read a dry record --
             2       before we get into that aspect of your involvement in     2      A. I get it.
             3       this case, would you please tell me how you first         3      Q. -- six months from now and you say, "What did
             4       became involved as an expert witness in this case?        4   he mean by that?" that is why I'm so picky about
             5          A. I believe I was approached by Liberty Counsel,      5   phrases and definitions and things like that.
             6       seeing if I would be willing to participate in that       6         As I said, I have been doing this a long time,
             7       regard, in that capacity.                                 7   so I know what I'm talking about when it comes to that
             8          Q. Yes, sir. And is there a particular lawyer or       8   kind of stuff.
             9       lawyers who contacted you?                                9         I have in front of me, actually, a copy of --
            10          A. I think the one sitting next to me.                10   and I'm not going to make this an exhibit to your
            11          Q. Mr. Gannam?                                        11   deposition. I have a copy of the first amended
            12          A. Mr. Gannam. If my recollection is accurate.        12   verified complaint, the declaratory preliminary and
            13          Q. Did you know Mr. Gannam prior to him               13   permanent injunctive relief and damages that is the
            14       contacting you?                                          14   operative charging instrument, as I call the complaint,
            15          A. No.                                                15   in this particular case, Vazzo versus City of Tampa,
            16          Q. When did he first contact you?                     16   Florida. And that is here in the Middle District of
            17          A. Spring, probably, maybe early -- late winter       17   Florida, the Tampa Division.
            18       2019.                                                    18         And I'm going to hand it to you, and just tell
            19          Q. Okay. Six months ago or so?                        19   me if you have seen that before. Certainly Mr. Gannam
            20          A. Something like that, yes.                          20   and Mr. Mihet have seen it. They authored it.
            21          Q. What did Mr. Gannam ask you to do?                 21      A. I think I have seen it, but I don't recall.
            22          A. He wanted to know if I was interested in           22      Q. Now, the reason I ask you that question is I
            23       serving as an expert witness in this case.               23   asked you earlier when Mr. Gannam called you to be an
            24          Q. And did you ask him what kind of expert            24   expert. I think what you said was you were generally
            25       witness, by any chance?                                  25   familiar with the fact that this case is pending?


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             1          A. Yes.                                                 1   the Tampa case -- I'll just call it the Tampa case --
             2          Q. Because of your position with the Alliance;          2   when Mr. Gannam called you?
             3       correct?                                                   3         MR. GANNAN: Objection. Vague.
             4          A. I learned it through that, yes.                      4      A. I don't know. To be honest.
             5          Q. That you keep track of things more or less;          5   BY MR. WILLIAMS:
             6       right?                                                     6      Q. You don't remember, or you don't know?
             7          A. Yes.                                                 7      A. No, I really don't know, were -- if there were
             8          Q. And were you generally familiar with the             8   specific allegations leveled against the therapist or
             9       issues in this case that we're here on today, the Vazzo    9   whether this was done at kind of a preemptive way.
            10       versus Tampa case?                                        10      Q. Okay. Fair enough.
            11             MR. GANNAN: Objection. Vague.                       11      A. I don't know the answer to that question.
            12          A. In the sense that these cases, the legislative      12      Q. Fair enough. All right. Let's get back to
            13       language is boilerplate stuff. By and large, it's         13   when Mr. Gannam contacted you. Recount for me, if you
            14       boilerplate. So being familiar with California, I'm       14   can, to the best of your memory, which is about six
            15       quite -- you know, the language is echoing California's   15   months ago, I think we agree, what that conversation
            16       law.                                                      16   was, what he said, what you said.
            17       BY WILLIAMS:                                              17      A. I mean, there is no way I'm going to be able
            18          Q. The language of the Tampa ordinance is echoing      18   to remember a narrative account of what our
            19       the statute in California?                                19   conversation was. There was some e-mail contact, and
            20          A. A lot of it.                                        20   I'm sure in that I was asked if I would be willing to
            21          Q. You've compared the two?                            21   be an expert witness. And after some deliberation with
            22          A. I mean, I haven't done a detailed analysis,         22   my wife and within myself and my employer, I agreed to
            23       but, you know, typically, you know, the citation from     23   do that, and that's the gist of it.
            24       all the different organizations and definitions of        24      Q. Fair enough. And do you still have those
            25       terms and those sorts of things, it's a lot of            25   e-mails?

                                                                 Page 58                                                        Page 60
             1      boilerplate stuff.                                          1       A. Probably, yeah.
             2         Q. Okay. Again, boilerplate. Is it your belief,          2       Q. And so you had some e-mail exchanges with
             3      Doctor, that the substance wording and so forth of the      3   Mr. Gannam --
             4      Tampa ordinance is very similar to the substance and        4       A. Correct.
             5      wording of te California Statute?                           5       Q. -- back earlier this year?
             6            MR. GANNAN: Objection. Asked and answered.            6       A. Yes.
             7         A. There are similarities. I don't know if I             7       Q. Did you inquire of Mr. Gannam, once you said
             8      would say "very," but there are similarities.               8   I'll be an expert, what am I -- what does my expert
             9      BY MR. WILLIAMS:                                            9   testimony, what subject matter it was going to be on?
            10         Q. All right. Do you believe that the Tampa             10       A. Yeah. I mean, I knew what subject matter it
            11      ordinance was modeled after the California statute?        11   was going to be.
            12            MR. GANNAN: Objection. Speculation.                  12       Q. What did you know then?
            13         A. I mean, is it in every detail, I don't -- I          13       A. Just in part the science surrounding SOCE and
            14      don't know. I certainly suspect that there is              14   sexual orientation in general.
            15      communication that goes on along these lines;              15       Q. SOCE -- science surrounding SOCE and sexual --
            16      otherwise, it would be hard to understand how they         16       A. Or I should say science or lack thereof.
            17      could spread so rapidly.                                   17       Q. Okay. Science or lack thereof surrounding
            18      BY MR. WILLIAMS:                                           18   SOCE and sexual orientation. Did I get that correct?
            19         Q. Fair enough. And the reason I'm asking these         19       A. And therapy issues, obviously, because
            20      questions is because we started out that you were          20   that's -- I'm a psychologist, so broadly speaking, you
            21      generally familiar with the existence of the lawsuit       21   know, the issues at play here with this legislation,
            22      here in Tampa because the Alliance keeps track of these    22   this bill.
            23      things.                                                    23       Q. Delineate for me those therapy issues you are
            24         A. Sure.                                                24   alluding to.
            25         Q. Were you aware of the specific allegations in        25       A. Again, whether -- I mean, again, broadly


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             1       speaking, whether licensed professional therapists are     1   experience.
             2       able to speak to clients in a way that could be            2      Q. All right. So number three is science.
             3       construed as unopeness to change, unopeness to fluidity    3      A. Yes.
             4       of sexual attractions and behaviors.                       4      Q. That's third on the list. Okay. Right?
             5          Q. When you say "can," you mean legally?                5      A. This is a hypothetical list, but it has -- it
             6          A. Are you legally allowed to.                          6   has heuristic value.
             7          Q. Yeah.                                                7      Q. But it's your list, is it not?
             8          A. Under the bill you --                                8      A. Well, not -- I would say --
             9          Q. That's what you mean by "can"; right?                9      Q. It's what you testified to.
            10          A. Exactly.                                            10         MR. GANNAN: Objection. Let him answer.
            11          Q. Before the break, we talked about the               11   BY MR. WILLIAMS:
            12       hierarchal concepts that you described in terms of        12      Q. Please.
            13       Protestant, evangelical, and theological orthodox,        13      A. Yeah, it depends on the issue. Some issues I
            14       conservative religion?                                    14   would value tradition. Other issues I would more value
            15          A. Sure.                                               15   science.
            16          Q. And at the top was scripture, adherence to          16      Q. So on some issues you might elevate science
            17       scripture, and I assume that means a literal adherence?   17   above tradition. Is that what you're saying, in
            18       That's the way I heard you, at least.                     18   hierarchy?
            19          A. Yeah, that would be a mischaracterization.          19      A. Possibly, yes, because tradition is tradition.
            20          Q. Okay.                                               20   I mean, it's not as authoritative as scripture in an
            21          A. Literal. "Literal" is typically used, but           21   evangelical context.
            22       what you have to understand is the scripture -- and I     22      Q. The hierarchy that you described for me
            23       got this from my theological training.                    23   earlier was scripture, tradition, science, and I think
            24          Q. Sure.                                               24   experience; right?
            25          A. -- scripture includes many genres, right.
                                                                               25         MR. GANNAN: Objection. Asked and answered.

                                                                 Page 62                                                        Page 64
             1       Like the parables of Jesus, I don't take them as           1   BY MR. WILLIAMS:
             2       literal. Right. They're not literal in that sense. I       2      Q. I want to make sure that I got that right.
             3       think evangelicals would say, "Well, that the loose        3   And the only reason I'm saying that again, because I
             4       gospel that contains history in it, that Jesus's life,     4   did ask and you answered it, is to make sure that my
             5       his death, his resurrection, that's historicity to         5   next question makes sense. And that is, you said -- in
             6       that. That's literal." Right.                              6   response to one of my questions, you said, "Science or
             7              So you have to contextualize, you have to           7   lack thereof surrounding SOCE, sexual orientation, and
             8       understand what the genre of the scripture is when you     8   the therapy issues associated with all that."
             9       say is it literal or not. That's not a -- it's a           9   Something like that. Is that correct?
            10       simple question.                                          10      A. I believe so.
            11          Q. All right. Well, I don't want to get bogged         11      Q. Right. So when you say "science or lack
            12       down on --                                                12   thereof surrounding SOCE," first, define what SOCE
            13          A. Okay. But it's important to understand that,        13   means in lay terms. How would you describe that?
            14       because I know where this goes.                           14      A. That's a great question.
            15          Q. Where is it going? You tell me.                     15      Q. Thank you.
            16          A. That it's a literal -- what I meant by that is      16      A. Because it's a very amorphous term. I would
            17       that the accusation is these are fundamentalist,          17   like to know what specific actions of the therapist are
            18       literal interpretation of the scripture, as if            18   envisioned within that definition of "sexual
            19       everything -- they're made to look kind of silly by       19   orientation change efforts." Before I could really
            20       that statement.                                           20   answer the question, I need to know what I'm being
            21          Q. Who is made to look silly?                          21   asked, because it's such a broad umbrella term. It's
            22          A. Evangelicals, conservatives, orthodox.              22   hard to know what I'm agreeing or not agreeing to. But
            23          Q. Okay. Well, the next here, if I recall the          23   if you give me specifics, this is what a SOCE therapist
            24       hierarchy was science. Am I right?                        24   does specifically, that's in question, I might be able
            25          A. I think I said scripture, tradition, science,       25   to answer that.


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                                                                Page 65                                                        Page 67
             1         Q. If I brought my teenage daughter down to             1      A. No.
             2      someone who is qualified to do SOCE therapy --             2      Q. You would not; right?
             3         A. There's no -- it's not -- it's not certified.        3      A. No. The front desk would just say, "You need
             4            MR. MIHET: Let him finish his --                     4   to have your parents contact our clinic and request
             5         A. Oh, I'm sorry.                                       5   counseling."
             6            MR. MIHET: Let him finish his question,              6      Q. All right. Well, I don't want to get too much
             7         please.                                                 7   in the weeds here, Doctor, because you used the term
             8         A. I'm sorry.                                           8   "science or lack thereof surrounding SOCE." That was
             9      BY MR. WILLIAMS:                                           9   your testimony. I wrote it down very carefully.
            10         Q. Go ahead. Let me revise my question based on        10         So let's start with the science surrounding
            11      what you said.                                            11   SOCE. What is the science surrounding SOCE? Generally
            12            SOCE stands for sexual orientation change           12   describe that for me.
            13      efforts, does it not?                                     13         MR. GANNAN: Objection. Vague.
            14         A. Yes.                                                14      A. In probably the most specific terms it would
            15         Q. So if I brought my daughter, my teenage             15   be research that has been done regarding -- in a
            16      daughter down to you and said to you, "I'm here to make   16   therapy-therapist context of providing care for
            17      sure -- my daughter wants efforts towards not being       17   individuals who are, you know, looking at coming to
            18      homosexual, but rather being heterosexual," okay, would   18   therapy with unwanted same-sex attractions. So it's a
            19      that be an example of SOCE?                               19   limited literature. That's a narrow version regarding
            20            MR. GANNAN: Objection. Vague. Calls for             20   SOCE, science that's been done around that topic.
            21         speculation.                                           21   BY MR. WILLIAMS:
            22         A. I guess that -- I'm thinking that would be an       22      Q. And what do you mean by the lack thereof or a
            23      example of a parent bringing their child in for           23   lack of science?
            24      therapy.                                                  24      A. What I mean, by that, for example, is what
            25                        ***                                     25   science can and cannot say. For instance, all these

                                                                Page 66                                                        Page 68
             1       BY MR. WILLIAMS:                                          1   studies, most every one of them are correlational in
             2          Q. I'll change the question, then.                     2   nature.
             3              My daughter is old enough to drive and drove       3      Q. What does that mean?
             4       down to somebody who is involved in this kind of          4      A. They look at associations between variables.
             5       clinical practice and said, "I would like you to exert    5   All right. So they can say, "This variable is related
             6       efforts to make me nonhomosexual." Is that an example     6   to this variable." They seem to vary together to some
             7       of the practice of SOCE?                                  7   extent. Right? That's what a correlation is. Science
             8              MR. GANNAN: Objection. Vague. Misstates            8   would say there could be a -- there's a relationship
             9          testimony. Improper hypothetical.                      9   between these those variables. Science can't say which
            10          A. She's a minor; correct?                            10   of these variables is causative. One -- it could go
            11       BY MR. WILLIAMS:                                         11   either way. And that is -- again, that's the nature of
            12          Q. My daughter is.                                    12   this literature by and large.
            13          A. Well, in this scenario she's a minor?              13      Q. And when you refer to "this literature," is
            14          Q. Yes.                                               14   there something you can point me to to identify that
            15          A. I could not talk to her without talking to         15   literature?
            16       you.                                                     16          MR. GANNAN: Objection. Vague.
            17          Q. Okay. And would that be something that any         17   BY MR. WILLIAMS:
            18       ethical clinical psychologist would follow?              18      Q. Let me help you out.
            19          A. Absolutely. It's legally required. We have a       19      A. Yeah -- I know you're -- okay.
            20       form. We have to have a parent sign that says you may    20      Q. Have you read the Tampa ordinance that is the
            21       meet with my child. A minor child. So if the child       21   subject matter of this litigation here in Tampa?
            22       comes in by themself, minor child, we have to have --    22      A. Yes. I haven't read it recently, though.
            23       we'd have to say, "Sorry. We need to contact -- have     23      Q. But at some point in the past you have?
            24       your parents contact us."                                24      A. Yeah.
            25          Q. You wouldn't even talk to her, basically?          25      Q. After you were engaged as an expert in this


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                                                                 Page 69                                                       Page 71
             1      case did you read the ordinance?                           1   they don't -- they're not in those networks, put it
             2         A. I believe so.                                        2   that way.
             3         Q. And I realize you haven't read it recently,          3       Q. I got to understand this.
             4      but if you recall from your reading, there were a          4       A. Yeah.
             5      number of reports, studies, et cetera, et cetera, by       5       Q. You're really trying hard, and I appreciate
             6      any number of well-recognized organizations that are       6   it, but I'm a little confused.
             7      recited in the ordinance itself, are there not?            7          The people you work with are a conservative
             8             MR. GANNAN: Objection. Assumes facts not in         8   religious population; right? Is that what you're
             9         evidence.                                               9   referring to?
            10         A. Yes, that's part of the boilerplate.                10          MR. GANNAN: Objection. Asked and answered.
            11      BY MR. WILLIAMS:                                          11   BY MR. WILLIAMS:
            12         Q. Okay. Is that the science you are referring         12       Q. Yes?
            13      to that is correlated?                                    13       A. By and large.
            14         A. Those are resolutions. Those are policy             14       Q. Yes.
            15      statements. That's not science. They're saying it's       15       A. Not exclusively.
            16      based on science, but -- but those -- if you are          16       Q. And are you saying that people that are in
            17      talking about these different organizations and their     17   that population, there are no homosexuals in it?
            18      statements, that's comment on it, that's their --         18       A. No. No.
            19         Q. Position?                                           19       Q. What are you saying?
            20         A. -- position statements. Exactly.                    20       A. The studies, many of them, when they recruit
            21         Q. Okay. So correlate that, to use your term,          21   participants, they will, by virtue of their design,
            22      with science. Are those position statements based on      22   miss a good number of individuals who are not GLBT
            23      underlying scientific analysis by those organizations?    23   identified. And that means they cannot be generalized
            24             MR. GANNAN: Objection. Vague.                      24   through that population. They can only be generalized
            25         A. I would say that they are based in part. My         25   within that population of GLB-identified individuals.

                                                                 Page 70                                                       Page 72
             1       take on it is that -- and you've read the -- you know     1      Q. What does that mean?
             2       this already, but it's incomplete.                        2      A. So it's incomplete.
             3       BY MR. WILLIAMS:                                          3      Q. I don't know what that means, GLB identified?
             4          Q. What's incomplete?                                  4      A. Gay, lesbian, bisexual.
             5          A. The science is incomplete. It can't possibly        5      Q. I know what that means.
             6       be complete based on the science as it's conducted        6      A. They self-identify that way.
             7       currently.                                                7      Q. The members of this population?
             8          Q. How is the science conducted currently?             8      A. Yes. Yes. Right. So someone in a
             9          A. It's conducted almost exclusively on -- for         9   conservative environment might say, "I have same sex
            10       instance, as an example, almost exclusively on LGBT      10   attraction, but I'm not GLB --
            11       identified participants.                                 11      Q. I see.
            12          Q. What does that mean?                               12      A. -- I'm not gay identified." And those people
            13          A. When they recruit for participants, they -- I      13   will not be sampled.
            14       mean, this a function of just, say, the idealogical      14      Q. I see. Okay. Now I understand what you are
            15       lack of diversity, but the research, if you look, they   15   saying. So somebody in that population that would say,
            16       describe in the research methodology how they obtain     16   "I might be homosexual, but I'm not GLBT," what do they
            17       participants. And very commonly it's through gay,        17   call themselves?
            18       lesbian, transgender networks, websites, venues,         18          MR. GANNAN: Objection. Vague and misstates
            19       because these are the ones that researchers know and     19      the testimony.
            20       people trust. So that would be -- what's the problem     20   BY MR. WILLIAMS:
            21       with that is that it's missing the people that I work    21      Q. What do they call themselves?
            22       with.                                                    22      A. They would probably call themselves
            23          Q. And who are those people?                          23   Christians. They may say they have same-sex
            24          A. Well, typically theologically conservative         24   attractions.
            25       individuals who do not identify as LGB. They -- so       25      Q. And if they have same-sex attraction, what's



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                                                                 Page 73                                                       Page 75
             1       the significance of that from a conservative religion      1      Q. All right. Forgive me. I'm a lawyer --
             2       point of view?                                             2      A. It's all right.
             3              MR. GANNAN: Objection. Vague.                       3      Q. -- not a psychologist or psychiatrist.
             4          A. For them, I assume that it would be falling          4         But I do want to make sure I understand one
             5       short of the religious ideal. But they are still,          5   thing. A member of -- it's your opinion, your
             6       obviously, loved by God, you know. But, yes, it would      6   testimony that a member of a conservative religious
             7       be seen as falling short of the religious ideal for        7   population would not label themselves a gay, lesbian,
             8       sexual expression, if they -- well, that's another         8   bisexual, or transsexual; is that correct?
             9       distinction. Right. Whether the person acts on their       9         MR. GANNAN: Objection. Misstates testimony.
            10       sexual attractions or not.                                10      A. Many wouldn't. There are some that do, yes.
            11       BY MR. WILLIAMS:                                          11   BY MR. WILLIAMS:
            12          Q. Falling short? Meaning sinful or something          12      Q. But most would not, would you say?
            13       like that?                                                13      A. Probably most on the more conservative side of
            14          A. That --                                             14   things.
            15              MR. GANNAN: Objection. Vague.                      15      Q. They would use a different way of describing
            16          A. I don't know if they would use that language,       16   it?
            17       but they could. And, again, that would be their           17         MR. GANNAN: Objection. Speculation. Asked
            18       language.                                                 18      and answered.
            19       BY MR. WILLIAMS:                                          19   BY MR. WILLIAMS:
            20          Q. That's a possibility?                               20      Q. Right?
            21          A. It is a possibility.                                21      A. They would describe themselves using a
            22          Q. How does that impact the correlation that you       22   religious identity as their primary identity.
            23       are talking about? I'm really trying to understand        23      Q. Do you know whether that religious population
            24       this, sir.                                                24   deems homosexuality as sinful?
            25          A. The correlation I'm talking about.                  25         MR. GANNAN: Objection. Vague. Calls for

                                                                 Page 74                                                       Page 76
             1          Q. Yeah, the science, the correlative studies and       1      speculation.
             2       so forth.                                                  2      A. They certainly may.
             3              MR. GANNAN: Objection. Vague.                       3   BY MR. WILLIAMS:
             4          A. Again, it's really about their                       4      Q. Have you ever heard them say that, any members
             5       self-identification, because the studies, by and large,    5   of that population?
             6       are -- are seeking -- part of the exclusion -- or the      6         MR. GANNAN: Objection. Vague.
             7       inclusion criteria is someone who is identified as gay,    7      A. I have.
             8       lesbian, bisexual. Those individuals are not,              8   BY MR. WILLIAMS:
             9       generally speaking, the ones with same-sex attractions,    9      Q. How would that impact any therapeutic
            10       found in conservative religious environments.             10   procedure that you as a clinical psychologist might
            11       BY MR. WILLIAMS:                                          11   provide to them, if at all?
            12          Q. What are those people called within that?           12         MR. GANNAN: Objection. Vague. Calls for
            13          A. Christians. They call themselves Christians.        13      speculation.
            14          Q. I see.                                              14      A. If that is the language the client uses, I
            15          A. And they have same-sex attraction. At least,        15   would acknowledge it. It's a reflection of their moral
            16       that's what -- how they would prioritize their            16   view and the life they aspire to live by.
            17       identity. It's a religious identity prioritization --     17         Does that answer your question? I'm sorry.
            18          Q. Got you.                                            18   BY MR. WILLIAMS:
            19          A. -- as opposed to a sexual orientation identity      19      Q. I thought you were going to say something
            20       prioritization.                                           20   more. If that's your answer, that's your answer.
            21          Q. And to some degree, it's a labeling, is it          21      A. Well -- what was the question?
            22       not?                                                      22         MR. WILLIAMS: Read the question back, if you
            23          A. It's an identity, self-labeling, yes.               23      would, please.
            24          Q. Yeah.                                               24      (The question was read back as follows:
            25          A. But it has --                                       25         "How would that impact any therapeutic


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                                                                 Page 77                                                        Page 79
             1          procedure that you as a clinical psychologist might     1          MR. GANNAN: Objection. Vague.
             2          provide to them, if at all?")                           2      A. My opinion is that it's an extremely complex
             3          A. Well, I would say that is one reason they may        3   subject, a lot left to be understood; that reports are
             4       come with a desire to perhaps explore in speech -- in a    4   that some people experience changes in their sexuality,
             5       speech-oriented therapy the fluidity of their sexual       5   not in significant number, some people do not.
             6       attraction and to see if they may be able to shift,        6   BY MR. WILLIAMS:
             7       experience some shifting towards their desired             7      Q. Do you agree with the following statement:
             8       attraction.                                                8   "Thus while same-sex attractions may not be experienced
             9       BY MR. WILLIAMS:                                           9   as chosen, it is reasonable to hold that they can be
            10          Q. What is the desire attraction?                      10   subject to conscious choices, such as those that might
            11          A. Well, it would probably be, for instance, if        11   be facilitated in SOCE, sexual orientation change
            12       they were married, they'd probably wish to have more      12   efforts"?
            13       heterosexual responsivity to their wife.                  13          Do you agree with that statement?
            14          Q. And so you used the term "fluidity" again.          14          MR. GANNAN: For the record, may I ask where
            15       You've used that several times. What do you mean by       15      that is being read from?
            16       "fluidity" in the context of our discussion here?         16          MR. WILLIAMS: From my work product notes.
            17          A. Just the research seems to suggest that the         17          MR. GANNAN: Okay.
            18       components of sexual orientation are fluid over time      18      A. With the caveat that what you're thinking
            19       for many individuals, not all, but for many. They         19   about in terms of SOCE may not be what I'm thinking, I
            20       change.                                                   20   would agree with that statement.
            21          Q. They're not static?                                 21   BY MR. WILLIAMS:
            22          A. They're not static, no, not all. There's --         22      Q. Would you also agree with the following
            23       you can't classify one size fits all, but for many        23   statement: "Same-Sex attractions and behaviors are not
            24       individuals they're not static. That's correct.           24   strictly or primarily determined by biology or genetics
            25          Q. They may change over time. Is that what you         25   and are naturalistically subject to significant change,

                                                                 Page 78                                                        Page 80
             1       are talking about?                                         1   particularly in youth and early adulthood"?
             2          A. Yes, particularly for youth and for young            2         MR. GANNAN: Objection. Compound. Vague.
             3       adults.                                                    3      Calls for speculation.
             4          Q. Youth being what?                                    4      A. For many people, yes.
             5          A. Under 18.                                            5   BY MR. WILLIAMS:
             6          Q. What would be the range under 18 that you            6      Q. What do you mean by "Naturalistically subject
             7       normally would see that fluidity?                          7   to significant change," then? If you agree with that
             8             MR. GANNAN: Objection. Vague.                        8   statement, what does that mean?
             9       BY MR. WILLIAMS:                                           9         MR. GANNAN: Objection. Vague. Calls for
            10          Q. Age range, I'm sorry.                               10      speculation.
            11          A. Well, I mean, the age range where that              11      A. My understanding of that is that it means it
            12       fluidity would show up?                                   12   can change in kind of dynamic interaction with the
            13          Q. Yes.                                                13   environment such as affectional, romantic
            14          A. Studies were done probably mid -- I'm trying        14   relationships. That's a big one. It may be subject to
            15       to think.                                                 15   other influences that would change. I mean, we don't
            16          Q. Sure.                                               16   know too much about it other than it does change. For
            17          A. Again, this is not --                               17   some people, again. I would never overgeneralize this.
            18          Q. Take your time.                                     18      Q. Well, does the phrase "naturalistically
            19          A. -- 100 percent certain, but studies looking at      19   subject to significant change" apply to heterosexual,
            20       certainly the mid-teen years to early adulthood.          20   opposite-sex attractions?
            21          Q. 14, 15 to --                                        21      A. Most natural --
            22          A. Could be 13, 14, 15, yeah. So a lot of              22         MR. GANNAN: Objection. Vague.
            23       shifting happens during those years.                      23      A. The studies suggest most naturalistic change
            24          Q. Was it your opinion, sir, that human sexuality      24   is occurring towards the heterosexual direction, when
            25       is inherently fluid?                                      25   they do these longitudinal studies. The heterosexual


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                                                                 Page 81                                                        Page 83
             1       orientation tends to be the most stable. The next -- I     1   BY MR. WILLIAMS:
             2       think the next stable are the -- are those who are gay     2      Q. All right. Let me change the question. I
             3       or lesbian who never had any kind of heterosexual or       3   think what you are saying -- correct me if I'm wrong --
             4       opposite-sex attractions, and then in the bisexual         4   that if somebody identifies themselves as gay or
             5       continuum often has a favor of fluidity.                   5   lesbian, they're really not all that interested of
             6          Q. So I'm thinking as you are talking. Does that        6   fluiditing back to where --
             7       mean there's more fluidity among people with same-sex      7      A. Exactly.
             8       attractions than among people that have opposite-sex       8          MR. GANNAN: Objection. Vague. Misstates
             9       attractions?                                               9      testimony. Go ahead.
            10              MR. GANNAN: Objection. Vague.                      10   BY MR. WILLIAMS:
            11          A. That's my reading of what that research is          11      Q. So to change the terminology of the labeling
            12       purporting.                                               12   here, Doctor, what if somebody doesn't identify
            13       BY MR. WILLIAMS:                                          13   themselves using the label "gay" or "lesbian," but
            14          Q. Well, I'm thinking of it logically. I'm             14   rather they -- to use your terminology and this is
            15       really trying to understand these series of questions.    15   where I'm trying to understand -- they identify
            16       In your experience, are there many people, human          16   themselves as Christian, albeit, with same-sex
            17       beings, who identify as gay or lesbian that are           17   attraction and so forth, homosexual.
            18       sufficiently fluid -- to use your term -- that they're    18      A. Got it.
            19       capable of developing an attraction for a member of the   19      Q. Now, do those people have enough fluidity, in
            20       opposite sex?                                             20   your opinion, to be capable of developing an attraction
            21              MR. GANNAN: Objection. Vague. Misstates            21   to the opposite sex?
            22          testimony.                                             22          MR. GANNAN: Objection. Vague. You can
            23       BY MR. WILLIAMS:                                          23      answer.
            24          Q. By themselves?                                      24      A. I think that's very broad. I think there are
            25          A. Are you talking about naturalistic?                 25   some. That's part of what professional psychology is,


                                                                 Page 82                                                        Page 84
             1         Q. Yes.                                                  1   is we assess this issue. Right. We don't just go in
             2         A. Can you repeat the question? That was a long          2   with an agenda. We assess. For instance, what level
             3      question.                                                   3   of fluidity this person may have experienced outside of
             4         Q. Okay. I'm learning as we're talking, and              4   therapy.
             5      these are questions that are being posed to me in my        5   BY MR. WILLIAMS:
             6      own brain. So let me see if I can repeat -- actually,       6      Q. Okay. That's a very good question. When you
             7      why don't you read it again, and let me see if I can        7   say "level of fluidity," how would you determine that?
             8      improve on it if you don't understand it when she           8   We're not talking about minors now. We're talking
             9      reads.                                                      9   about people over the age of 18. How would you assess
            10         (The question was read back as follow:                  10   the level of fluidity that an adult under the law has?
            11             "Well, I'm thinking of it logically. I'm            11   -- to just follow up on the answer you just provided to
            12         really trying to understand these series of             12   me.
            13         questions. In your experience, are there many           13          MR. GANNAN: Objection. Vague. Calls for a
            14         people, human beings, who identify as gay or            14      legal conclusion.
            15         lesbian that are sufficiently fluid -- to use your      15      A. It would be by self-report.
            16         term -- that they're capable of developing an           16   BY MR. WILLIAMS:
            17         attraction for a member of the opposite sex?")          17      Q. What do you mean?
            18             MR. GANNAN: And I renew my same objection.          18      A. I would ask them, for instance, you know, in
            19         A. Well, the reason I'm struggling with it is           19   experience, what percentage would you say, you know,
            20      because generally people who are, you know, identified     20   would you experience -- do you experience same-sex
            21      as gay or lesbian, that's their identity and they          21   attractions versus opposite-sex attractions, and they
            22      really don't have an interest, and that's their perfect    22   would give me a figure, and I take that into
            23      right, to pursue that identity. And so I'm not sure        23   consideration.
            24      that I can quite follow the question.                      24   BY MR. WILLIAMS:
            25                        ***                                      25      Q. That would give you some sense of the level of


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                                                                 Page 85                                                       Page 87
             1       fluidity?                                                 1   BY MR. WILLIAMS:
             2          A. Exactly.                                            2      Q. Could experience what in therapy?
             3          Q. And if it was -- I'm going to use some              3      A. The fluidity.
             4       hypotheticals here because I want to make sure I          4      Q. Define "fluidity" in the context of that
             5       understand this. Let's say the individual said, "Well,    5   answer.
             6       80 percent homosexual or same-sex attraction,             6      A. If they wanted to make shifts towards, let's
             7       20 percent opposite-sex attraction." How would your       7   say, opposite-sex attraction --
             8       therapeutic approach be different for that person as      8      Q. Yeah.
             9       opposed to the opposite, 20 percent homosexual,           9      A. -- or diminishing of the same-sex attraction.
            10       80 percent heterosexual?                                 10      Q. So a person who has 80 percent opposite-sex,
            11             MR. GANNAN: Objection. Vague. Incomplete           11   20 percent same-sex versus a person that's 20 percent
            12          hypothetical.                                         12   opposite-sex and 80 percent same-sex, that former
            13       BY MR. WILLIAMS:                                         13   person is probably a better candidate to shift back or
            14          Q. Those are the two levels of fluidity, if I         14   have fluidity back towards being totally heterosexual.
            15       follow your testimony.                                   15   Is that what you are saying?
            16          A. What were the percentages again?                   16          MR. GANNAN: Objection. Vague. Misstates the
            17          Q. One says 80 percent same-sex, 20 percent           17      testimony.
            18       opposite-sex; and the other is the converse, the         18      A. I don't talk about categorical change, which
            19       obverse, 80 percent heterosexual, 20 percent same-sex.   19   is, you know, the person usually, I think, if they're
            20          A. How would that affect?                             20   coming, they want to see if they're attractions are
            21          Q. Your approach to the therapeutic modality that     21   subject to some degree of fluidity. So becoming
            22       you use.                                                 22   completely opposite-sex attracted, you know, that's not
            23             MR. GANNAN: Objection. Vague.                      23   necessarily the goal. They can experience some
            24          A. I would think one thing it would do in terms       24   fluidity that is satisfying and meaningful for them,
            25       of the informed consent issue, I would probably say if
                                                                              25   then that's a benefit to them.

                                                                 Page 86                                                       Page 88
             1      you've had experience, you know, research may suggest      1   BY MR. WILLIAMS:
             2      that past experience of fluidity would be your ability     2      Q. I'm going to confess that I, in listening to
             3      to pursue that in therapy, might be more so than           3   your answers, I am gleaning that you are using the word
             4      someone who had less of that fluidity, so it would         4   "fluidity" with different nuances depending on the
             5      affect my assessment, in part, of the likelihood that      5   question that I'm asking you.
             6      this experience could experience it.                       6          Because if someone is already 80 percent
             7      BY MR. WILLIAMS:                                           7   heterosexual and only 20 percent homosexual, what I
             8         Q. Could experience what?                               8   have concluded from your answer is that that person is
             9         A. Could experience fluidity, say therapy               9   more likely to change over to pure heterosexual than
            10      assisted fluidity.                                        10   somebody who is 80 percent homosexual and 20 percent,
            11         Q. Okay. Now you're confusing me because I'm           11   you know, and that would have an impact on the
            12      looking at my hypothetical if somebody has 80 percent     12   therapeutic modality that you would use?
            13      opposite-sex attraction and 20 percent same-sex, what I   13          MR. GANNAN: Objection. Vague. Misstates
            14      understood you to say -- correct me if I'm wrong -- is    14      testimony.
            15      that human being, the level of fluidity is more likely    15   BY MR. WILLIAMS:
            16      to receive the benefit of SOCE, i.e., change it back to   16      Q. Does what I say make sense?
            17      heterosexual, than somebody who is the opposite,          17      A. There's a lot there. If same-sex attractions
            18      20 percent heterosexual and 80 percent homosexual. Did    18   are in question, I don't know if it would change -- so
            19      I get that correctly?                                     19   in my approach it would change, I think, things I want
            20             MR. GANNAN: Objection. Vague. Misstates            20   to tell the client to create realistic expectations and
            21         testimony.                                             21   not set the client up for disappointment. Right? And
            22         A. I think what I said is the more a person has        22   I make no promises about these things.
            23      experienced fluidity in the past, whatever that           23      Q. Sure. So, again, the 80/20, 80 being
            24      percentage, I think the greater the likelihood that       24   heterosexual, 20 being homosexual, probably you can
            25      they could experience that in a therapy context.          25   have more likely expectation of some success, if that's


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                                                                 Page 89                                                        Page 91
             1      what they want to do, to become totally heterosexual        1   open with your child, if at all possible, and --
             2      versus the converse. Is that a good way to put it?          2   because you don't know what's going to happen in the
             3             MR. GANNAN: Objection. Vague. Misstates              3   future. You don't know, and you don't want to alienate
             4         testimony.                                               4   your child, so that they -- so that even if they make
             5         A. It might be easier for that person to get to          5   choices that you disagree with theologically that you
             6      90 percent than the person with 20 to get to                6   cannot -- they cannot come back to you."
             7      90 percent.                                                 7          So that is what I would say to the parent of a
             8      BY MR. WILLIAMS:                                            8   child who is just not a candidate for, you know, the
             9         Q. Got you. Okay. Or even 100 percent; right?            9   goal of change of sexual attractions and behaviors.
            10         A. Potentially, but that's fairly rare.                 10          MR. WILLIAMS: Thank you. Read that answer
            11         Q. Really. Okay. Have you dealt with what we've         11      back. That was a long answer, and I appreciate it,
            12      been talking about with respect to minors in your          12      but you are a lot smarter than I am so I'm trying
            13      practice?                                                  13      to follow all of this.
            14         A. I have certainly had parents bring their             14      (The answer was read back.)
            15      minors in out of concern, so if that's what you mean,      15      A. Yeah. Not a candidate for any focus on that
            16      you know, yes.                                             16   issue. I can still meet with the adolescent and talk
            17         Q. And when that happens, are you charged with --       17   with them.
            18      you know, the other word for SOCE is conversion            18   BY MR. WILLIAMS:
            19      therapy -- of trying to convert their child back to        19      Q. I understand. That would be the same in
            20      heterosexual?                                              20   Tampa, too, wouldn't it, based on the ordinance, or do
            21             MR. GANNAN: Objection. Vague. Assumes facts         21   you know that?
            22         not in evidence and misstates testimony.
                                                                               22          MR. GANNAN: Objection. Calls for a legal
            23         A. My experience is that parents, these kind of
                                                                               23      conclusion. Vague.
            24      parents, they're not -- I've never had a parent say,
                                                                               24   BY MR. WILLIAMS:
            25      "Doc, would you change my child to heterosexual."
                                                                               25      Q. If you don't feel qualified to answer the


                                                                 Page 90                                                        Page 92
             1       They're concerned with their child. Sometimes just         1   question, that's fine, Doctor.
             2       with the behavioral aspects. If the child has been         2       A. I don't know. I don't like the fact that
             3       sexually active, they want information. Right. And,        3   it's -- it's -- even in California, it's not clear what
             4       of course, now in California I have to -- in my            4   speech constitutes conduct and what speech is subject
             5       informed consent, I have to say, "I cannot speak to        5   to normal speech protections.
             6       your child in a way that may be construed as               6       Q. We'll get to that in this case, I think.
             7       encouraging any kind of change." I can educate still.      7   Okay.
             8       I can talk about the science. I can certainly ask          8       A. Yeah.
             9       questions of a minor, which I would, but in my             9       Q. But you made the statement make choices
            10       experience the vast majority of these cases, what I end   10   theologically that they don't agree with, the parents
            11       up doing is saying the child is just not a candidate      11   don't agree with. Does that mean the population that
            12       for therapy. I have to make that assessment. That's       12   you are talking about is children from parents who are
            13       my job to make that assessment.                           13   conservative religious?
            14          Q. The child is not a candidate for therapy for        14       A. That would be by and large. I mean, that
            15       what reason?                                              15   would be the overwhelming number, yes.
            16          A. Not a candidate for change.                         16       Q. Okay. So you are basically telling the
            17          Q. Not a candidate for change.                         17   parents that your child is not a real candidate for
            18          A. For therapy. Correct. And that's my job as a        18   change if that's what the parent is looking for; is
            19       professional. Not the state, but that's what I'm          19   that right?
            20       trained for. I make that assessment. And when I           20           MR. GANNAN: Objection. Vague. Misstates
            21       decide or assess that this child is not a candidate for   21       testimony.
            22       therapy in that regard, then I would typically meet       22   BY MR. WILLIAMS:
            23       with the parents and I will educate them and tell them,   23       Q. Is that right?
            24       "You have a precious child. You need to love your         24       A. Not only is it illegal now in California, I
            25       child. You need to keep the lines of communication        25   would say the same thing prior to the law, that, you


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                                                                Page 93                                                       Page 95
             1      know, therapy, even a minor requires a volitional          1   entitled, "Countering a One-Sided Representation of
             2      choice. Right. If it's -- and this is one of the           2   Science: NARTH Provides the 'Rest of the Story' for
             3      egregious aspects of the way it's portrayed.               3   Legal Efforts to Challenge Antisexual Orientation
             4             Coercive -- any coercive element in a therapy       4   Change Efforts (SOCE) Legislation."
             5      automatically eliminates it in my mind as being a          5          Is that a true statement?
             6      therapy. So coercion is not a part of what I would do.     6      A. Yes.
             7         Q. So there is parental coercion that is                7      (A discussion was held off the record.)
             8      antithetical to a legitimate therapeutic medium; is        8   BY MR. WILLIAMS:
             9      that correct?                                              9      Q. Why did you write that article, sir?
            10             MR. GANNAN: Objection. Vague. Misstates            10      A. That, if I'm thinking correctly about this,
            11         testimony.                                             11   because I've written quite a few things, it may have
            12         A. It's not like the parent is taking the child        12   been adapted from my earlier declaration in the Pickup
            13      to some kind of conversion therapy. The parent is         13   trial.
            14      concerned. They may not be thinking much of anything,     14      Q. Your earlier declaration?
            15      other than they're distressed, their child is             15      A. I have to see it to remind myself the context.
            16      distressed. So part of my task is to help the parents     16      Q. See the article?
            17      decrease their distress, as well as, you know, if I'm     17      A. See the article, yes.
            18      allowed, understand and give that child some help in      18          MR. WILLIAMS: Let's just take a -- not a
            19      terms of reducing his or her distress.                    19      break, but a pause.
            20      BY MR. WILLIAMS:                                          20          The date of your declaration in the California
            21         Q. What if the child is a candidate, in your           21      case, the Pickup case out there was November 16,
            22      opinion? What do you do then?                             22      2012. If that helps.
            23             MR. GANNAN: Objection. Vague.
                                                                              23          MR. GANNAN: That's Exhibit 1 you are
            24      BY MR. WILLIAMS:
                                                                              24      referring to?
            25         Q. Assume that the law in California doesn't
                                                                              25          MR. WILLIAMS: Yes.


                                                                Page 94                                                       Page 96
             1      exist.                                                     1      (A discussion was held off the record.)
             2         A. It would probably be the same thing as I would       2      (Exhibit No. 2 was marked for identification.)
             3      do with an adult. And, usually, you know, this not         3   BY MR. WILLIAMS:
             4      going to happen with a 13-year-old. This is more like      4      Q. I have had marked as Exhibit 2 to your
             5      a 16- or 17-year-old. The first thing I would do, and      5   deposition here a copy of the article that I was
             6      my training calls for, making a thorough assessment of     6   alluding to earlier.
             7      the client history, one feature which may be their         7      (A discussion was held off the record.)
             8      experience of fluidity. But I also really want to          8   BY MR. WILLIAMS:
             9      understand how they see.                                   9      Q. So it's a copy of the article that I read into
            10             This is what I tell parents, "I want to            10   the record prior to our pause, just so the record is
            11      understand your child through your child's eyes," so I    11   clear, and the name of the article or the title of the
            12      want to do all that empathic understanding of how the     12   article is "Countering a One-Sided Representation of
            13      child sees their situation.                               13   Science: NARTH Provides the 'Rest of the story' for
            14             I want to ask the child, "How do you see your      14   Legal Efforts to Challenge Antisexual Orientation
            15      same-sex attraction? What do you think -- what is your    15   Change Efforts (SOCE) legislation."
            16      understanding of where they come from? How do you feel    16         And the date of this article, according to
            17      about them? What do you believe? What are your values     17   what I'm about to give you is July 26, 2013. So let me
            18      around that?" All right.                                  18   hand you this copy. That is Exhibit 2 that I just
            19             So I would elicit all this information to get      19   handed to you. It's a copy of the article that --
            20      a sense of, is this -- you know, is this child, is this   20         MR. GANNAN: And just for the record, I think
            21      person, you know, freely consenting to this, and are      21      Exhibit 2 is the entire edition of the Journal of
            22      they a candidate? And this -- I want to make sure it's    22      Human Sexuality that contains that article, if I'm
            23      clear -- this is not some exotic therapy.                 23      not mistaken.
            24         Q. Okay. Doctor, in 2013, if my homework is            24         MR. WILLIAMS: Probably so.
            25      correct, you wrote an article in human sexuality          25         MS. ROBBINS: Yes.


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                                                                 Page 97                                                         Page 99
             1       BY MR. WILLIAMS:                                           1   Thus, while same-sex attractions may not be experienced
             2          Q. My focus is on your article. I want to make          2   as chosen, it is reasonable to hold that they can be
             3       sure --                                                    3   subject to conscious choices, such as those that might
             4          A. I got it.                                            4   be facilitated in SOCE. Same-sex attractions and
             5          Q. You said you had to look at it, and I want to        5   behaviors are not strictly or primarily determined by
             6       make sure that I've done my job to assist you in           6   biology or genetics and are naturalistically subject to
             7       identifying the article that I asked you about.            7   significant change, particularly in youth and early
             8          A. Oh, it's going this way.                             8   adulthood. This should raise serious questions about
             9             MR. GANNAN: You can unclip it if it's easier.        9   the legitimacy of SB 1172's and AB 3371's portrayal of
            10          A. I just needed to look at...                         10   same-sex attractions and behaviors as static traits to
            11             So, yes, this is partially based on my              11   be embraced only by those minors who might otherwise
            12       declaration of the California case.                       12   pursue SOCE."
            13       BY MR. WILLIAMS:                                          13          Did I read that paragraph correctly?
            14          Q. Well, the question is, is Exhibit 2, does it        14      A. Yes.
            15       contain the full article which you wrote and I            15      Q. Let's start at the beginning. You use the
            16       identified on the record? Take your time to look          16   term "causatively." Please tell me what you mean by
            17       through it to make sure you can answer my question        17   that term in the context of the sentence in which you
            18       accurately.                                               18   use it.
            19          A. I guess I will agree to that.                       19      A. It has an influence in giving rise to.
            20          Q. I'm sorry?                                          20      Q. Let me go to the last part of that sentence
            21          A. I guess, yes.                                       21   which says, "that is thoroughly immutable." I think I
            22          Q. You guess yes or --                                 22   understand what the word "immutable" means, but I want
            23          A. Yes, as far as I can tell, under these              23   to make sure it's the same as your understanding. Why
            24       circumstances.                                            24   did you use the word "immutable"?
            25          Q. Sure. Would you turn to page 143 of your            25          What do you mean by that in that context?

                                                                 Page 98                                                       Page 100
             1       article, please. Just let me know when you're there.       1       A. Not subject to change without exception.
             2          A. Okay.                                                2       Q. So what you're saying there, if I understand
             3          Q. All right. In the bottom part of page 143            3   it, is that a person's race is immutable. You're
             4       there's a roman numeral III. Do you see that down          4   either Caucasian or not Caucasian; you're either Asian,
             5       there that's bolded, the subtopic; correct?                5   or you're not Asian. Am I correct? It's an objective
             6          A. Uh-huh. Okay.                                        6   characteristic?
             7          Q. You have to say "yes" or "no."                       7       A. Repeat that, please.
             8          A. Yes.                                                 8       Q. By using the term "thoroughly immutable" after
             9          Q. All right. Right above that there is a               9   the reference to race or biological sex -- I'll use
            10       paragraph, and I'm going to read that into the record,    10   biological sense -- you are either a male, or you're
            11       but before I do that, I would like you to take the        11   not a male biologically; is that correct?
            12       time, at your pace, to read that paragraph that starts    12       A. I believe so, yes.
            13       with the word "causatively." And the reason I'm asking    13       Q. And that's what you mean there?
            14       this question is I'm going to tell you, is because you    14       A. Yes.
            15       used that word or some derivation of it in your last      15       Q. All right. And you are saying that
            16       answer, and it triggered my memory of this particular     16   causatively sexual orientation is by no means
            17       part of your article.                                     17   comparable to that, i.e., an immutable characteristic
            18          A. Yes.                                                18   of someone's being. Am I correct?
            19          Q. Have you read it?                                   19       A. In the sense that it is subject to some degree
            20          A. Yes.                                                20   of change and fluidity, yes.
            21          Q. I'm going to read it into the record. Follow        21       Q. "It" being what?
            22       me carefully, make sure I don't misspeak.                 22       A. The components of sexual orientation.
            23              "Causatively, then, sexual orientation is by       23       Q. Whereas my biological sex is not really
            24       no means comparable to a characteristic -- such as race   24   subject to change, sexual orientation is. Is that what
            25       or biological sex -- that is thoroughly immutable.        25   you are saying?


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                                                               Page 101                                                       Page 103
             1             MR. GANNAN: Objection. Vague. Misstates              1   use "sexual attraction fluidity exploration" in
             2          testimony.                                              2   therapy, if I use that term, my manuscript would be
             3          A. I either have X and Y chromosome or XX               3   kicked out in a nanosecond.
             4       chromosome or I don't. In that sense, biological sex       4          So it's the -- there's a hegemony with regards
             5       is immutable.                                              5   to the language, and so if I'm going to have anything
             6       BY MR. WILLIAMS:                                           6   published, it's going to have to work with that
             7          Q. Yes. But sexual orientation is not. Is that          7   language, but I personally have a distaste -- and
             8       what you're saying?                                        8   understand that this language was developed by people
             9             MR. GANNAN: Objection. Vague.                        9   who aren't sympathetic to these goals.
            10       BY MR. WILLIAMS:                                          10      Q. Aren't sympathetic to what goals?
            11          Q. In that sentence?                                   11      A. The goals of a client who wished to pursue the
            12          A. The components of sexual orientation are --         12   fluidity in their same-sex attractions.
            13       can be subject to change. That's people's experience.     13      Q. Fluidity in their same-sex attractions being
            14          Q. Okay. Isn't that the objective of SOCE?             14   changing their same-sex attraction; right?
            15             MR. GANNAN: Objection. Vague.                       15          MR. GANNAN: Objection. Vague. Misstates
            16       BY MR. WILLIAMS:                                          16      testimony.
            17          Q. To cause change?                                    17      A. See, this is where language is so poor.
            18          A. I think a better way of putting it, at least        18   BY MR. WILLIAMS:
            19       in terms of how I would describe it, is by using          19      Q. It's critical, sir.
            20       mainstream techniques we will see -- and based on the     20      A. But I would say experiencing shifts,
            21       client's own understanding of their sexual attractions    21   experiencing movement, experiencing change. If you
            22       and their history, it would be to see whether a change    22   want to define that as change, that's fine. SOCE, in
            23       emerges in the process of therapy.                        23   my mind, implies orientation change, and that's not
            24          Q. But change is an integral part of SOCE, is it       24   something I promise. And that's not something that
            25       not?                                                      25   happens frequently. We're talking about change on a


                                                               Page 102                                                       Page 104
             1              MR. GANNAN: Objection. Vague.                       1   continuum of change.
             2          A. Again, in professional counseling, looking at        2      Q. Well, SOCE stands for sexual orientation
             3       exploring fluidity with a client is only going to          3   change efforts. The "E" is for "efforts," is it not?
             4       happen, and it's only through talk, and it's only going    4      A. That's what it stands for.
             5       to happen if that is what the client requests.             5      Q. Yeah. Effort doesn't necessarily mean you are
             6       BY MR. WILLIAMS:                                           6   going to succeed in changing back to being
             7          Q. That's a practical answer. My question is            7   heterosexual. It just means you are going to make that
             8       really the acronym SOCE, sexual orientation change         8   effort. Am I right?
             9       efforts, the word "change" is there for a reason,          9      A. Whose effort are we talking about?
            10       because the efforts are to effectuate change, if you      10      Q. Pardon?
            11       are providing SOCE to the client at the client's          11      A. I'm sorry. Whose -- what's your
            12       request?                                                  12   understanding -- whose effort is this?
            13              MR. GANNAN: Objection. Vague. Asked and            13      Q. Whoever is utilizing SOCE in therapy?
            14          answered.                                              14      A. Okay. So it's the client's effort, right.
            15       BY MR. WILLIAMS:                                          15   Okay. So I would help facilitate that if it's the
            16          Q. Is that a correct statement, sir?                   16   client's effort. And facilitate, again, seeing if it
            17          A. Not exact, no. I do not use the term "SOCE"         17   will emerge by working on -- working with sorts of
            18       in my practice.                                           18   against standard therapeutic practices.
            19          Q. Well, you used it in your article.                  19      Q. Well, I think what you told me was that you
            20          A. I know because that's the standard language         20   wouldn't even engage in it unless the client wanted to
            21       that I have to use --                                     21   pursue that effort?
            22          Q. Why?                                                22      A. Absolutely. Freely chosen.
            23          A. -- in these circles. For instance, I write an       23      Q. And obviously in any clinical or therapeutic
            24       article, if I don't use SOCE and I try to submit it to    24   situation, the client/patient has to contribute to the
            25       APA journal, if I use what the Alliance would prefer to   25   overall objective, do they not?


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             1          A. Has to be completely client centered.                1   actually are attracted to that male in an erotic
             2          Q. Sure. I mean, that's --                              2   fashion, or at least that potential would develop. So
             3          A. That's psychotherapy 101.                            3   they would be making choices not directly to change,
             4          Q. It's life 101, sir.                                  4   but in the context of making choices to partner with a
             5             And that's where the "E" comes in. The client        5   man that they may experience that kind of fluidity.
             6       has to embrace the effort part of the SOCE, does she       6      Q. A young woman may discover that she has
             7       not?                                                       7   same-sex attractions, and then at some other time may
             8             MR. GANNAN: Objection. Vague. And                    8   think to herself, "Well, Charlie over there, I like
             9          objection. Calls for a legal conclusion.                9   him," and she may make a conscious choice to experience
            10          A. That would have to be a freely chosen,              10   that kind of sexual --
            11       self-determined goal of the client.                       11      A. Not exactly like --
            12       BY MR. WILLIAMS:                                          12         MR. GANNAN: Objection. Vague.
            13          Q. Now, let me go to the next sentence. You say,       13      A. Not exactly like that, no. She may choose, if
            14       "Thus, while same-sex attractions may not be              14   she wishes to be with him, for other reasons, and in
            15       experienced as chosen" -- take that first clause. What    15   the course of emotional intimacy, over time, that she
            16       does that mean? Elaborate on that, "experienced as        16   may find her attraction for him sexually emerge out of
            17       chosen"?                                                  17   that. She's not making the change like that.
            18          A. For the most part, a strong majority of             18   BY MR. WILLIAMS:
            19       individuals experiencing the same-sex attractions, they   19      Q. And her sexual attractions for other women
            20       sort of discover it rather than make a choice, say,       20   would then be diminished. Is that --
            21       "Okay. I'm going to be a gay adolescent today." They      21      A. That's -- I assume that is theoretically
            22       may label that later, but it's a discovery.               22   possible, but at that point, it would not be relevant
            23          Q. Okay.                                               23   for her. And it's...
            24          A. That's how they would describe it.                  24      Q. And then you go on to say, "such as those that
            25          Q. Thank you. I think I understand that.               25   might be facilitated," which I take to mean a fancy

                                                                Page 106                                                       Page 108
             1              And you say, "Such as those that might be           1   word for making easier, smoother or so forth, "by
             2       facilitated" -- excuse me. Let me read the whole           2   SOCE."
             3       thing.                                                     3         Did I read that correctly?
             4              "Thus, while same-sex attractions may not be        4      A. Yes.
             5       experienced as chosen," -- you just clarified that         5      Q. And SOCE, I recognize that you are forced to
             6       clause -- "it is reasonable to hold that they can be       6   use that term?
             7       subject to conscious choices, such as those that might     7      A. Exactly.
             8       be facilitated in SOCE."                                   8      Q. But it does mean sexual orientation change
             9              Okay. All right let's take that second              9   efforts. To somebody like me, who is not a member of
            10       clause, "subject to conscious choices." What do you       10   the APA, that's the way I read it, and the "change
            11       mean by that?                                             11   efforts" would result in conscious choices, would they
            12          A. I'm just thinking for a second.                     12   not?
            13          Q. Please take your time.                              13         MR. GANNAN: Objection. Vague.
            14          A. I think it suggests that there are choices a        14   BY MR. WILLIAMS:
            15       client can make that may indirectly impact their          15      Q. If they're successful. That would be the
            16       experience of same-sex attraction but are not directly    16   goal, at least, would it not?
            17       related -- they're not choices, like to chose their       17         MR. GANNAN: Objection. Vague.
            18       experience of having same-sex attraction, but choices     18      A. I'm not sure I follow your question.
            19       they might make.                                          19   BY MR. WILLIAMS:
            20              I mean, I guess one example would be a woman       20      Q. All right. Let me see if I can rephrase it.
            21       may choose to, because of romantic attraction or          21   Let me read the whole sentence, and then we'll break it
            22       romantic interest on emotional attraction to a male,      22   down just a bit.
            23       they may choose to be in a relationship and have a        23         "Thus, while same-sex attractions may not be
            24       relation with that male, and through that, they may       24   experienced as chosen" -- we went through that, not
            25       experience shifts in their attractions, so that they      25   chosen, discovered -- "it is reasonable to hold that


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                                                               Page 109                                                        Page 111
             1      they can be subject to conscious change" -- in other        1   on the distress of the client. And if the client, for
             2      words, I make a decision to change, just like I might       2   instance, feels, let's say, that they believe that
             3      make a decision to stop smoking or start smoking.           3   trauma, childhood trauma influenced their sexual
             4      That's a conscious choice -- "such as those that might      4   attractions, then using speech and only speech we would
             5      be facilitated in SOCE."                                    5   address the trauma, and if they believe that the trauma
             6             So I'm reading that to mean that a sexual            6   might be connected to the -- have some influence on the
             7      orientation change effort as part of a therapeutic          7   development of same-sex attraction, so we would work on
             8      venue would make it easier for that person to make a        8   the trauma, and they may find, if they do, no
             9      conscious choice to be more heterosexual than less          9   guarantees, that in addressing the trauma, their
            10      heterosexual?                                              10   fluidity increases.
            11             MR. GANNAN: Objection. Vague. Misstates             11          So in that sense they're working on related
            12         testimony.                                              12   issues, but not necessarily straight head on the
            13      BY MR. WILLIAMS:                                           13   attractions, but they may find that the attractions do
            14         Q. Did I -- is that --                                  14   shift in relationship to the work of, like, trauma
            15         A. No, you are incorrect.                               15   work.
            16         Q. Tell me how I'm incorrect.                           16      Q. Fluidity and shifting being second cousins, so
            17         A. Back to this "conscious choice" piece, the           17   to speak; right?
            18      woman who chooses that she wants to have a relationship    18      A. Okay.
            19      with a man after -- you know, maybe she's had same-sex     19      Q. Is that a good way to put it?
            20      attractions and may be in a relationship with a woman,     20          MR. GANNAN: Objection. Vague.
            21      she's choosing at that point to follow -- maybe she        21   BY MR. WILLIAMS:
            22      likes the companionship, she has an emotional intimacy     22      Q. Strict language. Can't shift without some
            23      with him that she hasn't experienced with a man before,    23   fluidity, can you?
            24      and so she chooses to relate to him, to grow in that       24      A. I'll just leave it at fluidity. I mean --
            25      relationship depth emotionally.                            25      Q. Well, let me ask you this question, then. I

                                                               Page 110                                                        Page 112
             1              She's not choosing not to have same-sex             1   don't want to interrupt. Did you finish?
             2       attractions at that point, but what she will choose is     2       A. Go ahead.
             3       her relationship with him. And over the course of          3       Q. If SOCE is irrelevant, why didn't you just say
             4       time -- and this would be an example of naturalistic       4   "such as those that might result from a naturalistic
             5       change -- over the course of time, she may find that       5   change"?
             6       her sexual responsivity to him grows, but it's not like    6           MR. GANNAN: Objection. Vague.
             7       she's choosing, "Okay. I'm going to respond now."          7   BY MR. WILLIAMS:
             8          Q. I get that. I understand what you just said.         8       Q. In that sense as opposed to invoking
             9          A. That's what I mean. It's not like choosing.          9   facilitation by SOCE?
            10          Q. The naturalistic part I certainly understand.       10       A. Again -- and this gets down to my view of
            11       I'm glad you said it, because I don't read the last       11   it -- the difference is the client has come and has a
            12       clause of that sentence, "such as those that might be     12   goal of therapy. They have self-determined a goal. I
            13       facilitated in SOCE" as being naturalistic. I read        13   would like to see what level of fluidity or -- you
            14       that to mean that, if this person goes through SOCE,      14   know, change my sexual attractions may have, you know.
            15       that process will facilitate, make easier, her ability    15           So that, in my definition, is the distinctive
            16       to choose, a conscious choice, to become more             16   part about what SOCE is, is that I'm following the
            17       heterosexual rather than naturalistically head in that    17   client's goal.
            18       direction. That's the way I read the sentence. You        18           If I understand these laws correctly, I have
            19       can convince me that I'm wrong, because I can't read it   19   to say to that client, if the law is placed, "I cannot
            20       any other way, Doctor.                                    20   help you with this. I cannot serve this goal of yours
            21              MR. GANNAN: Objection. Vague. Misstates            21   through speech." I can't do that.
            22          testimony. And asked and answered.                     22       Q. You can talk about it under the California
            23          A. It's hard to answer without -- I can give you       23   law, can't you?
            24       an example, but I don't know if that's called for here.   24       A. I can't -- not in a way -- that's the danger.
            25       Again, it's -- the approach is to work on -- first work   25   I can't talk about it in a way that can be construed as


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             1       change, whatever that means.                              1   would be the effort, for example.
             2          Q. As facilitating a conscious choice in one           2   BY MR. WILLIAMS:
             3       direction. Is that what you're saying?                    3      Q. So I go back to my question: Why did you put
             4             MR. GANNAN: Objection. Vague. Calls for a           4   the phrase "such as those that might be facilitated in
             5          legal conclusion.                                      5   SOCE"? Why didn't you just say "such as those that
             6          A. It is vague. I don't know what constitutes          6   might be facilitated by the natural evolution of
             7       speech that becomes conduct and is -- could be            7   getting in touch with your feelings" or something like
             8       considered the attempt to change by virtue of things      8   that?
             9       I'm saying.                                               9          MR. GANNAN: Objection. Asked and answered.
            10       BY MR. WILLIAMS:                                         10      And I'm getting the sense you are just asking the
            11          Q. Change efforts require the client to embrace       11      same question over and over.
            12       the notion that, if change is going to take place, she   12          MR. WILLIAMS: This is the last time I'm going
            13       or he is going to have to --                             13      to ask it, so...
            14          A. I'm sorry.                                         14      A. I apologize that the language I'm forced to
            15             MR. MIHET: Let him finish his question,            15   use is not very helpful in this. But, again, my
            16          please.                                               16   distinction is so the issue is the client has a
            17          A. Sorry.                                             17   self-determined goal to pursue their fluidity as part
            18       BY MR. WILLIAMS:                                         18   of the therapeutic experience in order to see what may
            19          Q. And --                                             19   be possible and what may come about, what may emerge
            20             MR. MIHET: Rob, are you asking or testifying?      20   through the use of standard psychotherapeutic
            21             MR. WILLIAMS: I'm thinking right now. I'm          21   techniques.
            22          asking a leading question. I can do that because      22   BY MR. WILLIAMS:
            23          he's your expert. But it's more of an inquiry.        23      Q. Well, the reason I've kind of focused on this,
            24             Read back the first part of my question.           24   Doctor, is --
            25          (The question was read back as follows: "Change       25      A. I see.

                                                               Page 114                                                       Page 116
             1          efforts require the client to embrace the notion       1      Q. -- is raised by the next sentence, which
             2          that, if change is going to take place, she or he      2   says -- and I'm going to read it word for word.
             3          is going to have to --")                               3   "Same-sex attractions and behaviors are not strictly or
             4       BY MR. WILLIAMS:                                          4   primarily determined by biology or genetics and are
             5          Q. The rest of that question, she or he is going       5   naturalistically subject to significant change,
             6       to have to be cognizant of his or her own                 6   particularly in youth and early adulthood."
             7       self-determination in that sense. If you don't exert      7         So I go back to the last clause of your
             8       efforts, Mr. and Mrs. Client, then no change is going     8   earlier sentence, "such as might be facilitated in
             9       to take place. Is that a fair way of saying that?         9   SOCE." Well, given what you said in the next sentence,
            10              MR. GANNAN: Objection. Vague. Asked and           10   that are "naturalistically subject to significant
            11          answered. Compound. Misstates testimony.              11   change," why does SOCE have anything to do with it?
            12          A. The client has to be involved in the process       12         Why wouldn't you put "naturalistically such as
            13       for it to be therapy.                                    13   those are facilitated by naturalistic efforts which can
            14       BY MR. WILLIAMS:                                         14   lead to significant change." Why wouldn't you say it
            15          Q. The client has to be involved in making an         15   that way?
            16       effort to make any change that the client is looking     16         MR. GANNAN: Objection. Vague.
            17       for, does he or she not, also; right? If they're         17      A. I'm sure that naturalistic efforts are
            18       looking for change, they have to be a part of that       18   happening frequently outside of therapists' office.
            19       change process. That is where the word "effort" comes    19   However, these are individuals who are coming to their
            20       from; right?                                             20   therapist because apparently those naturalistic
            21              MR. GANNAN: Objection. Vague. Asked and           21   elements have not sufficiently, anyway, addressed their
            22          answered.                                             22   goals; otherwise, they wouldn't come to therapy.
            23          A. Effort in that context may be the effort to        23   BY MR. WILLIAMS:
            24       address the trauma and to see whether it affects any     24      Q. You finally couple the first part of that
            25       fluidity experience on the part of the client. That      25   paragraph that we've gone over with the sentence, "This


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             1       should raise serious questions about the legitimacy"      1      for lunch.
             2       of, I guess, the two pending statutes in California.      2      (A brief recess was taken.)
             3       Is that what they were called?                            3   BY MR. WILLIAMS:
             4          A. Well, the one was AB 3371 was the New Jersey.       4      Q. Dr. Rosik, do you have your declaration handy?
             5          Q. Oh, okay. So SB was California, and AB was          5   If not, I can give you a copy.
             6       New Jersey?                                               6      A. I do not have mine. I just have what you gave
             7          A. That's correct. And they were very similar.         7   me here.
             8          Q. And AB New Jersey is the King case, is it not?      8      Q. All right. I'm going to mark --
             9          A. Correct.                                            9      A. Maybe it is. This is --
            10          Q. Were you an expert in that case?                   10      Q. That's different. I'll have this marked as
            11          A. No.                                                11   Exhibit 3, which is a copy of your declaration in this
            12          Q. How are you familiar with that, sir?               12   case.
            13          A. I was asked to, I guess -- again, I said this      13         MR. WILLIAMS: I will give you a copy.
            14       earlier, and I'm not sure the terminology -- but I       14      (Exhibit No. 3 was marked for identification.)
            15       submitted some kind of declaration on behalf of the      15   BY MR. WILLIAMS:
            16       plaintiffs in the case.                                  16      Q. All right. Let the record reflect that the
            17          Q. So --                                              17   court reporter has marked as Exhibit 3 the declaration
            18          A. But I did not come and do a deposition or          18   of Christopher Rosik, Ph.D., dated May 6th, 2019.
            19       anything like that.                                      19   Would you turn to page 25 of Exhibit 3, Doctor, and
            20          Q. No, I understand that.                             20   just confirm that is your signature.
            21          A. Okay.                                              21      A. Yes.
            22          Q. But you did prepare and file a declaration on      22      Q. And would you peruse your declaration and just
            23       behalf of the plaintiffs in the New Jersey case?         23   confirm for the record that it appears to be what I
            24          A. That's correct.                                    24   have represented it to be, and that is an authentic
            25              MR. MIHET: Objection.                             25   copy of your declaration?


                                                               Page 118                                                     Page 120
             1       BY MR. WILLIAMS:                                          1      A. It appears to be.
             2         Q. At whose request?                                    2      Q. Turn to page 23. Actually -- well, we can
             3         A. I'm sure it would've been Liberty Counsel.           3   start at 23. Actually, start at 24, please. I direct
             4         Q. Mr. Gannam or Mr. Mihet?                             4   your attention to paragraph 77 on page 24 of your
             5         A. No. No.                                              5   declaration.
             6         Q. The other guy, Schmidt?                              6      A. 77?
             7         A. I don't know for sure who was handling that          7      Q. Paragraph 77 on page 24 of your declaration.
             8       case.                                                     8          MR. MIHET: That's not 24.
             9         Q. Just a lawyer with Liberty Counsel?                  9          MR. WILLIAMS: It is in mine.
            10         A. Yes.                                                10          MR. MIHET: It only goes to 75 in the copy you
            11         Q. Do you know where that lawyer was located           11      gave me.
            12       geographically?                                          12          MR. WILLIAMS: You are absolutely right. My
            13         A. No. I'm sorry.                                      13      apologies, Doctor. I'll have marked as Exhibit 4
            14         Q. It wasn't Mr. Schmidt; correct?                     14      your rebuttal.
            15         A. I don't know for sure.                              15      (Exhibit No. 4 was marked for identification.)
            16         Q. You can't remember. Okay.                           16   BY MR. WILLIAMS:
            17         A. I just really don't know.                           17      Q. And would you turn to page 27 of your rebuttal
            18         Q. All right. So your declaration in the               18   declaration and confirm that that is your signature
            19       California case and your declaration in the New Jersey   19   there as well?
            20       case were both result of requests by lawyers from        20      A. Yes.
            21       Liberty Counsel; correct?                                21      Q. Dated July 17th, correct, of 2019?
            22         A. I believe so.                                       22      A. Yes.
            23         Q. And the same is true in this case; right?           23      Q. Now, turn to page 24 of your rebuttal
            24         A. Yes.                                                24   declaration, and you should see paragraph 77. Do you
            25             MR. WILLIAMS: All right. Why don't we break        25   see that, sir?


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             1          A. Uh-huh, yes.                                         1   use the term "conservative prospectus," do you not?
             2          Q. Read the first sentence of paragraph 77 to           2      A. Which paragraph? I'm sorry.
             3       yourself, if you would, please.                            3      Q. 56, at the top of 19.
             4          A. Okay.                                                4      A. Yes, although that is the language of authors,
             5          Q. In the first sentence of paragraph 77 on             5   but I would tend to concur.
             6       page 24 of your rebuttal declaration, you use the          6      Q. All right. And then we've already gone
             7       phrase "ideologically left-of-center dominance of          7   through the "ideologically left-of-center dominance."
             8       professional mental health association leadership and      8      A. I should add that that -- yeah, that's
             9       the community of academic psychology."                     9   self-identified conservatives and -- liberal,
            10             Did I read that correctly?                          10   progressive -- yeah, so it would be
            11          A. Yes.                                                11   self-identification, yes.
            12          Q. First, what do mean by "ideologically               12      Q. A person who identifies as a conservative
            13       left-of-center dominance"?                                13   person politically. Is that what you are referring to?
            14          A. It has multiple layers of meaning.                  14      A. I think that would be included in there, yes.
            15          Q. I'd like all of them.                               15      Q. What does "conservative" mean in today's
            16          A. One would be political.                             16   medium? Do you know?
            17          Q. Political in what sense?                            17      A. I will give you my understanding of it. I
            18          A. I guess, party affiliation, which is somewhat       18   have for a long time had very much of an interest in
            19       of a proxy for other things, values.                      19   the moral dimension. And the authors here,
            20          Q. What do you mean "party affiliation"?               20   particularly the one Jonathan Haidt, H-A-I-D-T, is a
            21          A. Republican, democrat, independent,                  21   psychologist, social psychologist now at New York
            22       libertarian.                                              22   University.
            23          Q. Okay. Let's go one by one. Of the ones that         23         He has done a lot of work in what he calls
            24       you -- of the party affiliations that you just            24   moral foundations theory. I don't know if I talk about
            25       identified, which are the ones that are left of center?   25   it here, but basically a lot of interesting research


                                                                 Page 122                                                      Page 124
             1          A. Obviously, there's variation, but overall, I         1   that suggests that those who -- he's identified through
             2       would say the democrat party is left of center, leans      2   evolutionary and a cross-cultural analysis what he
             3       left of center.                                            3   describes as six different moral foundations, which
             4          Q. And the republicans are?                             4   are -- foundations are like taste buds is the example
             5          A. They would probably lean right of center.            5   he gives.
             6          Q. What is center?                                      6          So people have these six pretty universal
             7          A. With variation.                                      7   moral foundation. And left-of-center folks would --
             8          Q. What is center?                                      8   self-identified, I should say, have a different profile
             9          A. Well, in terms of policy, I mean, it's things        9   on these moral foundations than those who would be
            10       like the role of government. And, of course, when you     10   conservative. Essentially --
            11       are talking about APA comes in, it would be more on       11      Q. Right of center?
            12       social policy matters.                                    12      A. Right. Right of center, right.
            13          Q. So is your belief that -- let me correlate it       13      Q. So you identify conservative with the right of
            14       back...                                                   14   center, and left of center, you consider them liberal?
            15              To turn back to page 19. Take a look at the        15      A. Left center would probably be liberal
            16       last sentence of paragraph 56, which is at the top of     16   progressive, as you go further out. Again, I like --
            17       page 19. Do you see that, sir?                            17   I'm not so much interested in the political aspect.
            18          A. Yes.                                                18   I'm interest in the moral aspect, which is really
            19          Q. And turn to the prior page, 18, paragraph 55        19   fascinating stuff.
            20       where the last -- next to the last sentence uses the      20          And that is that of these six moral
            21       term "essentially politically and ideologically           21   foundations, self-identified liberals tend to really
            22       homogenous, left-of-center groups."                       22   emphasize what he calls the harm-care foundation. And
            23              Do you see that?                                   23   that is essentially -- what he says is the sacred
            24          A. Yes.                                                24   values of those left of center is caring for those who
            25          Q. And then at the bottom of paragraph 56, you         25   they perceive to be oppressed and that is at the heart


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             1      of the care-harm foundation.                                1   different moral frameworks, although for the -- and
             2             And so there's also a fairness and                   2   this is one of his articles, for the left-of-center
             3      reciprocity --                                              3   individual whose morality is based primarily on
             4         Q. Reciprocity.                                          4   harm-care considerations. They don't recognize it as
             5         A. -- reciprocity foundation. I messed that one          5   moral. It doesn't compute as a moral consideration.
             6      up.                                                         6          Like, let's say, purity, sanctity. Example
             7             And that's just about playing on a fair field        7   might be what you were giving earlier, like scripture.
             8      and basic ideas of fairness.                                8   That doesn't seem you can base a moral argument on
             9             And then is a liberty-oppression foundation,         9   scripture. Just makes no sense in terms of harm-care,
            10      which has to do with those deemed to oppress or            10   at least in places.
            11      otherwise restrict the freedoms of individuals, and so     11          And so my view is underpinning a lot of this
            12      self-described liberals tend to score very high on the     12   conflict, which I am very -- I grieve about. A lot of
            13      harm-care foundation and the -- somewhat less so on the    13   this conflict is these very discordant moral visions.
            14      liberty-oppression foundation.                             14   What is good? What is the good life? What is -- how
            15             Now, conservatives, self-identified                 15   does one achieve fulfillment? How does one achieve
            16      conservatives, there are three other foundations. One      16   what makes for a thriving life?
            17      is disrespect for authority, order. They like order in     17          This is all undergirding it. And you can tell
            18      society, and there is an in-group loyalty, which would     18   by the language people use, the moral people language
            19      be like a certain nationalism or loyalty or church or      19   use.
            20      family, and then there is the purity foundation, which     20          So that would be an answer to your question.
            21      is a lot of the sense of sacred and avoiding               21   That's how -- one of the ways I define the idealogical
            22      contamination, bodily, spiritually.                        22   difference. One that I'm most familiar with and
            23             And conservatives tend to score much higher on
                                                                               23   appreciate, as providing understanding in these
            24      those three foundations than self-identified liberals
                                                                               24   debates, is the moral issue, moral ideology, moral
            25      do. So you have a mismatch that liberals --
                                                                               25   beliefs. Where does morality stem from? What makes


                                                               Page 126                                                       Page 128
             1       self-identified liberals tend to form the moral sense      1   for a moral argument? Those kinds of things.
             2       around harm-care, whereas conservatives tend to have       2         DR. HUDSON: That's a great answer.
             3       more equal distribution across all six foundations.        3         MR. WILLIAMS: It's an answer.
             4             And so what happens is -- and this is                4   BY MR. WILLIAMS:
             5       interesting research on this -- that because of their      5      Q. Do you know who Graham Nash is?
             6       emphasis on harm-care, liberals, they -- left of           6      A. Is that Crosby, Stills, Nash & Young?
             7       center, will -- they don't really recognize morality       7      Q. Yeah.
             8       based on purity, based on in-group loyalty and respect     8      A. That's about all I know of him.
             9       for authority, especially when it comes into conflict      9      Q. Returning to paragraph 77 where you state --
            10       with care-harm/harm-care considerations. Right.           10   and I'm going to read this into the record -- "The
            11             So their value is caring for oppressed              11   professional and academic environment within which
            12       peoples; whereas the conservative, self-identified,       12   professional SOCE is being debated is ripe for
            13       tend to be more concerned with just preserving the        13   confirmation bias with ideologically left-of-center
            14       integrity of the institutions of society. So they're      14   dominance of professional mental health association
            15       concerned with groups and establishment of groups.        15   leadership and community" -- "and the community of
            16             Another way of putting it is that for the           16   academic psychology?"
            17       liberal, things like the institutions and the groups in   17         I read that correctly, did I not?
            18       society are servants of the individual. They're there     18      A. Yes.
            19       to help the individual, to serve the individual;          19      Q. Amplify the word "ideologically" as it is
            20       whereas for conservatives, these groups, individuals in   20   connected to "left of center." I heard your answer,
            21       a sense have an obligation to the institutions. That's    21   and listened very carefully to it. I don't remember
            22       a big difference.                                         22   you saying the word "ideologue" or "ideologically" or
            23             And I think it shows up in -- one of the            23   "ideology" in your --
            24       reasons why some of these cultural debates go on is       24      A. Perhaps I should've said -- with regards to in
            25       because I think we're arguing from, essentially,          25   this case I could've said "moral ideology, morally


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                                                               Page 129                                                       Page 131
             1       ideologically left of center." That would be included      1       A. The ones that touch on -- you know, sort of
             2       in there. I suppose it could be more, but that's           2   contentious social issues, yes.
             3       primary sense that I have, and I've thought about these    3   BY MR. WILLIAMS:
             4       issues that way.                                           4       Q. And SOCE is a contentious social issue?
             5           Q. A moral ideology that is left of center or          5       A. I would say that it has become that.
             6       right of center, as the case may be?                       6       Q. So what you are really saying -- and I think
             7           A. Yes.                                                7   you've said it in your declaration -- is that the
             8           Q. And that moral ideology would -- essentially,       8   leadership of the APA is liberal, not conservative;
             9       I can understand it by the lengthy answer you gave me a    9   right?
            10       little while ago; right?                                  10       A. Broadly speaking, yes.
            11           A. Yes.                                               11       Q. Is that a negative thing or a positive thing,
            12           Q. So if I go back and read the transcript, I         12   or it doesn't matter?
            13       should have a pretty good grasp of it?                    13          MR. GANNAN: Objection. Vague.
            14           A. I hope so. Probably there's much more to it        14       A. You know, there is a good analogy that
            15       than what I tried to explain.                             15   Nicholas Cummings, the former APA president said, you
            16           Q. These are all very interesting questions.          16   know, for science to thrive and for most anything to
            17       What is the source of your information that the           17   thrive, for the plane to land -- to take off, it needs
            18       professional mental health association leadership is      18   a left wing and a right wing. If it only has one wing,
            19       dominated by morally ideologically left of center?        19   it doesn't function very well. And if the organization
            20           A. Well, I've been a member of the APA since          20   leadership has one wing, it's not going to function at
            21       1984, I believe. So I'm pretty familiar with the          21   its optimal because it's missing, it's missing input,
            22       workings of the organization. I'm not involved in         22   it's missing perspective, it's missing like viewpoint
            23       them, but I certainly read what they put. You can be      23   diversity.
            24       pretty sure, for instance, the resolutions, when they     24   BY MR. WILLIAMS:
            25       touch on social issues, you're pretty much guaranteed
                                                                               25       Q. And is it your belief that the APA, for

                                                               Page 130                                                       Page 132
             1       they're going to sympathize with a more socially           1   example, which is the one you've been referring to,
             2       liberal or progressive perspective.                        2   ignores the viewpoint of the right-of-center members of
             3          Q. A left-of-center perspective?                        3   the organization?
             4          A. Yeah. Yeah.                                          4       A. It does not represent them. That is why many
             5          Q. And why are you assured of that fact? How            5   have left over the years. But they don't feel
             6       would one know that?                                       6   represented.
             7          A. Oh, you can go look at the resolutions on the        7       Q. Okay.
             8       website, APA website. They have a list -- source of        8       A. That does not mean -- I mean, for the record,
             9       all the resolutions that they've provided, and you         9   like I said, I've been a member, I think APA does a lot
            10       can -- if you want to read them all, they will --         10   of good things. I don't have animus toward it as an
            11       you'll kind of see where they come down on these.         11   organization. It's just when they touch on these sort
            12          Q. So if I -- I'm just a lawyer. I'm not a             12   of social issues that it's difficult for me to feel
            13       psychologist or a psychiatrist.                           13   represented by them.
            14          A. Yeah. Yeah.                                         14       Q. I understand what you're saying. And has a
            15          Q. But if I were to go to those resolutions and        15   counter-organization been formed by those who have left
            16       read through them -- and hopefully I'm a politically      16   the APA because they don't think they're represented,
            17       and socially astute, reasonably well-read citizen of      17   to come up with their own organization to reflect the
            18       the United States of America, which I think I am --       18   values and thoughts and prospectus and viewpoints of
            19          A. Uh-huh.                                             19   more conservative psychologists? Right of center, I
            20          Q. -- I would read all those and come to the           20   guess you call it.
            21       conclusion, in your opinion, that those resolutions       21       A. That's -- that one is a little harder to say.
            22       have a left-of-center bent in them?                       22   I think the younger generation, they're not affiliating
            23          A. The ones that touch on --                           23   with organizations, not nearly as much. I don't know
            24              MR. GANNAN: I just want to object. It              24   if that is the way it is with the legal associations,
            25          assumes facts not in evidence.                         25   but younger professionals are not affiliating as much


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                                                               Page 133                                                      Page 135
             1      as the older ones did. But I certainly know of             1   Orientation.
             2      individuals who have departed or disagreed seriously       2         Are you familiar with that?
             3      with the APA on some of these sort of, like I said,        3      A. Yes.
             4      social policy resolutions.                                 4      Q. How do you define "sexual orientation," sir?
             5             I don't really see them starting their own          5      A. Well, I have a definition that I use, but it's
             6      organizations in the mass. I think they may -- some of     6   challenging because there is lots of discussion about
             7      them have religious backgrounds may affiliate with some    7   how to define it. But I guess you can say that sort of
             8      of the smaller faith-based mental health organizations.    8   the bones of it might be the direction which, to a
             9      Some have gotten tired with all the politics and           9   greater or lesser extent, the person's sexual
            10      joined -- there's another American Psychological          10   attractions and behavior and identity is oriented.
            11      Society, APS I think it's called. It doesn't weigh in     11         MR. WILLIAMS: Read that back to me, please.
            12      on a lot of policy stuff. They simply want to promote     12      (The answer was read back.)
            13      science. They're not -- they don't, I think, present      13   BY MR. WILLIAMS:
            14      themselves as political.                                  14      Q. "Sexual identity" I think is a word that you
            15         (Exhibit No. 5 was marked for identification.)         15   haven't used before. Is that the same as gender
            16      BY MR. WILLIAMS:                                          16   identity?
            17         Q. All right. Doctor, I have marked as Exhibit 5       17      A. I don't believe so.
            18      to your deposition a copy of Ordinance No. 2017-47,       18      Q. How would you distinguish between the two?
            19      which is the ordinance that is the subject matter of      19      A. Gender would be --
            20      this litigation that we're here today on.                 20      Q. Gender identity.
            21             It's the ordinance that was enacted by the
                                                                              21      A. Yeah. The degree of which I identify as a
            22      City of Tampa City Council back in March of '17 and --
                                                                              22   male or female or something in between, I guess.
            23      actually, April of '17 and approved by the mayor, then
                                                                              23   Sexual identity would be more my sexual attractions, be
            24
                                                                              24   they exclusively oriented to same sex or to the
                    Mayor Bob Buckhorn on April 10th, 2017. The court has
            25
                                                                              25   opposite sex or -- and behaviors, I would say. How I
                    taken judicial notice of this ordinance, and I don't

                                                               Page 134                                                      Page 136
             1      think there is any issue as to its authenticity and        1   identify myself, my sexual affections and behaviors.
             2      accuracy.                                                  2      Q. Okay. So that's the distinction between
             3             MR. GANNAN: I will stipulate the court has          3   gender identity and sexual identity, what you just
             4         taken judicial notice of the ordinance, that it is      4   articulated as far as you are concerned?
             5         the ordinance.                                          5      A. I mean, I'd need to probably think about it to
             6      BY MR. WILLIAMS:                                           6   give you the best answer more, but --
             7         Q. Sure. Could you review it and tell me if this        7      Q. We'll come back to it then.
             8      is the ordinance that you looked at prior to today that    8      A. But, yeah, I mean, there's --
             9      you alluded to earlier this morning?                       9      Q. Let me move on.
            10         A. I believe so. It's been a while.                    10      A. -- there's gay, lesbian, bisexual, sexual
            11         Q. All right. We've been talking about the             11   orientation. There is transgender.
            12      left-to-center/right-to-center dichotomy amongst the      12      Q. Back to the ordinance, Exhibit 5.
            13      leadership of the American Psychological Association,     13      (A discussion was held off the record.)
            14      among other things.                                       14   BY MR. WILLIAMS:
            15         A. Sure.                                               15      Q. You are familiar with the APA report with the
            16         Q. Are you familiar with the report --                 16   Task Force on Appropriate Therapeutic Responses to
            17             MR. WILLIAMS: So I'm going to have marked as       17   Sexual Orientation, Exhibit 6, are you not?
            18         Exhibit 6 a copy of what I'm about to talk to you      18      A. Yes.
            19         about.                                                 19      Q. And I'm going to assume that you've read that
            20         (Exhibit No. 6 was marked for identification.)         20   task force report thoroughly prior to today. Is that a
            21      BY MR. WILLIAMS:                                          21   correct statement?
            22         Q. Just as an intermediary topic of discussion,        22      A. Yes.
            23      Exhibit 6 is a report by the American Psychological       23      Q. And you've mentioned that you had also
            24      Association and specifically a Task Force on              24   reviewed the ordinance, Exhibit 5, but it's been a
            25      Appropriate Therapeutic Responses to Sexual               25   while; correct?


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                                                               Page 137                                                      Page 139
             1           A. Yes.                                               1   things like that.
             2           Q. All right. When you read the ordinance,            2      Q. Have you ever talked, literally conversed with
             3       whenever you read it for the first time, did you note     3   any member of the task force that came up with
             4       that the task force report, Exhibit 6, was identified     4   Exhibit 6 about the subject matter of the task force
             5       in the ordinance itself?                                  5   report?
             6           A. Yes, that's part of the boilerplate.               6      A. The subject matter of the task force report?
             7           Q. What -- you call boilerplate. You mean             7      Q. Yes, appropriate therapeutic responses to
             8       it's --                                                   8   sexual orientation, that's what I would call the
             9           A. It's in every -- every proposed legal              9   subject matter. That's what they --
            10       document, proposed legislation. It's -- you are going    10      A. I'm just trying to think if we talked
            11       to see that.                                             11   specifically about that, but I have spoken with one
            12           Q. Is that good or bad or is it indifferent, in      12   member of the task force.
            13       your opinion?                                            13      Q. Who would that be?
            14           A. I don't know. I know why it's there.              14      A. Dr. Beckstead.
            15           Q. Why is it there?                                  15      Q. And Dr. Beckstead, what is his full name?
            16           A. The appeal to authority. As I mentioned in my     16      A. A. Lee Beckstead.
            17       declaration.                                             17      Q. Is Dr. Beckstead still alive?
            18           Q. What do you mean by that?                         18      A. Yes.
            19           A. I think the American Psychological Association    19      Q. Where does he reside, if you know?
            20       is seen -- I mean, is an appeal to the broader reader,   20      A. I believe he is in private practice in Utah.
            21       to the politician and otherwise as an authoritative      21      Q. Salt Lake City?
            22       organization, so they appeal that way.                   22      A. I believe so.
            23           Q. Do you see the American Psychological             23      Q. When did you talk to Dr. Beckstead about this
            24       Association as an authoritative organization?            24   report?
            25           A. Depends on the domain. I think in domains         25         MR. GANNAN: Objection. Assumes facts not in

                                                               Page 138                                                      Page 140
             1      where they have no significant advocacy interest they      1      evidence.
             2      are very authoritative. In areas where they have clear     2   BY MR. WILLIAMS:
             3      advocacy interests, which they make no bones about, I      3      Q. Well, you said you talked to him, did you not?
             4      would say that's where you get your issues with            4      A. Yes. I don't remember if we talked
             5      confirmation bias and incomplete science.                  5   specifically about the report, though.
             6         Q. Okay. Referring to the last "whereas" clause,        6      Q. I'm sorry. I misunderstood you.
             7      on page 1 of the ordinance, Exhibit 5, there is a          7          Do you recall that you talked about the report
             8      reference to the task force report that is Exhibit 6 to    8   when you talked to Dr. Beckstead?
             9      your deposition, is there not?                             9      A. I recall that he presented at an Alliance
            10         A. Yes.                                                10   conference a couple of years back, when it was in Utah,
            11         Q. It reads "Whereas, the American Psychological       11   and he spoke -- you know, referenced the report.
            12      Association's Task Force on Appropriate Therapeutic       12      Q. Do you remember what he said? If you don't,
            13      Responses to Sexual Orientation ('APA Task Force')        13   that's fine too.
            14      conducted a systematic review of peer-reviewed journal    14      A. I think he said that there were aspects that
            15      of literature on Sexual Orientation Changes, SOCE," and   15   he would do differently if he were doing that committee
            16      then it goes on to talk about that. I'm not going to      16   again.
            17      read the whole thing.                                     17      Q. Well, he was a member of the task force that
            18             What do you know about the task force that it      18   came up with the report, was he not?
            19      refers to right there?                                    19      A. Yes.
            20         A. I know I guess -- you know, I don't know            20      Q. Is Dr. Beckstead -- how would you characterize
            21      personally the individuals on the task force, but --      21   him, left of center or right of center?
            22         Q. You don't know any of the individuals that          22      A. In terms of his approach to these issues, we
            23      made up the task force itself; is that true?              23   would have some differences that I would put him up to
            24         A. Not on a personal level. I know a few of            24   left of center. I don't know politically if that's the
            25      them, I mean, in terms of some of the writings and        25   case. We didn't have those kind of conversations. But


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                                                               Page 141                                                         Page 143
             1      I would say we have civil disagreements about certain       1   things.
             2      aspects of this subject matter.                             2      Q. Yes. All right. And so Dr. Beckstead, if I
             3         Q. SOCE?                                                 3   recall your testimony correctly, is the only member of
             4         A. SOCE and -- yeah.                                     4   this task force that you have actually spoken to; is
             5         Q. So as it relates to the subject matter of the         5   that correct? Based on your memory?
             6      report, you would consider Dr. Beckstead to be left of      6      A. That would be correct.
             7      center; is that correct?                                    7      Q. And the other members of the task force, if
             8         A. As it relates to his perspective on SOCE, I           8   you have any knowledge of them, it would be derivative?
             9      would say that would be more in keeping with someone        9   And what I mean by "derivative," it would based on
            10      who has sympathies in that direction. I don't know. I      10   reading materials that they have prepared or things of
            11      don't know of other things regarding his affiliation.      11   that nature?
            12         Q. I could care less about his political stuff.         12      A. Well, that would not be correct.
            13         A. Okay.                                                13      Q. Correct me then, please.
            14         Q. I'm talking about this. If somebody can tell         14      A. I have gone to probably half a dozen APA
            15      me what a real conservative is today --                    15   conferences over the years. I know for a fact, at
            16         A. But, again, I am speculating. We haven't             16   least once, I listened to Dr. Glassgold speak on the
            17      really talked specifically about this. I just heard        17   panel. I'm trying to think of the other members. It's
            18      him talk about it.                                         18   possible I've heard other members in the context of
            19         Q. I'm just asking your opinion --                      19   workshops or seminars, you know, symposiums at the APA
            20         A. Yes.                                                 20   conferences.
            21         Q. -- as to whether or not you deem Dr. Beckstead       21      Q. And so whatever you know about Dr. Judith
            22      to be left of center, right of center, or smack dab on     22   Glassgold, who is an expert in this case, as you well
            23      the center?                                                23   know, because you've rebutted her declaration --
            24            MR. GANNAN: Objection. Asked and answered.           24      A. Yeah.
            25                        ***                                      25      Q. -- you would know from comments she made at

                                                               Page 142                                                         Page 144
             1       BY MR. WILLIAMS:                                           1   these conferences, the APA conferences and perhaps also
             2          Q. You are saying that, as far as you are               2   from what you've read of hers. Is that a true
             3       concerned on this subject, the subject report, he's        3   statement?
             4       left to center. Is that a correct statement?               4      A. I believe so.
             5          A. I would say -- I mean, if he agreed with             5      Q. All right. That's Dr. Glassgold. Any other
             6       everything in the report, then we would have some          6   member of the task force that you have heard or read
             7       differences about how to understand that. My sense         7   that you've garnered some knowledge about their
             8       would be those differences would be reflected in my        8   thinking?
             9       earlier assessment about my -- his sort of moral           9      A. Well, as I understand, the members of the task
            10       prospective on things and my perhaps moral perspective    10   force, at least five of them were LGB identified, and
            11       on it. That's, again, how I would want to understand      11   so when you're looking at just the -- where the
            12       those issues.                                             12   LGBT-identified individuals tend to affiliate or
            13          Q. That's a little difficult for me to                 13   affiliate with a party, it would be a democrat party.
            14       comprehend. So from a moral perspective as it relates     14   That doesn't mean all of them do. I'm not being
            15       to appropriate therapeutic response to sexual             15   excessive, or I'm not trying to say there aren't
            16       orientation, is he left of center, in your opinion?       16   exceptions. I'm just saying I believe it's pretty
            17          A. It would be a general -- close to a complete        17   clear that most, many, the majority certainly would
            18       guess, but if I had to completely guess, pull it out of   18   identify with a democrat party affiliation.
            19       a hat, I would say he is probably left of center, at      19      Q. When you say five of the members of the task
            20       least in comparison to me.                                20   force were LBG identified, you mean that they
            21          Q. Are you right of center, sir?                       21   themselves are either lesbian or gay or something like
            22          A. I would say I'm probably right of center.           22   that? Is that what you mean?
            23       Part of our -- part of our obligation as professionals    23      A. I believe that was the number, yeah.
            24       is to understand our biases, that's why I'm so            24      Q. How do you know that? How do you know whether
            25       interested in the moral -- the moral framework of         25   somebody is a lesbian or a gay man?



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             1          A. Well, what I recall is that Dr. Nicolosi had a       1      A. I don't know if I gleaned it all. It was kind
             2       piece that he did some work and looked at their            2   of confirming. I mean, it doesn't take much to do a
             3       writings and looked at their -- how they identified,       3   Google search on somebody and find out sort of what
             4       and that was his conclusion. He put it out there. I        4   their affiliations are.
             5       mean, it's on -- I think it's probably still on the        5      Q. Have you done an individual Google search on
             6       Internet. And it seemed pretty -- I haven't read it        6   those five?
             7       for a while, but it seemed pretty supportive of that       7      A. No.
             8       conclusion.                                                8      Q. In any event, to the extent that you believe
             9          Q. Okay. Let's drill down a bit down, if I may.         9   that five of the members of the task force were --
            10       Dr. Nicolosi was not a member of the task force, was      10   let's just call them homosexual in one form or another,
            11       he?                                                       11   that's based on Dr. Nicolosi's writing that he obtained
            12          A. No.                                                 12   by looking at a bunch of other stuff; is that correct,
            13          Q. Dr. Nicolosi is someone that I think you would      13   sir?
            14       identify as right of center, would you not?               14          MR. GANNAN: Objection. Misstates the
            15          A. I think that's --                                   15      testimony. Dr. Rosik testified that he believed
            16              MR. MIHET: He was.                                 16      they identified as LGBT, not that he concluded they
            17       BY MR. WILLIAMS:                                          17      were.
            18          Q. Was. Thank you.                                     18   BY MR. WILLIAMS:
            19          A. Correct. Yes.                                       19      Q. Did they identify to you, sir, these five
            20          Q. Dr. Nicolosi lives on in spirit. Okay.              20   people?
            21              MR. MIHET: Though, perhaps not with the party      21      A. Dr. Beckstead has identified as a bisexual.
            22          affiliation.                                           22      Q. Say that again.
            23              THE WITNESS: Yeah.                                 23      A. I said Dr. Beckstead has identified as a
            24              MR. WILLIAMS: Who knows. Who knows.                24   bisexual.
            25                         ***                                     25      Q. Okay. So Dr. Beckstead is -- he said, "I'm


                                                               Page 146                                                        Page 148
             1       BY MR. WILLIAMS:                                           1   bisexual." Okay. You used the word identify, but I
             2           Q. And so Dr. Nicolosi, right of center when he        2   just talk straight language. I'm either bisexual, or
             3       was alive and perhaps still, who knows, did some           3   I'm not bisexual. So -- and I'm not, by the way. But
             4       research or reading and as a result of whatever he did,    4   Dr. Beckstead has publicly stated he is bisexual;
             5       he put out something in writing that at least to you       5   correct?
             6       informed you that five of the members of the task force    6          MR. GANNAN: Objection. Asked and answered.
             7       were gay or lesbian or --                                  7   BY MR. WILLIAMS:
             8           A. Identified.                                         8      Q. Correct?
             9           Q. -- identified, yeah.                                9      A. I believe he made comments to that effect when
            10               MR. GANNAN: I just object to -- misstates the     10   he was at the conference, the Alliance conference.
            11           testimony.                                            11   He's also talked about it in other communications, so
            12           A. I would have to review that article to -- I        12   he's identified himself that way.
            13       mean, I haven't read it in a while, so I am trying to     13      Q. Well, that's fine with me. I'm just trying to
            14       recall to the best of my ability. I think that's what     14   find out the source of your information. Was he one of
            15       it said. Again, it was based on their own                 15   the five of the task force that you are talking about?
            16       self-descriptions and affiliations and those kinds of     16      A. Yes.
            17       things, as I recall.                                      17      Q. Have the other four ever identified to you, to
            18       BY MR. WILLIAMS:                                          18   use your term, "identified," I'm either bisexual or
            19           Q. According to Dr. Nicolosi; right?                  19   homosexual? Do you have any firsthand knowledge of
            20           A. Well, I mean, I believe he pulled them from        20   that?
            21       sources.                                                  21      A. Not directly to me.
            22           Q. I got it. But your source of information is        22      Q. So I go back to where I started. Any
            23       something that Dr. Nicolosi gleaned from their writings   23   knowledge you have as to the sexual identity of the
            24       or whatever they did, these five people; right? Isn't     24   other four members of the task force that you claim to
            25       that correct?                                             25   be -- believe to be LGB is based on what Dr. Nicolosi


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                                                               Page 149                                                        Page 151
             1       wrote in his paper; is that correct?                       1   sometimes he is counted a sixth or seventh, but the
             2          A. No, it's not exclusively that.                       2   executive director or something. I don't have -- I
             3          Q. Well, what else is there? Tell me what else          3   mean, it's right here. Yes, six members and the staff
             4       there is.                                                  4   liaison.
             5          A. I think I make certain deductions from a             5      Q. And who is that?
             6       person's involvement in say Division 44 of the APA,        6      A. Mr. Anderson, probably Dr. Anderson.
             7       which is the division for sexual orientation and gender    7      Q. So I think what you are saying is that out of
             8       diversity. There was a Division 44 charge that             8   the six members of the task force, it is far more
             9       provided people to develop the document, the report. I     9   probable than not that five of them were either
            10       mean, the APA, it was the ultimate charge, but I          10   homosexual or bisexual?
            11       believe many of those individuals are affiliated with     11          MR. GANNAN: Objection. Misstates the
            12       Division 44.                                              12      testimony.
            13          Q. Many of what individuals?                           13   BY MR. WILLIAMS:
            14          A. On the task force.                                  14      Q. Well, tell me if it misstates it. I want to
            15          Q. Members of the task force?                          15   be correct.
            16          A. Yes, I believe so. I'm not -- I don't want to       16      A. I think that's possible. I am not wanting to
            17       be -- I could have -- I may be accurate, but I think      17   conclusively say that that is the case, but based on,
            18       most, if not all of them, are.                            18   again, my sense of Division 44, and how divisions work,
            19          Q. Dr. Rosik, if a psychologist is a member of         19   that there's a -- there's a reasonable probability that
            20       the APA and also a member of Division 44, is it your      20   five or so have that identification.
            21       opinion that they are -- either are gay or probably       21      Q. As homosexual or bisexual?
            22       gay?                                                      22      A. They don't -- no, as gay or lesbian, bisexual.
            23          A. I think there's a strong possibility.               23      Q. What is the difference between a gay and
            24          Q. What does that mean?                                24   lesbian?
            25          A. I mean, I'm not wanting to say it's universal.      25      A. They detest the word homosexual unless it's

                                                               Page 150                                                        Page 152
             1      There are probably non-GLBT-identified individuals with     1   used in a medical sense.
             2      the division.                                               2      Q. All right. Let's use gay and lesbian.
             3          Q. But the fact that they're members of                 3      A. Yeah.
             4      Division 44 is a deduction on your part, is it not?         4      Q. Five of the six, because they're part of
             5          A. Just as if I'm a member of Division 36, which        5   Division 44, are either gay or lesbian or bisexual. We
             6      is the division of the psychology for religion and          6   know that Beckstead has said he is bisexual, so knock
             7      spirituality, that probably I have an interest in that,     7   him off. The other four you believe were either gay or
             8      if I'm a member. I may have some active involvement in      8   lesbian because they are member of the Division 44; is
             9      faith-based matters if I'm a member of that division.       9   that correct?
            10          Q. Certainly, I agree. That doesn't necessarily        10          MR. GANNAN: Objection. Vague. Compound.
            11      mean you are religious person, does it? Devout             11      Misstates the testimony.
            12      Christian, that doesn't mean that, does it? It doesn't     12   BY MR. WILLIAMS:
            13      actually lead to the conclusion that you, sir, are a       13      Q. Correct me if I'm wrong. I don't want to
            14      devout Christian, does it?                                 14   misstate your testimony. I'm trying to understand it.
            15             MR. GANNAN: Objection. Compound.                    15          MR. MIHET: He has already corrected you a
            16          A. I wouldn't use the word universally. I would        16      number of times.
            17      use the word "probabilistically."                          17          MR. WILLIAMS: Good. He can correct me
            18      BY MR. WILLIAMS:                                           18      another time.
            19          Q. More probable than not? How does that sound?        19      A. They -- there is a -- again, this is to my
            20             MR. GANNAN: Objection. Vague.                       20   knowledge of it. They're a probabilistic possibility
            21          A. I guess I would agree with that.                    21   that that many other -- not all, but some of the others
            22      BY MR. WILLIAMS:                                           22   are, in fact, LGBT identified, LBG identified.
            23          Q. How many members of the task force were there?      23   Certainly, they are, you know -- they certainly share a
            24      Do you know?                                               24   moral and philosophical perspective, I guess, or that
            25          A. I believe there were six members and one,           25   would be my -- my sense of it based on the document.


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                                                                Page 153                                                       Page 155
             1          Q. All right. Which document, the report itself?        1      A. I'm not confident in this. But I think
             2          A. Yes.                                                 2   they -- yeah, I'm not confident in it. There's a
             3          Q. All right. So other than Dr. Beckstead, we           3   couple of ways you can do it. One is you can select
             4       can agree you have no direct knowledge of the other        4   directly: They can ask people to serve. Otherwise,
             5       members of the task force because you haven't talked to    5   they can have nominations of people, and then they go
             6       them; they've never said to you, "I'm gay, I'm             6   to those people and see if they're willing to serve.
             7       lesbian," have they? Isn't that correct, sir?              7          So I don't know if it was a direct process of
             8          A. I'm trying to remember what I heard                  8   selection or if it was people needing to be nominated
             9       Dr. Glassgold talk about. She talked about I think her     9   and then they select from those who are nominated. But
            10       mother being -- kind of lapsing from her Jewish faith     10   it was probably something like that.
            11       when she was -- I don't know if it was growing up or      11      Q. Well, my question is do you know, and I think
            12       later in her life and how she, I guess, into more of a    12   your answer is you don't know; is that correct?
            13       feminist, ardent feminist perspective, and I think that   13      A. Not more specifically than that.
            14       was influential for her.                                  14      Q. Well, that tells me you don't know. That's
            15          Q. All right. That's your answer?                      15   the way I understood your answer. You are speculating
            16              MR. MIHET: Let him finish. He's still              16   to the possibilities. You have no personal knowledge,
            17          thinking.                                              17   do you, sir, actual direct knowledge as to how the task
            18       BY MR. WILLIAMS:                                          18   force was actually selected, do you?
            19          Q. If you are still thinking, think away and           19          MR. GANNAN: Objection. Asked and answered.
            20       answer away.                                              20      A. Only from my understanding of how the task
            21          A. I do recall that she said during her talk --        21   force in general have -- operate within the APA.
            22       and this is in San Francisco last year, that -- I'm       22   BY MR. WILLIAMS:
            23       trying to get this right -- that "love overcomes even     23      Q. I'm not talking about task force in general.
            24       religious law." Pretty sure that's what the quote --      24   I'm talking about this task force.
            25       "love overcomes even religious law." Which isn't
                                                                               25      A. I don't know why this task force would deviate

                                                                Page 154                                                       Page 156
             1      something you would hear a conservative say. They           1   from that, but if that's the case, then I don't know
             2      would have a different understanding of it, I think.        2   within those specifics I've listed which was done.
             3             What I do recall from these -- and I've been         3      Q. If you were to find out, how would you -- what
             4      to a number of these symposiums from the APA, probably      4   inquiries would you make -- let me rephrase it.
             5      three over the years that they -- the subject matter is     5          If you wanted to know how the task force was
             6      the conflict between religious values and same-sex          6   constituted by the APA, what inquiries would you make
             7      attractions, and they present cases, case material from     7   and of whom?
             8      their practices of individuals who have this conflict       8      A. I'm not sure. Is it in the document? It
             9      between their religious values and their same-sex           9   often is, but I don't know. I don't remember.
            10      sexual behavior, and what I'm pretty confident about       10      Q. Let me ask a follow-up question: Have you
            11      is, as they go through these cases, every single case      11   ever inquired of the APA as to how they constituted
            12      is resolved in the direction of prioritizing sexual        12   this particular task force?
            13      identity and essentially revising religious belief.        13      A. I have not inquired.
            14             What struck me as -- and given the fact that I      14      Q. Why not?
            15      work with individuals for whom their religious identity    15      A. In the broadest sense, the document, I mean,
            16      tends to remain primary, even though they may              16   stands on its own, in terms of I don't need to know the
            17      experience same-sex attractions. And so it struck me       17   backgrounds, the process of selection or the identities
            18      as not in keeping with a broad client experience.          18   of the task force specifically to -- as I read the
            19         Q. Does that conclude your answer?                      19   document, to understand that they're approaching this
            20         A. I'll stop, yes.                                      20   from a -- certain aspects of it anyway -- I think their
            21         Q. Given your answers to the last half dozen            21   interpretation of things would reflect as sort of a
            22      questions I've posed to you, sir, is it your belief        22   left-of-center perspective.
            23      that the -- withdraw that question.                        23      Q. So you can glean that left-of-center
            24             Do you know how the task force was selected by      24   perspective for certain aspects of Exhibit 6 just by
            25      at APA?                                                    25   reading the substance --


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                                                               Page 157                                                      Page 159
             1         A. Well --                                              1   think I alluded to this. And what's fascinating about
             2         Q. Let me finish.                                       2   that report is that the methodological critique that
             3         A. I'm sorry.                                           3   was used to conclude that SOCE is ineffective, that
             4         Q. -- substance of those sections that you just         4   same methodological critique, in many respects, was
             5      alluded to; correct?                                       5   used to show that there was no harm from abortion, at
             6             MR. GANNAM: Objection. Vague. Misstates             6   least first trimester abortions for women who don't
             7         testimony.                                              7   have subsequent abortions.
             8         A. Let me give you an example.                          8          So, again, the methodological criteria were
             9      BY MR. WILLIAMS:                                           9   applied very differently depending on the nature of the
            10         Q. Well, answer my question if you would, please.      10   issue, and that gets back to the idealogical and moral
            11             Read the question back, please. And see if         11   perspective. So that with abortion, these studies that
            12      you can answer the question and then you can talk about   12   may have suggested there were harms, were ruled or
            13      it all you want, Doctor. I just want to make sure the     13   basically ruled out or dismissed because these studies
            14      record is clean here.                                     14   did not meet the methodological criteria that were
            15         (The question was read back.)                          15   efficient. Whereas, with the APA task force, there
            16         A. I think I can make an educated guess.               16   appear -- versus sexual orientation, they use many of
            17      BY MR. WILLIAMS:                                          17   those same methodological criteria to dismiss the
            18         Q. Is that the same as gleaning it?                    18   efficacy, but they didn't use it -- they did not use
            19         A. All right. I guess, yes.                            19   those same criteria to talk about harms.
            20         Q. Okay. Now, with that in mind, what you just         20          So with abortion, they use the criteria to
            21      confirmed in your last answer that you were able to       21   talk about harms. With SOCE, they don't use it to talk
            22      glean from certain sections of reading the report by      22   about harms. They use it to talk about efficacy. That
            23      the task force that the task force had a
                                                                              23   is a huge distinct -- I mean, that's the kind of thing
            24      left-of-center -- I used the word "bend" a lot.
                                                                              24   that makes one suspect that there is a different
            25         A. Grid.
                                                                              25   standard being applied.


                                                               Page 158                                                      Page 160
             1          Q. -- grid on those topics, those sections; is         1      Q. You would agree with me that the American
             2       that correct?                                             2   Psychological Association is a generally well-respected
             3          A. Aspects of the report, yes.                         3   professional association in the United States, wouldn't
             4          Q. Yes. And in that sense, do you believe the          4   you?
             5       report was rigged to begin with because of the            5         MR. GANNAN: Objection. Vague. Facts not in
             6       constituted members of the task force?                    6      evidence.
             7              MR. GANNAN: Objection. Vague.                      7      A. The research is suggesting that they're
             8          A. "Rigged," I wouldn't use the language. I            8   becoming less respected, especially by -- you know, the
             9       would probably say --                                     9   country, unfortunately, is polarizing, but they're
            10       BY MR. WILLIAMS:                                         10   becoming less respected by half the country who would
            11          Q. It just seems to be in the national news so        11   consider themselves not in support of these -- some of
            12       much.                                                    12   these kinds of resolutions that they're putting out.
            13          A. I would say that there was risk of                 13   BY MR. WILLIAMS:
            14       confirmation bias.                                       14      Q. Half the country, meaning the population --
            15          Q. Okay. And that risk of confirmation bias was       15   there is about 340 million of us.
            16       itself confirmed when you read certain aspects of the    16      A. Oh, okay. I mean the red part of the country,
            17       report, because there it was. Is that what you are       17   conservative part. They're distrustful.
            18       saying?                                                  18      Q. I'm not talking about those people. I'm
            19          A. Yes.                                               19   talking about psychologists.
            20          Q. Thank you.                                         20      A. Uh-huh.
            21          A. I will give you an example of this.                21      Q. Is it generally a well-respected professional
            22          Q. Please. No, go ahead. Please give me               22   association in the United States of America by your
            23       example.                                                 23   colleagues, the psychologist in the country?
            24          A. As part of preparation for this, I -- in 2008,     24      A. It depends again. I mean, psychologists are
            25       the APA had a report on abortion and mental health. I    25   largely left of center. It's a caring profession. So


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                                                                Page 161                                                       Page 163
             1      one would understand that you would likely have more        1   you have gleaned from reading it because I don't have
             2      individuals in that profession that really stress the       2   the expertise that you do?
             3      harm-care moral foundation. But there are certainly         3          MR. GANNAN: Objection. Vague. Calls for
             4      conservative psychologists who they just don't              4      speculation.
             5      affiliate with the APA, but they --                         5      A. The sad fact is you probably wouldn't.
             6         Q. You said that earlier.                                6   BY MR. WILLIAMS:
             7         A. -- they don't -- they would not agree with the        7      Q. Would not; right?
             8      APA on these kinds of resolutions and policy statements     8      A. You would not be -- you know, you would have
             9      and that sort of thing. I think I said there in my          9   to be able to dig into the science to understand it, to
            10      declaration, too, I mean, APA represents probably a        10   understand what it says, what it can't say. You have
            11      40 percent of psychologists in the country, which is a     11   to have knowledge of the APA, how it operates, their
            12      lot, but it's not the majority of psychologists. We        12   resolutions in these areas to kind of look at the
            13      don't know where they lean. I would suspect many of        13   whole -- a broader swath and say, you know, this is
            14      them probably are --                                       14   does not seem even handed.
            15         Q. Is the American --                                   15      Q. So as a layperson -- and as a layperson, I
            16             MR. MIHET: Were you finished?                       16   will confess, I would be also ignorant of this, just
            17             THE WITNESS: I'm done.                              17   like I think you would probably be a layperson who is
            18      BY MR. WILLIAMS:                                           18   ignorant of a lot of legal stuff; right?
            19         Q. I thought you were.                                  19      A. Yes.
            20         A. That's okay.                                         20      Q. As a layperson ignorant of the science and
            21         Q. If I interrupt you because I glean from your         21   profession of psychology, if I read this and said, "It
            22      testimony that you're finished and you are not             22   makes sense to me," there's no real way to slice and
            23      finished, you just to stop me and say, "I'm not
                                                                               23   dice it the way you have and to determine, as you've
            24      finished, Mr. Williams. Let me finish."
                                                                               24   said, flawed, is there?
            25         A. Fair enough.
                                                                               25          MR. GANNAN: Objection. Vague. Calls for


                                                                Page 162                                                       Page 164
             1          Q. And I will be happy to do that, because I do         1      speculation.
             2       not intend ever to interrupt your answer.                  2      A. Not unless you were, I suppose, to talk with
             3          A. I'm sorry for interrupting you.                      3   someone like myself, or I suppose there are some -- I
             4          Q. I just want to make sure that you and I clear.       4   mean, there are critiques of the APA. There are
             5          A. Right.                                               5   critiques of mental health organizations.
             6          Q. You're the witness. You have a right to say          6   BY MR. WILLIAMS:
             7       anything you want.                                         7      Q. Sure. Sure.
             8             Doctor, is the American Psychological                8      A. Along some of these lines that are on the
             9       Association the most visible psychological association     9   Internet.
            10       in the United States?                                     10      Q. There is no reason why, as a layperson, I can
            11          A. I would say that's accurate.                        11   read the king's English and I'm pretty good at it, that
            12          Q. Is it the most prominent?                           12   I could read it and say it sounds okay to me, right,
            13             MR. GANNAM: Objection. Vague.                       13   because the American Psychological Association is --
            14          A. I guess if I had to lean, it would be yes.          14      A. That's the appeal to authority.
            15       BY MR. WILLIAMS:                                          15      Q. That's what you call the appeal to authority.
            16          Q. Now, you've spent quite a bit of time               16   I agree. I agree with you that's what you call it.
            17       answering my questions, and I want to thank you for       17   Okay.
            18       being as thorough as you've been, because I'm not a       18         So if I wanted to learn about this stuff and
            19       psychologist. I'm just a simple lawyer. I'm married       19   read this and say, "Okay. American Psychological
            20       to one, so I have some osmotic understanding of what      20   Association, this report is, gosh, over 100 pages long,
            21       you are talking about. I hardly believe that I'm an       21   all kinds of citations, the task force seems to be a
            22       expert at all.                                            22   pretty impressive group of people, well presented, no
            23             So if I'm a layperson, which I am when it           23   reason for me not to just accept it at face value," is
            24       comes to psychology, and I read Exhibit 6, this report,   24   there?
            25       how would I know all about the biases and so forth that   25         MR. GANNAN: Objection. Vague. Calls for


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                                                                Page 165                                                     Page 167
             1          speculation.                                           1   may.
             2          A. I mean, can you rephrase the question? It's a       2      (A brief recess was taken.)
             3      little -- I'm not quite sure I get it.                     3         MR. WILLIAMS: We're back on the record.
             4      BY MR. WILLIAMS:                                           4   BY MR. WILLIAMS:
             5          Q. What I'm trying to convey to you, sir, is           5      Q. Doctor, I refer you to the second "whereas"
             6      that -- I think you've already answered it, but I, as a    6   clause in the ordinance on page 1. That refers to the
             7      layperson, could read a report like this, just like you    7   American Academy of Pediatrics. Do you see that, sir?
             8      could read an ABA report and not have any real reason      8      A. Yes.
             9      to say, "This sounds okay to me"; right?                   9      Q. Are you familiar with the American Academy of
            10              MR. GANNAN: Objection. Calls for                  10   Pediatrics?
            11          speculation. And I think it's also getting beyond     11      A. I know of them. I -- you know, in some of the
            12          the scope of Dr. Rosik's assignment.                  12   research, you know, obviously, from my declaration, I
            13              MR. WILLIAMS: Answer that question. And then      13   looked at it a little bit, but I'm not nearly as
            14          if -- I don't want to spend a lot of time on it       14   familiar with them as I am with the APA. I'm not a
            15          either.                                               15   pediatrician.
            16          A. I mean, I think that happens all the time.         16      Q. Correct. You are a psychologist?
            17      BY MR. WILLIAMS:                                          17      A. Correct.
            18          Q. What happens all the time?                         18      Q. Do you have any reason to believe that the
            19          A. People who are ignorant by and large of the        19   American Academy of Pediatrics isn't a well-regarded
            20      issues that go into play here, the inner workings of      20   professional organization?
            21      how scientific organizations are and the APA in
                                                                              21         MR. GANNAN: Objection. Calls for
            22      particular, they would simply accept it on the
                                                                              22      speculation. Beyond the scope of Dr. Rosik's
            23      authority of the APA, even if it is, like I say,
                                                                              23      opinions.
            24
                                                                              24      A. I really have no idea how they're -- how
                    flawed, although that is becoming -- like I said,
            25
                                                                              25   they're viewed within the public. I mean, it's just --
                    that's becoming less. People are --

                                                                Page 166                                                     Page 168
             1         Q. But as a layperson -- but as a layperson,            1   if I had to guess, I guess I would say they probably
             2      that's a reasonable thing for me to do, would you          2   carry some esteem.
             3      agree?                                                     3   BY MR. WILLIAMS:
             4         A. I think -- no, here's --                             4       Q. Let me hand to you exhibit what I will have
             5             MR. GANNAN: Objection. Vague. Asked and             5   marked as Exhibit 7.
             6         answered.                                               6       (Exhibit No. 7 was marked for identification.)
             7         A. I think a better of way of saying it really,         7   BY MR. WILLIAMS:
             8      if you are so inclined that way morally, you probably      8       Q. Exhibit 7 is an article from Pediatrics -- or
             9      would agree. If you are not, I think you would have        9   American Academy of Pediatrics publication in 1993.
            10      more skepticism. Right. So really -- and this is how      10   It's entitled "Homosexuality and Adolescence," and
            11      anybody approaches science, because, you know, research   11   apparently it was written by the Committee on
            12      even is subject to different interpretations. Certain     12   Adolescents, a committee of the American Pediatric
            13      questions shape how the data shows up. So if there was    13   Association.
            14      something that -- about it, a conclusion whatever, that   14          I will represent to you that the document that
            15      didn't meet with my sense of morality, I would have a     15   we've marked as Exhibit 7 is the document that is
            16      problem with it.                                          16   referred in the second "whereas" clause on page 1 of
            17             Example would be, you know, if -- and it           17   the ordinance. Are you with me so far, sir?
            18      didn't call for this, but if I as a conservative have a   18       A. Okay. Page 1?
            19      strong emphasis on respect for authority, like parental   19       Q. Of the ordinance.
            20      authority, I will just instinctively react to bans that   20       A. Yes.
            21      take away that parental authority --                      21       Q. The second "whereas" clause in the ordinance
            22      BY MR. WILLIAMS:                                          22   says, "Whereas the American Academy of Pediatrics in
            23         Q. Okay.                                               23   1993 published an article in its Journal stating,"
            24         A. -- when it's just a matter of speech.               24   okay, and then it says, it quotes, it has a quote in
            25         Q. Well, let me go back to the ordinance, if I         25   the whereas clause, does it not?


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                                                               Page 169                                                       Page 171
             1         A. Yes.                                                 1   share that perspective.
             2         Q. All right. Now, look page 633 of Exhibit 7,          2      Q. But aside from that -- there is always a
             3      the "Homosexuality and Adolescence." And I'm going to      3   minority opinion -- is it a well-regarded professional
             4      read from page 633 under the subtopic "Concept of          4   association, to your knowledge, sir?
             5      Therapy." If you go down about six or seven lines, you     5         MR. GANNAN: Object. Asked and answered.
             6      will see the following sentence: "Therapy directed         6      A. Within those circles, I would assume it is,
             7      specifically at changing sexual orientation is             7   yes.
             8      contraindicated, since it can provoke guilt and anxiety    8   BY MR. WILLIAMS:
             9      while having little or no potential for achieving          9      Q. All right. And before I get into the quote
            10      changes in orientation."                                  10   and everything or the document itself that is
            11            Did I read that correctly?                          11   referenced, it says, "which therapy regime is based on
            12         A. Yes.                                                12   the assumption that homosexuality is a mental
            13         Q. Now, if you look at the second "whereas"            13   disorder."
            14      clause on page 1 of the ordinance, Exhibit 5 to your      14         Do you see that part?
            15      deposition, that is the same sentence that's quoted in    15      A. Uh-huh.
            16      the "whereas" clause in the ordinance, is it not?         16      Q. Do you agree that homosexuality is a mental
            17         A. Appears to be, yes.                                 17   disorder or mental illness?
            18         Q. Okay. Look at the third "whereas" clause on         18      A. I would not use that language, no.
            19      page 1 of the ordinance, which -- and I will read it      19      Q. You disagree with that?
            20      out loud -- states as follows: "Whereas, the American     20      A. I don't think it's -- I don't think inherently
            21      Psychiatric Association in December of 1998 published     21   it has to be. Okay.
            22      its opposition to any psychiatric treatment, including    22      Q. I don't know what you mean by that. Please
            23      reparative or conversion therapy, which therapy regime
                                                                              23   expand on that.
            24      is based on the assumption that homosexuality is a
                                                                              24      A. And, again, I mean, I've done some assessments
            25      mental disorder per se and that a patient should change
                                                                              25   with individuals with same-sex attractions that are,


                                                               Page 170                                                       Page 172
             1       his or her homosexual orientation."                       1   you know, quite good, I mean quite healthy, so clearly
             2             Did I read that correctly?                          2   in and of itself, that's not language I would use.
             3          A. Yes.                                                3      Q. Okay. It's not the language you would use.
             4             MR. MIHET: For the record, I think you said         4   Do you agree or disagree that homosexuality is a mental
             5          "and that" where it says "or that," but the            5   disorder?
             6          document speaks for itself.                            6      A. I think I would --
             7             MR. WILLIAMS: Yes, it does. And if I said           7      Q. Yes or no, please, and then you can expand.
             8          that, I mean "or."                                     8         MR. MIHET: I'm sorry. You have to let the
             9       BY MR. WILLIAMS:                                          9      witness answer.
            10          Q. My first question to you is, is the American       10   BY MR. WILLIAMS:
            11       Psychiatric Association a well-regarded professional     11      Q. I want a yes-or-no answer. You either agree
            12       association?                                             12   or don't agree, sir.
            13             MR. WILLIAMS: Objection. Vague. Calls for          13         MR. MIHET: It may or may or not be answerable
            14          speculation.                                          14      with a yes or no.
            15       BY MR. WILLIAMS:                                         15         MR. WILLIAMS: Sure, it is.
            16          Q. To your knowledge, sir.                            16         MR. MIHET: You can't dictate the answer. You
            17          A. I would say, you know, given the limitations I     17      get to ask the question. The witness gets to --
            18       expressed before, I think within a certain segment of    18   BY MR. WILLIAMS:
            19       individuals it's esteemed. With others, they probably,   19      Q. I don't dictate the answer, but the question
            20       when it comes to these kinds of proclamations, is        20   is answerable, yes or no. You either agree, or you
            21       probably suspect, at the public level.                   21   don't agree. If you don't agree, expand on it.
            22          Q. The public level meaning what?                     22         MR. MIHET: You need to let the witness answer
            23          A. People in general and --                           23      the way he wants to answer, not the way you want
            24          Q. Non-psychiatrists?                                 24      him to answer.
            25          A. Yes, but also psychiatrists that perhaps don't     25         MR. WILLIAMS: I'm entitled to a straight


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                                                               Page 173                                                       Page 175
             1         answer. You know that.                                  1      Q. That's the title.
             2            MR. MIHET: You are entitled to his answer,           2      A. Oh, the title. Okay. Yes.
             3         not yours.                                              3      Q. And then it says, before the substance of the
             4      BY MR. WILLIAMS:                                           4   article, or the position statement, "Approved by the
             5         Q. Can you answer the question, Doctor?                 5   Board of Trustees, March 2000, Approved By the
             6         A. I would disagree that it is a mental disorder.       6   Assembly, May 2000."
             7         Q. In short, you don't consider homosexuality a         7          Did I read that correct?
             8      mental disorder; is that correct?                          8      A. Yes.
             9            MR. GANNAN: Objection. Asked and answered.           9      Q. Then it says, in quotes, "Policy documents,"
            10      BY MR. WILLIAMS:                                          10   and I assume this is what this or else they wouldn't
            11         Q. Is that correct?                                    11   say it -- "are approved by the APA Assembly and Board
            12         A. Not in terms of meaning that there is inherent      12   of Trustees. These are position statements that define
            13      mental pathology, emotional psychological pathology.      13   APA official policy and specific subjects." And then it
            14         Q. If I changed the phrase "mental disorder" to        14   quotes the APA Operations Manual.
            15      "mental illness," would you agree that homosexuality is   15          Did I read that correct?
            16      a mental illness?                                         16      A. Yes.
            17         A. I don't see the difference.                         17      Q. All right. Let me read into the record, and
            18         Q. Okay. You know that DSM-III and ultimately IV       18   you tell me if I read it correctly.
            19      dropped homosexuality as a mental illness, do you not?    19          In the preamble, it says, "In December of
            20         A. Yes.                                                20   1998, the Board of Trustees issued a position statement
            21         Q. And it hasn't been indicated as a mental            21   (see attached) that the American Psychiatric
            22      illness in DSM for a couple of decades or more;           22   Association opposes any psychiatric treatment, such as
            23      correct?                                                  23   'reparative' or conversion therapy, which is based on
            24         A. Yes.                                                24   the assumption that homosexuality is per se a mental
            25         Q. Do you agree with that?                             25   disorder or based upon on a priori assumption that the

                                                               Page 174                                                       Page 176
             1         A. Do you agree that the decision to remove             1   patient should change his or her sexual homosexual
             2      homosexuality as a mental illness in DSM-IV and 5 is a     2   orientation."
             3      correct decision.                                          3         Did I read that correctly?
             4             MR. GANNAN: Objection. Vague. Asked and             4      A. Yes.
             5         answered.                                               5      Q. Do you agree with that?
             6         A. I understand it, and I can agree with it.            6      A. Yes.
             7      BY MR. WILLIAMS:                                           7      Q. Then it says, "In doing so, the APA" -- again,
             8         Q. Let me hand to you Exhibit 8.                        8   in this context, it's the American Psychiatric
             9         (Exhibit No. 8 was marked for identification.)          9   Association -- "joined many other professional
            10      BY MR. WILLIAMS:                                          10   organizations that either oppose or are critical of
            11         Q. Exhibit 8 is referenced on the footnote to the      11   'reparative' therapies, including the American Academy
            12      third "whereas" clause, No. 2, I believe, and it is a     12   of Pediatrics, the American Medical Association, the
            13      hard copy, printed copy of the position statement that    13   American Psychological Association, the American
            14      is alluded to in the third "whereas" clause, and it's     14   Counseling Association, and the National Association of
            15      entitled at the top, "APA Official Actions." APA in       15   Social Workers."
            16      this case meaning the American Psychiatric Association,   16         Did I read that correctly?
            17      and that's different than the American Psychological      17      A. Yes.
            18      Association, is it not, sir?                              18      Q. Go down to page 3, go to the fourth "whereas"
            19         A. Yes.                                                19   clause down.
            20         Q. And the position statement, the title is            20         MR. MIHET: You're back on the ordinance now?
            21      "Position Statement on Therapies Focused on Attempts to   21         MR. WILLIAMS: Yes. I'm sorry. I apologize.
            22      Change Sexual Orientation (Reparative Or Conversion       22      Thank you.
            23      Therapies)."                                              23   BY MR. WILLIAMS:
            24             Did I read that correctly?                         24      Q. Page 3 of the ordinance, fourth "whereas"
            25         A. I'm sorry. What paragraph?                          25   clause down, which reads as follows, Doctor: "Whereas,


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                                                               Page 177                                                       Page 179
             1      In 2016, the American Medical Association issued policy    1   page, Substance Abuse and Mental Health Services
             2      statement H-160.991, which expressly opposed the issue     2   Administration.
             3      of 'reparative' or 'conversion' therapy for sexual         3          Do you see that?
             4      orientation or gender identity."                           4       A. Yes.
             5             Did I read that correctly?                          5       Q. And over to the left, it talks about the
             6         A. Yes.                                                 6   Department of Health & Human Services; correct?
             7         Q. Is the American Medical Association a                7       A. Correct.
             8      well-regarded professional association?                    8       Q. Which is a federal agency, is it not?
             9             MR. GANNAN: Objection. Vague. Calls for             9       A. Yes.
            10         speculation.                                           10       Q. Are you familiar with this SAMHSA document?
            11         A. Again, within -- when it comes to these kinds       11       A. I've read it, but I wouldn't say that I've
            12      of pronouncements, I think it is respected within         12   been able to dig into it to the same extent.
            13      certain circles and not within others.                    13       Q. You have read it, did you say?
            14      BY MR. WILLIAMS:                                          14       A. I have read it.
            15         Q. And, apparently, Dr. Hudson represents the          15       Q. When did you read it, sir?
            16      others.                                                   16       A. Within the last month. I think I read it once
            17         A. Well, it's important to remember that AMA           17   before that, a few years aback.
            18      represents, at most, 20 percent of the doctors in the     18       Q. Why did you read it in the last month? In
            19      country. Many have left the AMA over things like          19   connection with this litigation, for example?
            20      Obama. The Affordable Care Act was opposed by a large     20       A. Yes.
            21      portion of the membership, and so it can't be said to     21       Q. Why did you read it in connection with this
            22      speak for probably 80 percent of the -- for sure
                                                                              22   litigation?
            23      80 percent of physicians in the country.
                                                                              23       A. Because it was referenced in Dr. Glassgold's
                                                                              24   declaration and I thought it would be important to at
            24         Q. All right. The ordinance, you will agree with
                                                                              25   least have some cursory knowledge of it.
            25      me has a number of "whereas" clauses referring to a

                                                               Page 178                                                       Page 180
             1      number of associations, organizations which according      1      Q. And when you read the SAMHSA report,
             2      to the "whereas" clauses take the position that is very    2   Exhibit 9, did you obtain at least a cursory knowledge
             3      similar to that of the American Psychological              3   of its contents and substance?
             4      Association as relates to conversion therapy; is that      4      A. Very cursory.
             5      correct?                                                   5      Q. It's a lengthy document. It's over, gosh,
             6             MR. GANNAN: Objection. Vague. Assumes facts         6   65 pages or so, cites a lot of -- a lot of papers, like
             7         not in evidence calls for speculation.                  7   all you guys do.
             8         A. Can you repeat the question.                         8      A. Right.
             9         (The question was read back.)                           9      Q. Everybody cites a lot of papers.
            10         A. I guess I would agree with that, yes.               10      A. Right.
            11      BY MR. WILLIAMS:                                          11      Q. Did you understand the contents of Exhibit 9,
            12         Q. Are you familiar with the term "SAMHSA"?            12   the SAMHSA report, sir?
            13         A. I'm familiar with it.                               13      A. As much as a cursory reading might allow, but
            14         Q. What does it stand for, if you know?                14   there may be things that I don't fully understand
            15         A. Substance abuse and something, so I'm not as        15   because I couldn't dig into them.
            16      familiar with that document.                              16      Q. You couldn't dig into them. Is that what you
            17         (Exhibit No. 9 was marked for identification.)         17   just said?
            18      BY MR. WILLIAMS:                                          18      A. Yeah, well, I mean, right, reflect on them.
            19         Q. I have handed to you Exhibit 9. Exhibit 9 is        19      Q. Why couldn't you?
            20      a lengthy document dated October 2015, and it is          20      A. The time I had to prepare was limited.
            21      entitled Ending Conversion Therapy: Supporting and        21      Q. The time you had to prepare for what? I'm
            22      Affirming LGBTQ Youth."                                   22   sorry.
            23             Do you see that on the cover?                      23      A. Prepare my rebuttal declaration.
            24         A. Yes.                                                24      Q. I see. So you read the SAMHSA report,
            25         Q. And SAMHSA stands for, according to the front       25   Exhibit 9, in connection with preparing your rebuttal


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                                                               Page 181                                                       Page 183
             1      declaration; is that correct?                              1   American Psychological Association, the National
             2         A. Yes.                                                 2   Association of Social Workers. Those are the three
             3         Q. And because you had a limited amount of time,        3   that are identified at least right above the phrase --
             4      you weren't able to perform more than a cursory review     4      A. Right.
             5      of Exhibit 9. Is that your testimony?                      5      Q. -- "Professional Consensus Conversion Therapy
             6         A. Yes.                                                 6   with Minors." And then the statements of professional
             7         Q. All right. And therefore had obtained a              7   consensus at the top speaks for itself, and I won't
             8      cursory understanding of what its contents are. Is         8   take the time to go over that.
             9      that a correct statement?                                  9         So let me direct your attention, if I may, to
            10         A. Yes.                                                10   paragraph 1 under "Professional Consensus of Conversion
            11         Q. Turn to page 11 of Exhibit 9. About a third         11   Therapy with Minors," and I will read it into the
            12      of the way down you'll see a -- I have the advantage of   12   record out loud.
            13      a color version, so yours is not like mine, but it's a    13         "Same-gender sexual orientation (including
            14      rectangular block that says "Professional Consensus on    14   identity, behavior, and/or attraction) and variations
            15      Conversion Therapy with Minors."                          15   in gender identity and gender expression are a part of
            16            Did you see that?                                   16   the normal spectrum of human diversity and do not
            17         A. Uh-huh.                                             17   constitute a mental disorder."
            18         Q. The ordinance that you have been reviewing          18         Do you agree with that statement?
            19      with me from time to time today bans SOCE or conversion   19      A. Can you clarify what is meant by "normal" in
            20      therapy as relates to minors only, does it not?           20   this context?
            21         A. Yes.                                                21      Q. I gave it its plain and simple meaning,
            22         Q. All right. Let me read into the record              22   because I don't know of any other meaning that you
            23      paragraph 1 under the heading, I suppose, the best way    23   would ascribe to that word in the context of this.
            24      to put it, heading of "Professional Consensus on          24      A. Well, you can prescribe normal as being free
            25      Conversion Therapy with Minors."                          25   of psychopathology, which may be the case. I think I

                                                               Page 182                                                       Page 184
             1              Now, first, when it says "Professional             1   mentioned in the declaration there are other
             2       Consensus," what does that mean to you?                   2   definitions. Statistically what normal would be, and
             3           A. That looking just at the paragraph on top of       3   then there is the definition, which probably many
             4       it there, that these organizations, at least, I won't     4   people that I work with would be working under, which
             5       to say members of the organization, but the leadership    5   would be a sort of a natural law definition.
             6       and those who formulate these statements are in           6      Q. Are you finished?
             7       consensus.                                                7      A. Well, in other words, normal is framed by the
             8           Q. Okay.                                              8   physical realities of the body, and so normal might be
             9           A. Subject to the same sort of issues I'm             9   defined as that which functions according to design,
            10       concerned about with regards to restricted moral and     10   and so many people -- and that isn't necessarily
            11       political diversity.                                     11   implicitly implying any kind of pathology, but it is a
            12           Q. Right. You have said more than once today         12   different moral evaluation of the -- of behavior, so --
            13       that you have some questions, issues, you take issue     13   and I would say many people from a conservative
            14       with the -- what you perceive to be a                    14   religious context would read that and disagree with it
            15       left-of-center bent I call that. You used another        15   based on a different definition than probably what's
            16       term. What did you use? I'll just say "way of            16   implied here. I'm assuming implied here is it's not
            17       thinking." Okay?                                         17   pathological -- you know, maybe it occurs naturally,
            18           A. Viewpoint.                                        18   which is also not -- can't speak to the issue of the
            19           Q. That permeates the leadership of some of these    19   moral evaluation of the behavior.
            20       organizations, particularly the American Psychological   20      Q. Well, let me rephrase my question and say
            21       Association. Am I correct?                               21   this. From your answer that you just articulated into
            22           A. Certainly in these arenas.                        22   the record, I am concluding that you are not sure what
            23           Q. Yes. And the professional associations that       23   the phrase "normal spectrum of human diversity" means
            24       are apparently included here, at least from what I       24   in the context of the sentence numbered 1 in the
            25       read, is the American Psychiatric Association and the    25   document.


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                                                               Page 185                                                       Page 187
             1             MR. GANNAN: Objection.                              1   me that you are not sure exactly how those words -- the
             2      BY MR. WILLIAMS:                                           2   intended meaning of those words in that sentence. Is
             3         Q. Is that correct?                                     3   that what you are saying?
             4             MR. GANNAN: Asked and answered. Assumes             4      A. I'm saying, I guess. I mean, I'm thinking
             5         facts not in evidence.                                  5   here that these are words that are embedded, just
             6         A. I'm just saying there are different                  6   embedded with values that come outside of psychology.
             7      understandings of these words, probably from what these    7   Psychology can't determine values. Psychology can
             8      committees that have put these statements together and     8   comment on human behavior and study it and see what
             9      what they intend and what consumers or individuals that    9   consequences are related to two different behaviors and
            10      may come to therapists with conservative religious        10   psychological experiences, but a value of what is
            11      values, how they would read something like that.          11   normal is going to probably come -- it's going to come
            12      BY MR. WILLIAMS:                                          12   from outside psychology per se. You are going to pick
            13         Q. And I go back to my question. Just reading it       13   your definition of what that means. I'm sure that --
            14      as it is in plain simple English language, "normal        14   my hunch is, anyway, the committee would mean this is
            15      spectrum of human diversity" -- "spectrum" you know       15   normal, it has no moral evaluation of significance;
            16      what that means, don't you, Doctor?                       16   therefore, it's good, it's a good.
            17         A. Yes. But that's too simplistic. I mean, it's        17      Q. Well, I'm not asking for your hunch.
            18      not --                                                    18      A. Okay.
            19         Q. Hold on. Let me finish if I may.                    19      Q. Okay. What I'm asking is whether you can tell
            20         A. I'm sorry.                                          20   me what the word "normal" means in the context of that
            21         Q. You know what "spectrum," means; right?             21   phrase, and I think your answer is it could be a lot of
            22         A. Uh-huh.                                             22   things, so you are not sure; right?
            23         Q. You know what "human" means, don't you?             23         MR. GANNAN: Objection. Asked and answered.
            24         A. Yes.                                                24      Calls for speculation.
            25         Q. And "diversity," do you know what that means?       25                      ***

                                                               Page 186                                                       Page 188
             1         A. Yes.                                                 1   BY MR. WILLIAMS:
             2         Q. So the word that you are having some question        2      Q. Correct?
             3      about is the word "normal" modifying "spectrum of human    3      A. I would be -- you know, I guess I would say I
             4      diversity"; is that correct?                               4   would be guessing. The words --
             5         A. Well, we can argue some about whether                5      Q. All right. There you go. All right. Thank
             6      spectrum -- you know, spectrum implies, generally          6   you.
             7      speaking, a fairly equal distribution across a             7         Now, this phrase -- excuse me -- this sentence
             8      continuum, but in the case of sexual orientation, for      8   uses the term "gender identity." I think I've seen
             9      instance, you have 90 percent heterosexual oriented and    9   that in some of your stuff as well.
            10      then much smaller percentages across the spectrum all     10         What is gender identity?
            11      the way to a -- maybe a -- yeah, it's not even a big      11      A. Again, the sense that a person has of being
            12      number percentage.                                        12   masculine or feminine or something in between.
            13         Q. Okay.                                               13      Q. If a human being has a gender identity as you
            14         A. So it's really more of a skewed distribution.       14   just described it, but differs from their birth sex, do
            15         Q. All right. So you do understand what "human"        15   you know what causes that?
            16      means, that word?                                         16      A. The thing I would say with some confidence is
            17         A. Yes. Yes.                                           17   that there are multiple factors involved that probably
            18         Q. You understand what the word "diversity"            18   differ for different people. I myself have worked with
            19      means?                                                    19   trauma victims, severe trauma victims who have
            20         A. Yes.                                                20   dissociative identity disorder, which is a very
            21         Q. You give it the plain and simple meaning            21   interesting disorder.
            22      that --                                                   22         And these individuals sometimes -- it's not
            23         A. Human beings.                                       23   unusual -- sometimes have gender -- gendered states,
            24         Q. Yes. But the word "normal" as used in that          24   mental identity states that are opposite of their
            25      phrase and the word "spectrum," I think you are telling   25   biological sex. So there might be a male identity


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                                                               Page 189                                                       Page 191
             1       state inside a female-bodied person.                       1   worked with where that's an issue, like extreme trauma
             2              And this would be, for instance, because            2   cases, that is definitely not the case.
             3       extreme sexual trauma, they would in a sense mentally      3      Q. Have you dealt with minors who identify as
             4       create a part of their mind that is relatively             4   transgender in your practice?
             5       subjectively experiences autonomous that notices that      5      A. On a few occasions.
             6       the sexual abuse isn't happening to boys, but it is        6      Q. Did you reach any conclusions in dealing with
             7       happening with girls so I will be a girl. And that         7   those minors that identify as transgender that they
             8       state -- I'm sorry, I will be a boy.                       8   were -- they identified that way because of any other
             9              And so that state then identifies in a              9   unresolved mental health issues?
            10       gendered sense itself as a boy. It can actually look      10         MR. GANNAN: Objection. Vague.
            11       in a mirror and see itself -- this is extreme             11      A. I'm just trying to think back. It's been a
            12       disassociation, but it can see itself as a -- as a        12   while.
            13       male, and it will talk it -- it will be absolutely        13   BY MR. WILLIAMS:
            14       convinced that it is male.                                14      Q. Sure.
            15              I'm not saying this is the majority of gender      15      A. I don't believe the therapy lent itself, my
            16       dysphoric situations, although it is something that       16   contact really lent itself to a thorough examination of
            17       WPATH guidelines say you need to assess for because I     17   those issues. Usually, I'm working with -- again, I'm
            18       think it does happen in some situations, but from my      18   working with the parents, helping them to love and care
            19       experience, that would be one -- that would be one        19   for their child and, you know, keep the connection and
            20       potential way that this would show up in a counselor's    20   understand that things can change over time, not a
            21       office, not the only way, but it could happen; that a     21   promise of that, but they do, so you need to love and
            22       highly traumatized individual who has multiple identity   22   care for your child even the transgender child, of
            23       states that are disassociated from one another would      23   course.
            24       have one of those states that would be opposite           24      Q. I hope you would agree with me that a parent
            25       gendered in reference to its biological sex.              25   shouldn't need a psychologist to tell them that, do


                                                               Page 190                                                       Page 192
             1          Q. So if there is a causal relationship                 1   they?
             2      between -- that results in a gender identity different      2      A. Sometimes parents think that what is loving is
             3      from one's birth sex, that causal relationship could be     3   actually doing damage to their attachment to their
             4      a lot of things. Is that what you are saying?               4   child.
             5          A. For any person, you have to, yeah, probably          5      Q. Help me out on that. I would like to
             6      take a good history.                                        6   understand that.
             7          Q. Yeah. One size doesn't fit all; correct?             7      A. Severe kinds of discipline. If the parent has
             8          A. Oh, yes.                                             8   problems with emotional regulation themself, by that I
             9          Q. All right. So tell me what your understanding        9   mean they blow up their emotions, they can't control
            10      of "transgender" is.                                       10   their emotions.
            11             MR. GANNAN: Objection. Vague. Calls for             11      Q. The parent?
            12          speculation.                                           12      A. Yes, the parent. That that is not helpful for
            13      BY MR. WILLIAMS:                                           13   connection to their child. Those would be the
            14          Q. Well, that's a good question. Do you know           14   examples. Issues of discipline, issues of connection,
            15      what "transgender" is?                                     15   emotional regulation.
            16          A. In a -- it's not my field of deep study, but        16      Q. You keep affirming Graham Nash through this
            17      obviously these issues touch upon one another. I           17   entire deposition. Thank you.
            18      believe it would be someone who would identify in some     18          Earlier we talked about normal spectrum of
            19      form or other in the gendered -- a sense of gender that    19   human diversity, and I want to go there again, because
            20      is different from their biological sex.                    20   I'm going to ask you a simple question. Do you believe
            21          Q. In that sense, do you think there's a -- how        21   that transgender identity is a natural part of that
            22      would I put it, a developmentally normal pathway that      22   spectrum of human diversity?
            23      would lead to someone being transgender?                   23          MR. GANNAN: Objection. Vague.
            24          A. I do not know the answer to that question.          24      A. I wouldn't see it as a spectrum, again,
            25      It's conceivably possible; however, the cases that I've    25   because it's very -- it's not distributed even close to


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                                                               Page 193                                                      Page 195
             1      evenly across any --                                       1   that have transitioned, particularly surgically.
             2      BY MR. WILLIAMS:                                           2          There aren't many out there, there are a few,
             3         Q. Then I will rephrase the question to a natural       3   the one I'm familiar with in particular, would suggest
             4      part of human diversity. Forget the spectrum part.         4   that these individuals, they feel a great deal of
             5             MR. GANNAN: Objection. Vague.                       5   relief related to their gender identity, but over time
             6         A. I do not know every instance of transgender          6   their comorbidity conditions or their, I say,
             7      experience. I do know that what I see with traumatized     7   co-occurring conditions do not remit, suicide,
             8      individuals lends me to believe that there is a            8   depression, those sorts of things. So one would have
             9      subpopulation of transgenders that quite conceivably --    9   to -- you'd have to kind of balance those things.
            10      that trauma history is a major factor in the              10      Q. Do you know what the term "gender dysphoria"
            11      development of their sense of opposite-sexed gender.      11   means?
            12      BY MR. WILLIAMS:                                          12      A. If I had to hazard a definition, I would say
            13         Q. Do you think there's ever a situation where         13   an individual who is dissatisfied in some way with
            14      going through a gender transition is ever appropriate     14   their biological sex, does not feel like it's
            15      as a treatment modality for a minor?                      15   consistent with their gender experience, feelings.
            16             MR. GANNAN: Objection. Vague. Assumes facts        16      Q. My research in preparation for this deposition
            17         not in evidence.                                       17   led me to, I believe, uncover the simple fact that the
            18         A. I can't really give a professional opinion on       18   American Psychiatric Association, which decided to
            19      that. As a parent, I would have a hard time letting my    19   change the diagnosis of gender identity disorder to
            20      daughters -- I have two daughters -- I would have a       20   gender dysphoria.
            21      hard time letting them at 13 or 14 or 15 or 12 -- you     21      A. Right.
            22      know, obtain puberty-blocking drugs cross-sex hormones,
                                                                              22      Q. Are you familiar with that?
            23      hormones that have serious -- can have serious
                                                                              23      A. Yes.
            24      repercussions with regards to fertility, among other
                                                                              24      Q. Do you agree with that, that change?
            25      things. That would be a real hard sell for me as a
                                                                              25          MR. GANNAN: Objection. Vague. Calls for


                                                               Page 194                                                      Page 196
             1       parent to do.                                             1      speculation. Beyond the scope.
             2          Q. But you can't give me a professional opinion        2      A. I don't know if I can say directly. I think I
             3       because it's not in the ambit of your expertise; is       3   understand either perspective. I understand it as a
             4       that right? I get the parent part. I'm a parent too.      4   disorder. I understand it as a dysphoria. My
             5          A. Yeah. If I was presented with that situation,       5   understanding is that it was -- a reason why it was
             6       I mean, I would have to use my common sense as a          6   labeled "gender dysphoria" as opposed to just removed
             7       parent.                                                   7   from the DSM, like homosexuality, is because
             8          Q. Yeah, I agree.                                      8   transgender individuals who wish to have these medical
             9          A. And, again, the parents coming -- they would        9   treatments need insurance coverage, and so to remove it
            10       probably -- given their backgrounds, would probably      10   altogether, they would not be able to have insurance
            11       have -- support that kind of maybe watchful waiting      11   coverage, and so it kind of put the profession in a bit
            12       kind of thing.                                           12   of a bind. How do we depathologize transgenderism and
            13          Q. Well, then let's switch to the same question,      13   yet allow there still to access medical benefits
            14       is it ever an appropriate treatment for somebody over    14   because insurances don't pay for -- often for
            15       the age of 18?                                           15   nondiagnostic conditions, and so gender dysphoria was
            16              MR. GANNAN: Objection.                            16   kind of a way, at least partially a way around that
            17       BY MR. WILLIAMS:                                         17   concern.
            18          Q. An adult in the eyes of the law?                   18      Q. A way around --
            19              MR. GANNAN: Beyond the scope of Dr. Rosik's       19      A. The concern of --
            20          assignment as an expert.                              20      Q. -- no insurance coverage?
            21          A. I guess theoretically it's feasible that it        21      A. -- if we declassify this, if it's not longer
            22       could be. However, I would say the state of science      22   in the DSM, we cannot get surgery, we cannot get
            23       regarding this is not nearly as definitive as I would    23   medical treatment, at least for the insurance to cover
            24       want it to be. In other words, the long-term studies.    24   them.
            25       I would like to see some 10-, 20-year studies of those   25      Q. So does changing it to "dysphoria" solve that


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                                                               Page 197                                                        Page 199
             1      problem?                                                    1   meets the extremely rigorous methodological standard
             2         A. Yeah, it's not a disorder. That was the               2   of, say, the APA task force. If those are the
             3      point. And I understand that was the point.                 3   standards you are dealing with, yes, there is a lack,
             4         Q. That was the motivation for the American              4   but I think those are artificially high.
             5      Psychiatric Association to change --                        5          My understanding is that there is -- I think
             6         A. No, that --                                           6   the APA report talked about, you know, research done on
             7         Q. -- the diagnosis of gender identity?                  7   adolescents and children. But one has to understand,
             8         A. No, no, no.                                           8   again, there's a context here with the declassification
             9            MR. GANNAN: Objection. Vague. Calls for               9   of homosexuality. Research has stopped -- not stopped,
            10         speculation. Misstates testimony.                       10   but it drastically changed. There is no money going to
            11         A. It was the reason why it wasn't eliminated           11   support researchers who wish to -- who might wish to
            12      altogether. They could've easily, just like                12   investigate these issues. No grant funder now is going
            13      homosexuality, struck it from a diagnostic category,       13   to fund a study that might be sympathetic to change,
            14      but they needed to preserve -- they need to preserve       14   the possibility of change.
            15      something to enable transgender individuals who wish to    15      Q. Why is that?
            16      change their biological sex to have insurance, access      16      A. I would add researchers as well to that, and I
            17      to insurance coverage for these very expensive             17   think that's because they are likely to be punished.
            18      procedures.                                                18      Q. By whom?
            19      BY MR. WILLIAMS:                                           19      A. In the public domain.
            20         Q. I'm sure it is. And by changing it to gender         20      Q. By whom?
            21      dysphoria, they solved that problem. Is that what you      21      A. I would look at the same individuals that --
            22      are saying?                                                22   what happened to Mark Regnerus, look what happened to
            23         A. Yes, exactly.                                        23   Spitzer, they're colleagues. With Regnerus, I mean, he
            24         Q. Turn to page 12 of the SAMHSA report, sir.           24   had colleagues that came down on him. Basically, you
            25      Paragraph 3, under the heading "Professional Consensus     25   are risking your -- you know, it's kind of a career

                                                               Page 198                                                        Page 200
             1       on Sexual Orientation and Youth," do you see that, sir?    1   suicide move even if your research would be solid
             2          A. In the top, the top portion?                         2   because it's just -- again, it's the ideological --
             3          Q. Yes.                                                 3      Q. Left of center?
             4          A. Okay. Yes.                                           4      A. -- lack of diversity. The lack of diversity,
             5          Q. Page 12.                                             5   yes.
             6          A. Right.                                               6      Q. Well, I said left of center. The
             7          Q. And I'm going to direct your attention to            7   left-of-center bent -- I used that term because it fit
             8       paragraph 3 under that heading, and I'm going to read      8   for me -- results in ostracization of people who do not
             9       that paragraph 3 into the record out loud. "There is a     9   comport to that left-of-center ideology. Is that what
            10       lack of published research on efforts to change sexual    10   you are saying?
            11       orientation among children and adolescents; no existing   11          MR. GANNAN: Objection. Vague. Asked and
            12       research supports that mental health and behavioral       12      answered.
            13       intervention of children and adolescents alter sexual     13      A. If you look up what happened to Mark Regnerus.
            14       orientation. Given the research on secondary outcomes     14   BY MR. WILLIAMS:
            15       of such efforts, the potential for risk of harm           15      Q. Mark who?
            16       suggests the need for other models of behavioral health   16      A. He is a researcher out of the University of
            17       treatment."                                               17   Texas or something, but anyway, and what happened to
            18             Did I read that correctly?                          18   Spitzer after this study. I mean, it's distressing.
            19          A. Yes.                                                19      Q. What happened to those two gentlemen?
            20          Q. Do you agree with that statement?                   20      A. Well, Regnerus was brought up for review, as I
            21          A. Let me read it again.                               21   understand. He was criticized extremely in the
            22          Q. Please.                                             22   scholarly and in the popular press, because the study
            23             MR. GANNAN: I'm going to make an objection.         23   did not -- it had limitations, like all studies, but it
            24          Beyond the scope of Dr. Rosik's opinions.              24   was the fact that he found and suggested some
            25          A. Let's say there's a lack of research that           25   interpretation of the data that did not comport with


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                                                               Page 201                                                      Page 203
             1      the narrative that I think the mental health               1   anything to say about -- again, this is a complex
             2      associations and others would want to -- would agree       2   issue. I would say if you are holding out as -- you
             3      with. And, again, it probably worked against the           3   had given out guarantees of sexual orientation change,
             4      narratives that they wished to support. And I think I      4   that kind of thing, that could be harmful when the
             5      cite one article in my declaration by Woods that talks     5   client does not experience that.
             6      about a lot of this if you're interested in it.            6      Q. So in that context, efforts to be effective
             7         Q. I'm interested in everything, Doctor.                7   could, in fact, lead to harm because of the expectation
             8            Would you look at page 1 of your original            8   level that was represented at the beginning and did not
             9      declaration, which is dated May 6, 2019.                   9   eventuate or actually take place. Is that what you are
            10         A. Page 1. Okay. That's the table of contents.         10   saying?
            11         Q. Yes, sir. Under the heading number roman            11         MR. GANNAN: Objection. Vague. Misstates
            12      numeral III, "Analysis and Opinion," you say, A, "The     12      testimony.
            13      Objectivity of the 2009 APA Task Force Report on SOCE     13      A. Potentially, if that was promised by a
            14      is demonstratively suspect; Therefore the Report's        14   therapist; however, I know of no therapist that
            15      Representation of the Relevant Literature Concerning      15   promises this. I'm talking about a licensed therapist.
            16      Efficacy of and Harm from SOCE is Neither Complete nor    16   BY MR. WILLIAMS:
            17      Definitive."                                              17      Q. Sure. So going back to my original question.
            18            Did I read that --                                  18   I want to make sure I intellectually comprehend the
            19         A. Yes.                                                19   difference between, I guess, evaluating, measuring
            20         Q. Is the way of or methodology for determining        20   efficacy versus determining harm. They're not
            21      efficacy the same as it is for harm?                      21   necessarily synonymous but they're not necessarily
            22         A. I believe there are differences.
                                                                              22   totally unrelated. Is that what you are saying?
            23         Q. What are those differences?
                                                                              23         MR. GANNAN: Objection. Vague. Asked and
            24         A. Something that is not effective is not
                                                                              24      answered.
            25      necessarily a -- I think it would -- less urgency as
                                                                              25         Are you asking him how those subjects were


                                                               Page 202                                                      Page 204
             1      opposed to something that was shown to be definitively     1      treated in the APA report, or are you asking in
             2      speech that harmed people.                                 2      general?
             3             MR. WILLIAMS: Read that back. I'm not sure I        3          MR. WILLIAMS: In general.
             4         understood it. Late in the day.                         4      A. Well, there are different criteria that you
             5         (The answer was read back.)                             5   have to weigh. Something --
             6      BY MR. WILLIAMS:                                           6   BY MR. WILLIAMS:
             7         Q. You are going to have to amplify that, Doctor.       7      Q. For each?
             8      I sorry. I didn't really understand what you just          8      A. What's that?
             9      said. Could you repeat it and perhaps elaborate on it?     9      Q. For each? Different criteria for efficacy
            10      The question is --                                        10   than for harm?
            11         A. Yes.                                                11      A. Well, let's put it -- I'm sorry -- in a
            12         Q. -- you determine -- I used the word                 12   medical sense. You may have a drug that gives you a
            13      "methodology," and maybe that's not the right word, but   13   chance of ameliorating your cancer at some percentage
            14      you talk about the "Literature Concerning Efficacy of     14   of efficacy, but it may have a high percent of doing
            15      and Harm from." So does that literature use a             15   harm. So you have to weigh, you know, what is the --
            16      methodology to determine the efficacy of SOCE, and is     16   looking at this, given my condition do I want to take
            17      that same methodology or approach used to determine the   17   this sort of risk. So you are weighing efficacy. A
            18      harm of SOCE?                                             18   client would be weighing that in their decision to
            19         A. Something that is not efficacious and not           19   pursue that treatment.
            20      harmful would not be considered in the same way           20      Q. You know, we're inundated with drug ads, legal
            21      something that was not efficacious and harmful would      21   drug ads, I should say, on TV all the time that always
            22      be.                                                       22   have smiling people saying how wonderful the drug is,
            23         Q. Are you saying if something is not                  23   and then some guy in a subliminal boasts, and by the
            24      efficacious, that doesn't ipso mean it's harmful?         24   way, it could cause a heart attack, cancer, this -- you
            25         A. Efficacy on its own would not necessarily have      25   know what I'm talking about.


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                                                                Page 205                                                      Page 207
             1             Is that what you are referring to? Each              1   I'm not so smart as you are, I'm just going to use SOCE
             2       treatment modality may be effective, but it also may       2   as a lay synonym for what you just described. Is that
             3       have adverse impacts?                                      3   fair?
             4          A. You know, I guess I'm referring to like a            4      A. Unfortunately, with the way the word is thrown
             5       medical doctor talking about the risks, potential risks    5   around, what it's often come to mean, I think I
             6       and benefits of a treatment.                               6   understand what you are saying, but it has the --
             7          Q. Sure.                                                7   carries the risk of, you know, creating prejudice with
             8          A. That's just appropriate practice.                    8   regards to what I do. That's why I don't like to use
             9          Q. Is it the ethics of the psychological                9   the word.
            10       profession that the client is informed of potential       10      Q. Well, you used it in your paper, though?
            11       harms before you possibly proceed forward with the        11      A. I did, and I --
            12       particular treatment modality that the professional       12      Q. Because you had to get it published?
            13       believes is efficacious?                                  13      A. With that proviso, right.
            14             MR. GANNAN: Objection. Vague. Calls for             14      Q. Yeah, I get that. When you used the term
            15          speculation.                                           15   "SOCE" in your paper, you were really referring to the
            16          A. I would assume that that would be a part of         16   more elaborate description that you just gave me?
            17       ethical practice.                                         17      A. That's correct.
            18       BY MR. WILLIAMS:                                          18      Q. Doctor, I have heard the term "aversive
            19          Q. You assume. Do you know? You are a clinical         19   therapy" as it relates to conversion therapy or SOCE or
            20       psychologist.                                             20   whatever you want to call it. Are you familiar with
            21          A. That's what I do.                                   21   what I'm talking about?
            22          Q. That's what you do.                                 22      A. Yes.
            23             And would you expect all your colleagues to do      23      Q. What am I talking about? What does that refer
            24       the same?                                                 24   to, that term?
            25             MR. GANNAN: Objection. Calls for                    25      A. These are generally behavioral techniques that


                                                                Page 206                                                      Page 208
             1          speculation.                                            1   were applied to sexual orientation back in the '60s and
             2       BY MR. WILLIAMS:                                           2   the '70s. They would include -- I mean, this was
             3          Q. Is that standard of care? Let me put it that         3   with -- they were applied not just to sexual
             4       way.                                                       4   orientation. This was at the time in psychology when
             5          A. All the colleagues that I know, we have              5   these types of techniques were being utilized with a
             6       compared consent forms and all that, so they all have      6   number of different conditions.
             7       various consent forms that have certain disclosures        7      Q. Not just sexual orienting?
             8       that are necessary, understanding that this is a           8      A. Correct. But they might include electric --
             9       potentially -- you know, it's a controversial area of      9   or some mild shocking paired with images of whatever --
            10       practice, so you better be prepared and better show       10   images of spiders or exposure kind of to things. It
            11       that there is clear consent of risks and harms,           11   was kind of a conditioning paradigm, trying to
            12       potential harms, you know.                                12   decondition your association of the same-sex attraction
            13          Q. And you are referring to SOCE when you talk         13   by setting some aversive stimuli to pair it with that
            14       about --                                                  14   attraction and then pairing some more positive stimuli
            15          A. I'm referring, again, just because I don't --       15   with the heterosexual or the opposite-sexed image.
            16       the word is constraining -- that acronym is               16         That's just an example. But, honestly, these
            17       constraining, but I'm referring to clients who would      17   were determined to not be effective and to be
            18       come with a self-determined goal of pursuing their        18   potentially harmful when it -- when it comes to sexual
            19       degree of sexual fluidity through speech, talk-oriented   19   orientation, and so they were discarded back in the
            20       psychotherapy, to determine to what extent that might     20   '80s. Haven't been used by -- haven't been used
            21       be possible for them. It's hard to say that. It's         21   professionals, even professionals in the Alliance and
            22       much easier to say SOCE, but --                           22   people who are in this would be -- are open to working
            23          Q. Well, I heard you say that earlier, and I           23   with clients to explore their fluidity, hasn't been
            24       respect the fact that you don't like the word -- the      24   used by those individuals, professional therapists I'm
            25       term "SOCE," but since I'm not educated like you are,     25   speaking about, probably in decades, and that's what,


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             1      as I note in my declaration, Clifford Rosky in Utah had     1              CERTIFICATE OF OATH
             2      mentioned, these have not been used by a licensed           2
                                                                                3
             3      therapist, since all we do is talk, and which makes it      4   STATE OF FLORIDA    )
             4      personally upsetting that these kind of portrayals are          COUNTY OF HILLSBOROUGH               )
             5      continually brought before governing boards like the        5
                                                                                    *************************
             6      Tampa Council, like the California State Legislature,       6
             7      describing, directly or by allusion, these kinds of         7
             8      practices that are alleged to be currently used by          8
                                                                                           I, ELSA HERNANDEZ, FPR, Notary Public, State
             9      therapists such as myself, and there's not a stick of       9   of Florida, certify that the witness CHRISTOPHER ROSIK,
            10      truth in it.                                                    Ph.D., who produced a driver's license for
            11         Q. Well, I have some familiarity with that              10   identification, personally appeared before me and was
                                                                                    duly sworn.
            12      personally, because I used to represent a long-term        11
            13      psychiatric hospital here in the Tampa Bay area, and                  WITNESS my hand and official seal this date:
            14      you are right, they used it even to the early '80s, not    12   29th day of July, 2019.
                                                                               13
            15      for that, but for other --                                 14              -------------------------------
            16         A. Yeah.                                                                ELSA HERNANDEZ, FPR
            17         Q. -- other issues. But my experience, sir, and         15              Notary Public, State of Florida
            18      I will just say it, is that that stopped a long, long                      Commission No. FF897203
                                                                               16              Expires 9/30/2019
            19      time ago, decades. I agree with you.                       17
            20             And so can you state on the record that you         18
            21      believe affirmatively that these aversive techniques       19
                                                                               20
            22      are no longer used and have not been used in connection    21
            23      with conversion therapy, SOCE, whatever you want to        22
            24      use, in the United States of America?                      23
                                                                               24
            25             MR. GANNAN: Objection. Vague.                       25

                                                               Page 210                                                                  Page 212
             1       BY MR. WILLIAMS:                                           1             CERTIFICATE OF REPORTER
             2          Q. To your knowledge, sir.                              2
                                                                                3   STATE OF FLORIDA    )
             3          A. I cannot think of an exception with regards to           COUNTY OF HILLSBOROUGH               )
             4       any of my colleagues that I know through the Alliance      4
             5       or just professional circles that these are techniques     5      I, ELSA HERNANDEZ, FPR, Court Reporter, and Notary
             6       that are in use.                                               Public, do hereby certify that I was authorized to and
                                                                                6   did stenographically report the deposition of
             7          Q. Today?                                                   CHRISTOPHER ROSIK, Ph.D.; that a review of the
             8          A. Yes, today and probably for decades.                 7   transcript was requested; and that the foregoing
             9          Q. Okay.                                                    transcript, pages 1 through 209, is a true record of my
            10          (A discussion was held off the record.)                 8   stenographic notes.
                                                                                9      I FURTHER CERTIFY that I am not a relative,
            11             MR. WILLIAMS: After consultation with my                 employee, or attorney, or counsel of any of the
            12          colleague, Ms. Robbins, I have no further              10   parties' attorneys or counsel connected with the
            13          questions. Doctor, thank you very much for your             action, nor am I financially interested in the action.
                                                                               11
            14          efforts today. It's been a long day, and I             12         DATED this 12th day of August, 2019.
            15          appreciate you willing to talk to me.                  13
            16             THE WITNESS: Thank you.                             14
            17             MR. GANNAN: Dr. Rosik will read and sign.           15              ------------------------
            18                      STIPULATION                                                ELSA HERNANDEZ, FPR
                                                                               16              Notary Public
            19             It was stated by counsel that the exercise of       17
            20       reading and signing the transcript would not be waived.   18
            21                                                                 19
                                                                               20
            22                                                                 21
            23            (WHEREUPON, the taking of the deposition was         22
            24       concluded at 3:45 p.m.)                                   23
            25                                                                 24
                                                                               25


                                                                                                       53 (Pages 209 to 212)
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                                                                              Page 213
             1              ERRATA SHEET
             2    IN RE: ROBERT L. VAZZO v. CITY OF TAMPA
                  CASE NO:     8:17-cv-02896-WFJ-AAS
             3    DATE TAKEN:     July 29, 2019
                  DEPOSITION OF: CHRISTOPHER ROSIK, Ph.D.
             4
                  DO NOT WRITE ON THE TRANSCRIPT - ENTER CHANGES HERE
             5
                  Please sign, date, and return this sheet to our office.
             6    If additional lines are required for corrections,
                  attach additional sheets.
             7
                  At the time of the reading and signing of the
            8     deposition, the following changes were noted:
            9     PAGE         LINE        CHANGE              REASON
           10     _______________________________________________________
           11     _______________________________________________________
           12     _______________________________________________________
           13     _______________________________________________________
           14     _______________________________________________________
           15     _______________________________________________________
           16     _______________________________________________________
           17     _______________________________________________________
           18     _______________________________________________________
           19     _______________________________________________________
           20     _______________________________________________________
           21     _______________________________________________________
           22     Under penalties of perjury, I declare that I have read
                  my deposition and that it is true and correct subject
           23     to any changes in form or substance entered here.
           24     SIGNATURE OF DEPONENT: ____________________________
                  DATE: ______________________
           25


                                                                              Page 214
            1    August 12, 2019
            2            ROGER K. GANNAM, ESQUIRE
                         HORATIO G. MIHET, ESQUIRE
            3            Liberty Counsel
                         P.O. Box 540774
            4            Orlando, FL 32854
                         hmihet@lc.org
            5
                 In Re: Vazzo v City of Tampa
            6
                 Dear Mr. Gannam:
            7
                 Enclosed please find the original errata page with your
            8    copy of the transcript so Dr. Rosik may read and sign.
                 Please have him make whatever changes are necessary on
            9    the errata page and sign it. Please make a copy of the
                 errata page and place it in your copy of the
           10    transcript. Please then forward the original errata
                 page back to our office at 101 South Franklin Street,
           11    Suite 101, Tampa, Florida 33602.
           12    If the errata page is not signed by the witness within
                 30 days after this letter has been furnished, we will
           13    then process the transcript without a signed errata
                 page. If your client wishes to waive their right to
           14    read and sign, please have her sign on the signature
                 line at the bottom of this letter and send it back to
           15    our office.
           16    Your prompt attention to this matter is appreciated.
           17    Sincerely,
           18    Elsa Hernandez, FPR
                 Anthem Reporting
           19
                 I do hereby waive my signature
           20
                 _____________________________
           21    CHRISTOPHER ROSIK, Ph.D.
           22    Cc:
           23
           24
           25



                                                                                                   54 (Pages 213 to 214)
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